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 66   Chair of
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               the Governmental Entities Committee
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 8
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      IN RE:
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                                                                             Selna
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13                                                    GOVERNMENTAL
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                                                                     ENTITIES'
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                            to:                       CORRECTED OPPOSITION
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14                                                    MOTION
                                                      MOTION TO DISMISS
                                                             TO DISMISS
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15          GOVERNMENTAL ENTITIES
            GOVERNMENTAL ENTITIES
            TRACK
            TRACK                                     Hearing Date:
                                                      Hearing Date: November
                                                                    November 13,
                                                                              13, 2023
                                                                                  2023
16
16                                                    Hearing Time:
                                                      Hearing       3:00 p.m.
                                                              Time: 3:00 p.m.
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28
28
                                                                      xv
                                                                      xv
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs                        CORRECTED GOV’T ENTITIES'
                                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                                  OPPOSITION TO MOTION TO
                                                                                             TO MOTION    DISMISS
                                                                                                       TO DISMISS
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 11                                    I.
                                       I.      INTRODUCTION
                                               INTRODUCTION
22             The
               The Governmental Entity Plaintiffs
                   Governmental Entity Plaintiffs ("GE
                                                  (“GE Plaintiffs")
                                                       Plaintiffs”) are
                                                                    are seventeen municipalities
                                                                        seventeen municipalities
33    that have
      that have been
                been rocked
                     rocked by
                            by aa crime wave involving
                                  crime wave involving the
                                                       the rampant
                                                           rampant thefts
                                                                   thefts of
                                                                          of certain Hyundai
                                                                             certain Hyundai
 44   and Kia
      and Kia vehicles,
              vehicles, made
                        made possible
                             possible by
                                      by the
                                         the vehicle
                                             vehicle manufacturers'
                                                     manufacturers’ failure
                                                                    failure to
                                                                            to include
                                                                               include
 55   reasonable, industry-standard
      reasonable, industry-standard anti-theft
                                    anti-theft technology.
                                               technology. The
                                                           The GE Plaintiffs seek
                                                               GE Plaintiffs      to hold
                                                                             seek to hold the
                                                                                          the
 66   vehicle manufacturers,
      vehicle manufacturers, Defendants
                             Defendants Hyundai
                                        Hyundai Motor
                                                Motor America
                                                      America ("HMA")
                                                              (“HMA”) and
                                                                      and Kia
                                                                          Kia America,
                                                                              America,
 77   Inc. ("KA")
      Inc. (“KA”) (collectively,
                  (collectively, "Defendants"),I1 accountable
                                 “Defendants”),   accountable for
                                                              for the
                                                                  the foreseeable,
                                                                      foreseeable, significant
                                                                                   significant
 8
 8    downstream
      downstream effects
                 effects of their business
                         of their business decisions
                                           decisions on public safety
                                                     on public        and welfare
                                                               safety and welfare in
                                                                                  in the
                                                                                     the GE
                                                                                         GE
 99   Plaintiffs’ communities.
      Plaintiffs'              As alleged
                  communities. As alleged in
                                          in the
                                             the GE Plaintiffs’ consolidated
                                                 GE Plaintiffs' consolidated complaint
                                                                             complaint
10
10    (“Complaint” or
      ("Complaint"    “CGEC”), vehicle
                   or "CGEC"), vehicle theft
                                       theft is
                                             is aa well-known
                                                   well-known keystone
                                                              keystone crime leading to
                                                                       crime leading to
11
11    additional offenses,
      additional           and the
                 offenses, and the consequences
                                   consequences of rampant vehicle
                                                of rampant vehicle theft
                                                                   theft are
                                                                         are far-reaching,
                                                                             far-reaching, long-
                                                                                           long-
12
12    lasting, and
      lasting, and costly for governmental
                   costly for governmental entities to address.
                                           entities to address.
13
13             As the
               As the Complaint makes clear,
                      Complaint makes        HMA and
                                      clear, HMA and KA
                                                     KA designed, manufactured, and
                                                        designed, manufactured, and
14
14    distributed millions of
      distributed millions of cars in the
                              cars in the United
                                          United States between 2011
                                                 States between 2011 and
                                                                     and 2022
                                                                         2022 without
                                                                              without engine
                                                                                      engine
15
15    immobilizers or
      immobilizers    any other
                   or any       reasonable or
                          other reasonable or effective
                                              effective anti-theft technology. This
                                                        anti-theft technology.      was aa major
                                                                               This was    major
16
16    deviation from industry
      deviation from industry norms:
                              norms: by
                                     by the
                                        the 2015
                                            2015 model
                                                 model year,
                                                       year, only 26% of
                                                             only 26%    Defendants’
                                                                      of Defendants'
17
17    vehicles contained
      vehicles contained engine immobilizers, compared
                         engine immobilizers,          to 96%
                                              compared to     of vehicles
                                                          96% of vehicles from
                                                                          from all
                                                                               all other
                                                                                   other
18
18    manufacturers. CGEC
      manufacturers.      ¶ 7.
                     CGEC ¶    Defendants knew
                            7. Defendants knew that
                                               that this
                                                    this technology
                                                         technology was
                                                                    was effective in
                                                                        effective in
19
19    preventing theft.
      preventing theft. They installed immobilizers
                        They installed immobilizers in
                                                    in their
                                                       their higher-end
                                                             higher-end vehicles,
                                                                        vehicles, as
                                                                                  as well
                                                                                     well as
                                                                                          as in
                                                                                             in
20
20    every vehicle sold
      every vehicle sold during the same
                         during the      period in
                                    same period in Europe
                                                   Europe and
                                                          and Canada.
                                                              Canada. The
                                                                      The consequences
                                                                          consequences of
                                                                                       of
21
21    this cost-saving
      this cost-saving decision were so
                       decision were    predictable as
                                     so predictable as to
                                                       to be
                                                          be nearly
                                                             nearly inevitable:
                                                                    inevitable: as
                                                                                as soon as word
                                                                                   soon as word
22
22    got
      got out that these
          out that these Hyundai
                         Hyundai and
                                 and Kia
                                     Kia vehicles
                                         vehicles could be stolen
                                                  could be        in minutes
                                                           stolen in minutes with
                                                                             with tools
                                                                                  tools no
                                                                                        no more
                                                                                           more
23
23    sophisticated than aa screwdriver
      sophisticated than                and USB
                            screwdriver and USB charging
                                                charging cable, thefts skyrocketed
                                                         cable, thefts skyrocketed in
                                                                                   in cities
                                                                                      cities
24
24    across the
      across the country. Defendants themselves
                 country. Defendants themselves acknowledge
                                                acknowledge that
                                                            that these
                                                                 these thefts
                                                                       thefts were
                                                                              were
25
25    foreseeable, arguing
      foreseeable, arguing in
                           in their
                              their motion
                                    motion to
                                           to dismiss the Insurance
                                              dismiss the Insurance Subrogation Plaintiffs’
                                                                    Subrogation Plaintiffs'
26
26
27
27    1
      1 The  Parties jointly
        The Parties   jointly stipulated to voluntarily
                              stipulated to voluntarily dismiss without prejudice
                                                        dismiss without prejudice and
                                                                                  and toll
                                                                                      toll GE
                                                                                           GE
28
28      Plaintiffs’ claims
        Plaintiffs'         against Hyundai
                    claims against   Hyundai Motor
                                              Motor Corporation
                                                      Corporation and
                                                                  and Kia
                                                                      Kia Corporation.
                                                                           Corporation. Dkt.
                                                                                        Dkt. No.
                                                                                             No.
        216 ¶¶ 7-8.
        216¶¶7-8.
                                                       1
          NO. 8:22-
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              8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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 11   complaint that the
      complaint that the insurers
                         insurers "received
                                  “received premiums
                                            premiums to
                                                     to cover the well-known
                                                        cover the well-known problem
                                                                             problem of
                                                                                     of
 22 automotive
    automotive theft and were
               theft and were in
                              in aa position
                                    position to
                                             to avoid their losses."
                                                avoid their losses.” Defendants'
                                                                     Defendants’ Motion
                                                                                 Motion to
                                                                                        to
 33 Dismiss
    Dismiss Subrogation Plaintiffs’ Consolidated
            Subrogation Plaintiffs' Consolidated Complaint (“Subrogation Motion"),
                                                 Complaint ("Subrogation Motion”), Dkt.
                                                                                   Dkt.
 44 No.
    No. 217
        217 at
            at 27
               27 (emphasis
                  (emphasis added).
                            added).
 55         The results have
            The results have been
                             been devastating for the
                                  devastating for the GE Plaintiffs. In
                                                      GE Plaintiffs. In Milwaukee,
                                                                        Milwaukee, where
                                                                                   where the
                                                                                         the
 66 wave
    wave of thefts began,
         of thefts began, the
                          the police
                              police department reported in
                                     department reported in June 2021 that
                                                            June 2021 that there
                                                                           there was
                                                                                 was aa year-
                                                                                        year-
 77 over-year increase in
    over-year increase in thefts
                          thefts of Hyundai and
                                 of Hyundai and Kia
                                                Kia vehicles
                                                    vehicles of
                                                             of aa whopping
                                                                   whopping 2,500%,
                                                                            2,500%,
 8 amounting
 8 amounting to
             to an
                an average
                   average of 30 cars
                           of 30 cars stolen per day.
                                      stolen per day. CGEC ¶ 10.
                                                      CGEC ¶ 10. The
                                                                 The other
                                                                     other GE Plaintiffs
                                                                           GE Plaintiffs
 99 have
    have also
         also experienced massive and
              experienced massive and ongoing increases in
                                      ongoing increases in thefts
                                                           thefts of
                                                                  of Hyundai
                                                                     Hyundai and
                                                                             and Kia
                                                                                 Kia
10 vehicles.
10 vehicles. As
             As described throughout the
                described throughout the Complaint, the costs
                                         Complaint, the       and consequences
                                                        costs and consequences of this
                                                                               of this
11
11    crime wave are
      crime wave are immense:
                     immense: the
                              the cars are driven
                                  cars are        recklessly, often
                                           driven recklessly,       by juveniles
                                                              often by juveniles (with
                                                                                 (with long
                                                                                       long
12 lives
12 lives ahead
         ahead of them, detrimentally
               of them,               affected by
                        detrimentally affected by their
                                                  their first
                                                        first criminal involvement); the
                                                              criminal involvement); the cars
                                                                                         cars
13 are
13 are frequently
       frequently used
                  used in
                       in the
                          the commission
                              commission of
                                         of other
                                            other crimes,
                                                  crimes, sometimes with tragic
                                                          sometimes with tragic results;
                                                                                results; all
                                                                                         all
14 while
14 while police,
         police, first
                 first responder,
                       responder, prosecutorial,
                                  prosecutorial, and
                                                 and other finite city
                                                     other finite      resources are
                                                                  city resources are diverted
                                                                                     diverted
15 from
15 from other uses—including other
        other uses—including other emergencies—to attempt to
                                   emergencies—to attempt to stem  the tide.
                                                             stein the tide.
16
16          Defendants nevertheless
            Defendants nevertheless maintain
                                    maintain that
                                             that they
                                                  they were
                                                       were not
                                                            not negligent
                                                                negligent in
                                                                          in their
                                                                             their intentional
                                                                                   intentional
17
17    decision to flout
      decision to flout industry
                        industry standards and forgo
                                 standards and forgo engine immobilizers or
                                                     engine immobilizers or other reasonable
                                                                            other reasonable
18 anti-theft
18 anti-theft measures
              measures in
                       in millions
                          millions of vehicles. Nor,
                                   of vehicles. Nor, according
                                                     according to
                                                               to Defendants,
                                                                  Defendants, are
                                                                              are they
                                                                                  they
19 responsible
19 responsible for
               for the
                   the public
                       public nuisance
                              nuisance they
                                       they caused to GE
                                            caused to    Plaintiffs and
                                                      GE Plaintiffs and the
                                                                        the public
                                                                            public by
                                                                                   by
20 intentionally
20 intentionally leaving
                 leaving their
                         their vehicles
                               vehicles vulnerable
                                        vulnerable to
                                                   to thefts
                                                      thefts and
                                                             and the
                                                                 the ensuing reckless driving
                                                                     ensuing reckless driving
21 and
21 and violent
       violent crime.
               crime. The laws of
                      The laws    the states
                               of the        and cities
                                      states and        at issue,
                                                 cities at issue, along
                                                                  along with
                                                                        with public
                                                                             public policy
                                                                                    policy
22
22    considerations similarly recognized
      considerations similarly recognized in
                                          in other major public
                                             other major public health
                                                                health and
                                                                       and safety litigation, like
                                                                           safety litigation, like
23 those
23 those involving
         involving Opioids and JUUL,
                   Opioids and JUUL, support holding Defendants
                                     support holding Defendants accountable
                                                                accountable for
                                                                            for the
                                                                                the
24
24    consequences
      consequences of their business
                   of their business decisions. Defendants’ failure
                                     decisions. Defendants' failure to
                                                                    to install
                                                                       install industry-standard,
                                                                               industry-standard,
25 reasonable
25 reasonable anti-theft
              anti-theft measures
                         measures led
                                  led to
                                      to foreseeable,
                                         foreseeable, direct, and substantial
                                                      direct, and substantial harm
                                                                              harm to
                                                                                   to the
                                                                                      the GE
                                                                                          GE
26 Plaintiffs.
26 Plaintiffs.
27
27          Defendants spill
            Defendants spill considerable ink arguing
                             considerable ink arguing that
                                                      that the
                                                           the National
                                                               National Highway
                                                                        Highway and
                                                                                and Traffic
                                                                                    Traffic
28 Safety
28        Administration ("NHTSA")
   Safety Administration (“NHTSA”) and
                                   and the
                                       the Federal
                                           Federal Motor
                                                   Motor Vehicle
                                                         Vehicle Safety
                                                                 Safety Standards
                                                                        Standards
                                                    2
                                                    2
       NO. 8:22-
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           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11 ("FMVSS")
    (“FMVSS”) do not expressly
              do not           require immobilizers.
                     expressly require immobilizers. But
                                                     But courts in numerous
                                                         courts in numerous contexts—
                                                                            contexts-
 22   such as in
      such as in nationwide
                 nationwide multidistrict
                            multidistrict litigation
                                          litigation concerning opioid painkillers
                                                     concerning opioid painkillers and
                                                                                   and JUUL
                                                                                       JUUL
 33 vaping
    vaping devices, among others—have
           devices, among             held defendants
                          others—have held defendants liable under nuisance
                                                      liable under nuisance and
                                                                            and
 44 negligence
    negligence theories
               theories for
                        for the
                            the downstream
                                downstream effects of purportedly
                                           effects of purportedly legal
                                                                  legal conduct. In short,
                                                                        conduct. In short, the
                                                                                           the
 55 GE Plaintiffs’ public
    GE Plaintiffs' public nuisance
                          nuisance and
                                   and negligence
                                       negligence claims pertain to
                                                  claims pertain to broad
                                                                    broad harms
                                                                          harms resulting
                                                                                resulting
 66 from
    from Defendants'
         Defendants’ unreasonable
                     unreasonable interference
                                  interference with
                                               with the
                                                    the right
                                                        right to
                                                              to public
                                                                 public safety, and GE
                                                                        safety, and GE
 77 Plaintiffs
    Plaintiffs need
               need not
                    not prove
                        prove that
                              that Defendants
                                   Defendants violated
                                              violated the
                                                       the FMVSS.
                                                           FMVSS. See,
                                                                  See, e.g.,
                                                                       e.g., City
                                                                             City of
                                                                                  of Gary
                                                                                     Gary ex
                                                                                          ex
 8 rel.
 8      King v.
   rel. King    Smith &
             v. Smith & Wesson
                        Wesson Corp.,
                               Corp., 801 N.E.2d 1222,
                                      801 N.E.2d 1222, 1231
                                                       1231 (Ind.
                                                            (Ind. 2003)
                                                                  2003) ("Whether
                                                                        (“Whether [a
                                                                                  [a
 99 nuisance]
    nuisance] is
              is unreasonable
                 unreasonable turns
                              turns on whether the
                                    on whether the activity,
                                                   activity, even if lawful,
                                                             even if lawful, can be expected
                                                                             can be expected
10 to
10 to impose
      impose such
             such costs
                  costs or inconvenience on
                        or inconvenience on others that those
                                            others that those costs
                                                              costs should be borne
                                                                    should be borne by
                                                                                    by the
                                                                                       the
11
11    generator
      generator of the activity,
                of the activity, or the activity
                                 or the activity must
                                                 must be
                                                      be stopped
                                                         stopped or modified.”).
                                                                 or modified.").
12
12          Because the
            Because the GE Plaintiffs’ claims
                        GE Plaintiffs'        are well-pled,
                                       claims are well-pled, Defendants
                                                             Defendants attempt
                                                                        attempt to
                                                                                to rely
                                                                                   rely on
                                                                                        on aa
13
13    sweeping, inaccurate, and
      sweeping, inaccurate, and contradictory interpretation of
                                contradictory interpretation of preemption
                                                                preemption doctrine.
                                                                           doctrine.
14 Defendants
14 Defendants also
              also mischaracterize
                   mischaracterize the
                                   the required
                                       required elements
                                                elements of the GE
                                                         of the    Plaintiffs’ public
                                                                GE Plaintiffs' public
15 nuisance
15 nuisance and
            and negligence
                negligence claims. Finally, Defendants
                           claims. Finally, Defendants also
                                                       also mischaracterize
                                                            mischaracterize the
                                                                            the
16 requirements
16 requirements for
                for certain
                    certain GE Plaintiffs’ municipal
                            GE Plaintiffs' municipal and
                                                     and additional
                                                         additional common-law
                                                                    common-law claims, and
                                                                               claims, and
17 their
17 their invocation
         invocation of the municipal
                    of the municipal cost recovery and
                                     cost recovery and economic loss rules
                                                       economic loss rules in
                                                                           in seeking
                                                                              seeking
18 dismissal
18 dismissal of
             of certain
                certain claims is inappropriate
                        claims is inappropriate and
                                                and unavailing.
                                                    unavailing. GE Plaintiffs have
                                                                GE Plaintiffs have sufficiently
                                                                                   sufficiently
19 pled
19 pled numerous
        numerous claims for relief,
                 claims for relief, and
                                    and Defendants'
                                        Defendants’ Motion
                                                    Motion should be denied.
                                                           should be denied.
20
20                                    II.
                                      II.    BACKGROUND
                                             BACKGROUND
21 A.
21 A.       Defendants’ Unreasonable
            Defendants'               Conduct Deviated
                         Unreasonable Conduct  Deviated from
                                                        from Industry
                                                             Industry Standards and
                                                                      Standards and
22
22          Failed
            Failed to
                   to Prevent
                      Prevent Reasonably
                              Reasonably Foreseeable
                                         Foreseeable Thefts.
                                                     Thefts.

23
23          The need for
            The need for anti-theft
                         anti-theft protection
                                    protection closely followed the
                                               closely followed the invention
                                                                    invention of automobiles
                                                                              of automobiles
   themselves. CGEC
24 themselves.
24             CGEC ¶¶ 58. By the
                       58. By the 1970s,
                                  1970s, federal
                                         federal agencies,
                                                 agencies, in
                                                           in imposing
                                                              imposing minimum
                                                                       minimum theft-
                                                                               theft-
   protection standards,
25 protection
25                       had recognized
              standards, had recognized "that
                                        “that stolen
                                              stolen cars
                                                     cars constitute
                                                          constitute aa major
                                                                        major hazard
                                                                              hazard to
                                                                                     to life
                                                                                        life and
                                                                                             and
   limb on
26 limb
26         the highways."
        on the highways.” Id.
                          Id. ¶¶ 65 (citation omitted).
                                 65 (citation           More recently,
                                              omitted). More recently, and
                                                                       and certainly by 2015,
                                                                           certainly by 2015,
27
27    engine immobilizers became
      engine immobilizers became standard in nearly
                                 standard in nearly all
                                                    all vehicles
                                                        vehicles sold in the
                                                                 sold in the United
                                                                             United States, with
                                                                                    States, with
   the glaring
28 the
28     glaring exception
               exception of millions of
                         of millions    Hyundai and
                                     of Hyundai and Kia
                                                    Kia vehicles.
                                                        vehicles. Id.
                                                                  Id. ¶¶ 3, 7,
                                                                      ¶¶ 3,    103.
                                                                            7, 103.
                                                    3
                                                    3
       NO. 8:22-
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           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11            The
               The omission
                   omission of
                            of engine immobilizers or
                               engine immobilizers    an equivalent,
                                                   or an             reasonable anti-theft
                                                         equivalent, reasonable anti-theft device
                                                                                           device
 22 from
    from the
         the Susceptible Vehicles22 was
             Susceptible Vehicles   was intentional
                                        intentional and
                                                    and saved Defendants money
                                                        saved Defendants money in
                                                                               in the
                                                                                  the short
                                                                                      short
 33 run,
    run, but
         but it
             it has
                has proven
                    proven costly to governmental
                           costly to governmental entities in the
                                                  entities in the long run. Defendants
                                                                  long run. Defendants were
                                                                                       were
 44 familiar
    familiar with
             with engine immobilizers, as
                  engine immobilizers, as they
                                          they installed
                                               installed them
                                                         them in
                                                              in all
                                                                 all their
                                                                     their vehicles
                                                                           vehicles sold
                                                                                    sold in
                                                                                         in
 55 Europe
    Europe and
           and Canada, as well
               Canada, as well as
                               as in
                                  in higher-end
                                     higher-end models
                                                models sold in the
                                                       sold in the United
                                                                   United States. Id. ¶¶
                                                                          States. Id.    6,
                                                                                      ¶¶ 6,
 66 79. At the
    79. At the same time, research
               same time, research studies
                                   studies touted
                                           touted engine immobilizers as
                                                  engine immobilizers as "car
                                                                         “car theft's
                                                                              theft’s killer
                                                                                      killer
 77 technology"
    technology” and
                and highlighted
                    highlighted the
                                the device’s ability to
                                    device's ability to prevent
                                                        prevent young
                                                                young and
                                                                      and often reckless
                                                                          often reckless
 8 offenders
 8           from stealing
   offenders from stealing cars. Id. ¶¶ 74
                           cars. Id.       (citations omitted).
                                        74 (citations omitted). Those
                                                                Those studies highlighted how
                                                                      studies highlighted how aa
 99 decrease in youth
    decrease in youth offenders benefits public
                      offenders benefits public safety,
                                                safety, by
                                                        by limiting
                                                           limiting the
                                                                    the "joyriding"
                                                                        “joyriding” and
                                                                                    and other
                                                                                        other
10 reckless
10 reckless behavior
            behavior that
                     that often accompanies car
                          often accompanies     thefts by
                                            car thefts by juveniles,
                                                          juveniles, id.
                                                                     id. ¶¶ 62,
                                                                            62, and
                                                                                and public
                                                                                    public
11 welfare,
11 welfare, by
            by preserving resources that
               preserving resources that may
                                         may otherwise have been
                                             otherwise have been expended
                                                                 expended on
                                                                          on adolescent
                                                                             adolescent
12
12    offenders
      offenders experiencing “criminal career
                experiencing "criminal career onset and continuance.”
                                              onset and               Id. 1175.
                                                        continuance." Id. ¶ 75. Still, Defendants
                                                                                Still, Defendants
13 failed
13 failed to
          to implement
             implement reasonable
                       reasonable anti-theft measures that
                                  anti-theft measures that had
                                                           had successfully
                                                               successfully deterred
                                                                            deterred car
                                                                                     car
14 thieves,
14 thieves, and
            and especially juvenile car
                especially juvenile     thieves, for
                                    car thieves, for decades, and that
                                                     decades, and that had
                                                                       had become
                                                                           become standard
                                                                                  standard
15 across
15 across the
          the industry,
              industry, sparking
                        sparking aa new
                                    new and
                                        and costly wave of
                                            costly wave    thefts, and
                                                        of thefts,     particularly by
                                                                   and particularly by juvenile
                                                                                       juvenile
16
16    offenders.
      offenders.
17
17             Contrary to Defendants'
               Contrary to Defendants’ assertions,
                                       assertions, the
                                                   the rate
                                                       rate of theft for
                                                            of theft for the
                                                                         the Susceptible
                                                                             Susceptible Vehicles
                                                                                         Vehicles
18 began
18 began to
         to increase,
            increase, relative
                      relative to
                               to other models, as
                                  other models, as early as 2015.
                                                   early as 2015. Id.
                                                                  Id. ¶
                                                                      ¶ 83.
                                                                        83. Later,
                                                                            Later, as
                                                                                   as social media
                                                                                      social media
19 and
19 and online articles detailing
       online articles           how easy
                       detailing how      it is
                                     easy it is to
                                                to steal
                                                   steal the
                                                         the Susceptible
                                                             Susceptible Vehicles proliferated,
                                                                         Vehicles proliferated,
20 the
20 the rate
       rate of Hyundai and
            of Hyundai and Kia
                           Kia thefts
                               thefts exploded. Id. ¶¶ 84.
                                      exploded. Id.        Defendants characterize
                                                       84. Defendants              the rapid
                                                                      characterize the rapid
21
21    spread in awareness
      spread in awareness about
                          about how
                                how easily the Susceptible
                                    easily the Susceptible Vehicles
                                                           Vehicles could be stolen
                                                                    could be stolen as
                                                                                    as an
                                                                                       an
22
22    “unforeseeable
       unforeseeable .. .. .. multi-state
                              multi-state social media campaign
                                          social media campaign of
                                                                of criminal solicitation and
                                                                   criminal solicitation and
23 facilitation."
23 facilitation.” Dkt.
                  Dkt. No.
                       No. 219
                           219 ("Motion")
                               (“Motion”) at
                                          at 27.
                                             27. But
                                                 But it
                                                     it was
                                                        was not
                                                            not at
                                                                at all
                                                                   all unforeseeable,
                                                                       unforeseeable, as
                                                                                      as
24 Defendants
24 Defendants themselves
              themselves admit
                         admit in
                               in their
                                  their motion
                                        motion to
                                               to dismiss the Subrogation
                                                  dismiss the             Plaintiffs’
                                                              Subrogation Plaintiffs'
25
25    Complaint (“Subrogation Motion");
      Complaint ("Subrogation Motion”); in
                                        in that
                                           that motion,
                                                motion, Defendants
                                                        Defendants argued
                                                                   argued that
                                                                          that the
                                                                               the plaintiffs
                                                                                   plaintiffs
26 had
26 had "received
       “received premiums
                 premiums to
                          to cover
                             cover the well-known problem
                                   the well-known problem of automobile theft
                                                          of automobile       and were
                                                                        theft and were in
                                                                                       in
27
27
      2
28
28        GE Plaintiffs provide the complete list, upon information and belief, of the Hyundai
      2 GE Plaintiffs provide the complete list, upon information and belief, of the Hyundai
          and Kia
          and Kia vehicles
                  vehicles lacking
                           lacking engine immobilizers in
                                   engine immobilizers   in their
                                                            their Complaint. See CGEC
                                                                  Complaint. See CGEC ¶¶ 3.
                                                                                         3.
                                                     44
          NO. 8:22-
          No.      ML-03052-JVS-KES
              8:22-ML-03052-Jvs-KEs        CORRECTED GOV’T ENTITIES'
                                           CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                     OPPOSITION TO MOTION TO
                                                                                TO MOTION    DISMISS
                                                                                          TO DISMISS
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 11 aa position
       position to
                to avoid
                   avoid their
                         their losses,"
                               losses,” including
                                        including by
                                                  by "adjust[ing]
                                                     “adjust[ing] premiums
                                                                  premiums based
                                                                           based on the presence
                                                                                 on the presence
 22   or absence of
      or absence    an immobilizer."
                 of an immobilizer.” Subrogation Motion at
                                     Subrogation Motion at 27
                                                           27 (emphasis
                                                              (emphasis added).
                                                                        added).
 33   B.
      B.     The
             The Public
                 Public Safety
                        Safety Nuisance and Defendants'
                               Nuisance and  Defendants’ Negligence Has Had
                                                         Negligence Has Had
 44          Devastating Consequences
             Devastating Consequences for
                                       for the
                                           the GE
                                               GE Plaintiffs.
                                                  Plaintiffs.

 55          The foreseeable consequences
             The foreseeable consequences of Defendants’ decision
                                          of Defendants'          to omit
                                                         decision to      reasonable anti-theft
                                                                     omit reasonable anti-theft
 66 devices from millions
    devices from millions of vehicles start
                          of vehicles start with
                                            with aa massive
                                                    massive surge
                                                            surge of thefts in
                                                                  of thefts in cities across the
                                                                               cities across the
 77 country, but they
    country, but they do not end
                      do not     there. That
                             end there.      surge, it
                                        That surge, it bears
                                                       bears repeating,
                                                             repeating, is
                                                                        is enormous: in
                                                                           enormous: in
 8 Milwaukee,
 8 Milwaukee, in
              in 2021,
                 2021, the
                       the nearly
                           nearly 7,000
                                  7,000 completed and attempted
                                        completed and attempted thefts
                                                                thefts of Hyundai and
                                                                       of Hyundai and Kia
                                                                                      Kia
 99 vehicles
    vehicles comprised 67% of
             comprised 67%    all reported
                           of all reported cars stolen, where
                                           cars stolen, where Hyundai
                                                              Hyundai and
                                                                      and Kia
                                                                          Kia vehicles
                                                                              vehicles had
                                                                                       had
10
10    comprised
      comprised only 6% of
                only 6% of stolen
                           stolen cars in 2019.
                                  cars in 2019. CGEC
                                                CGEC ¶¶
                                                     ¶¶ 85, 113. That
                                                        85, 113.      trend, unfortunately,
                                                                 That trend, unfortunately,
11 has
11 has held
       held true
            true ever
                 ever since: Hyundai and
                      since: Hyundai and Kia
                                         Kia vehicles
                                             vehicles accounted
                                                      accounted for
                                                                for 58% of all
                                                                    58% of all car thefts in
                                                                               car thefts in
12 2022
12 2022 and
        and 52% in the
            52% in the first
                       first five months of
                             five months    2023, vastly
                                         of 2023, vastly out
                                                         out of
                                                             of proportion to their
                                                                proportion to their market
                                                                                    market
13
13    share. Id. ¶¶ 118.
      share. Id.    118.
14
14           For the
             For the GE Plaintiffs, the
                     GE Plaintiffs, the costs associated with
                                        costs associated with these
                                                              these thefts
                                                                    thefts are
                                                                           are considerable. As
                                                                               considerable. As
15 thefts
15 thefts of Hyundai and
          of Hyundai and Kia
                         Kia vehicles
                             vehicles drastically rose, GE
                                      drastically rose,    Plaintiffs were
                                                        GE Plaintiffs were forced to divert
                                                                           forced to divert
16
16    countless hours responding
      countless hours responding to
                                 to and
                                    and investigating
                                        investigating these
                                                      these crimes. Id. ¶¶ 14;
                                                            crimes. Id.    14; see
                                                                               see also
                                                                                   also id.
                                                                                        id. ¶¶ 151
                                                                                               151
17 (Columbus
17 (Columbus estimates that its
             estimates that its police
                                police officers
                                       officers spent more than
                                                spent more than 4,500 hours responding
                                                                4,500 hours responding to
                                                                                       to
18 Kia
18 Kia and
       and Hyundai
           Hyundai incidents
                   incidents in
                             in 2022,
                                2022, compared to 550
                                      compared to     hours in
                                                  550 hours in 2020).
                                                               2020). The high rate
                                                                      The high rate of
                                                                                    of
19 juvenile
19 juvenile offenders among this
            offenders among this theft
                                 theft wave
                                       wave has
                                            has additional
                                                additional costs to municipalities
                                                           costs to municipalities and
                                                                                   and
20
20    communities as well,
      communities as well, as
                           as illustrated
                              illustrated by
                                          by the
                                             the academic
                                                 academic studies
                                                          studies cited in the
                                                                  cited in the CGEC. See id.
                                                                               CGEC. See id. ¶¶
                                                                                             ¶¶
21
21    74-75 n.31-33. Additionally,
      74-75 n.31-33. Additionally, the
                                   the expenditure
                                       expenditure of police and
                                                   of police and emergency resources on
                                                                 emergency resources    these
                                                                                     on these
22 thefts
22 thefts deprives
          deprives GE Plaintiffs of
                   GE Plaintiffs    the ability
                                 of the ability to
                                                to combat
                                                   combat other
                                                          other crimes—in addition to
                                                                crimes—in addition to the
                                                                                      the
23 upfront
23 upfront costs, there are
           costs, there are significant
                            significant opportunity
                                        opportunity costs. Id. ¶¶ 97
                                                    costs. Id.       n.65.
                                                                  97 n.65.
24
24           These thefts too
             These thefts too frequently
                              frequently have
                                         have tragic
                                              tragic results
                                                     results for
                                                             for the
                                                                 the perpetrators, first responders,
                                                                     perpetrators, first responders,
25 and
25 and the
       the public.
           public. See,
                   See, e.g.,
                        e.g., id.
                              id. ¶¶
                                  ¶¶ 91-94.
                                     91-94. In Baltimore, aa stolen
                                            In Baltimore,           Hyundai involved
                                                             stolen Hyundai involved in
                                                                                     in aa high-
                                                                                           high-
26
26    speed
      speed chase
            chase crashed into aa car,
                  crashed into    car, aa pedestrian,
                                          pedestrian, and
                                                      and aa nearby
                                                             nearby building,
                                                                    building, which
                                                                              which collapsed
                                                                                    collapsed on
                                                                                              on
27 the
27 the vehicles
       vehicles and
                and the
                    the pedestrian,
                        pedestrian, killing
                                    killing the
                                            the pedestrian
                                                pedestrian and
                                                           and injuring
                                                               injuring occupants
                                                                        occupants of both cars.
                                                                                  of both cars.
28 Id.
28 Id. ¶¶ 95.
          95. In Milwaukee, aa 16-year-old
              In Milwaukee,    16-year-old driving
                                           driving aa stolen Kia died
                                                      stolen Kia      when he
                                                                 died when he collided with
                                                                              collided with
                                                     55
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1
 1   another car;
     another      his two
             car; his two 12-year-old
                          12-year-old passengers
                                      passengers as
                                                 as well
                                                    well as
                                                         as three
                                                            three passengers
                                                                  passengers in
                                                                             in the
                                                                                the other
                                                                                    other car
                                                                                          car
22   were seriously
     were           injured, id.
          seriously injured, id. ¶¶ 119;
                                    119; and
                                         and in
                                             in January 2023, five
                                                January 2023, five juveniles
                                                                   juveniles between
                                                                             between 13
                                                                                     13 and
                                                                                        and 15
                                                                                            15
3
3    in aa stolen
     in           Kia were
           stolen Kia were involved
                           involved in
                                    in aa collision that killed
                                          collision that killed aa 47-year-old passenger in
                                                                   47-year-old passenger in the
                                                                                            the other
                                                                                                other
 44 car and seriously
    car and           injured the
            seriously injured the driver,
                                  driver, id. ¶ 120.
                                          id. ¶ 120. Tragically, at least
                                                     Tragically, at least 51 individuals, including
                                                                          51 individuals, including
 55 six police officers
    six police          and four
               officers and four firefighters,
                                 firefighters, have
                                               have been
                                                    been killed
                                                         killed or injured in
                                                                or injured in the
                                                                              the GE Plaintiffs’
                                                                                  GE Plaintiffs'
 66 jurisdictions
    jurisdictions as
                  as aa result
                        result of stolen Hyundai
                               of stolen Hyundai and
                                                 and Kia
                                                     Kia vehicle
                                                         vehicle incidents
                                                                 incidents or
                                                                           or related
                                                                              related incidents.
                                                                                      incidents.
 77 Id.
    Id. ¶¶ 119-20, 122,
        ¶¶ 119-20, 122, 139-41,
                        139-41, 143,
                                143, 145,
                                     145, 160-61,
                                          160-61, 168-69,
                                                  168-69, 172-73,
                                                          172-73, 183,
                                                                  183, 189,
                                                                       189, 210-11,
                                                                            210-11, 228,
                                                                                    228, 257.
                                                                                         257.
 8
 8   The
     The Complaint is replete
         Complaint is replete with
                              with details
                                   details of
                                           of other incidents, property
                                              other incidents, property damage, and self-help
                                                                        damage, and self-help
 99 measures
    measures undertaken
             undertaken by
                        by members
                           members of the Milwaukee
                                   of the Milwaukee community (ranging from
                                                    community (ranging from businesses
                                                                            businesses
10
10   warning their
     warning their customers not to
                   customers not to park
                                    park Susceptible
                                         Susceptible Vehicles
                                                     Vehicles outside to vehicle
                                                              outside to vehicle owners
                                                                                 owners
11
11   attempting to
     attempting to prevent
                   prevent thefts
                           thefts or recover their
                                  or recover their vehicles),
                                                   vehicles), all
                                                              all consequences
                                                                  consequences of Defendants’
                                                                               of Defendants'
12
12   business decisions.
     business            Id. ¶¶
              decisions. Id.    121-25. The
                             ¶¶ 121-25. The other
                                            other GE Plaintiffs have
                                                  GE Plaintiffs have similarly
                                                                     similarly detailed the
                                                                               detailed the
13
13   significant increases in
     significant increases in theft,
                              theft, tragic
                                     tragic incidents,
                                            incidents, and
                                                       and additional
                                                           additional costs they have
                                                                      costs they have incurred
                                                                                      incurred as
                                                                                               as aa
14
14   result of
     result    this public
            of this public nuisance.
                           nuisance. See
                                     See id.
                                         id. ¶¶ 126-31 (Madison,
                                             ¶¶ 126-31 (Madison, WI);
                                                                 WI); ¶¶ 132-35 (Green
                                                                      ¶¶ 132-35 (Green Bay,
                                                                                       Bay,
15
15   WI);
     WI); ¶¶ 136-52 (Columbus,
          ¶¶ 136-52 (Columbus, OH); ¶¶ 153-61
                               OH); ¶¶ 153-61 (Cleveland,
                                              (Cleveland, OH);
                                                          OH); ¶¶ 162-73 (Cincinnati,
                                                               ¶¶ 162-73 (Cincinnati, OH);
                                                                                      OH);
16
16   ¶¶ 174-84 (Parma,
     ¶¶ 174-84 (Parma, OH);
                       OH); ¶¶
                            ¶¶ 185-91
                               185-91 (Baltimore,
                                      (Baltimore, MD);
                                                  MD); ¶¶
                                                       ¶¶ 192-99
                                                          192-99 (Seattle,
                                                                 (Seattle, WA); ¶¶ 200-16
                                                                           WA); ¶¶ 200-16
17
17   (St. Louis,
     (St. Louis, MO);
                 MO); ¶¶
                      ¶¶ 217-23
                         217-23 (Kansas
                                (Kansas City, MO); ¶¶
                                        City, MO);    224-28 (Buffalo,
                                                   ¶¶ 224-28 (Buffalo, NY);
                                                                       NY); ¶¶ 229-38
                                                                            ¶¶ 229-38
18
18   (Rochester, NY);
     (Rochester, NY); ¶¶ 239-48 (New
                      ¶¶ 239-48 (New York, NY); ¶¶
                                     York, NY);    249-52 (Yonkers,
                                                ¶¶ 249-52 (Yonkers, NY);
                                                                    NY); ¶¶
                                                                         ¶¶ 253-58
                                                                            253-58
19
19   (Tonawanda, NY);
     (Tonawanda, NY); ¶¶
                      ¶¶ 259-62
                         259-62 (Indianapolis,
                                (Indianapolis, IN).
                                               IN).
20
20                                    III.
                                      III.    LEGAL
                                              LEGAL STANDARD
                                                    STANDARD
21
21          “It is
            "It is well
                   well established that, under
                        established that, under Rule
                                                Rule 8(a),
                                                     8(a), aa plaintiff
                                                              plaintiff need
                                                                        need only provide ‘enough
                                                                             only provide `enough
22
22   facts to
     facts to state
              state aa claim to relief
                       claim to relief that
                                       that is
                                            is plausible
                                               plausible on its face.’”
                                                         on its         Austin v.
                                                                face.'"Austin  v. Univ.
                                                                                  Univ. of Or., 925
                                                                                        of Or.,     F.3d
                                                                                                925 F.3d
23
23   1133, 1137
     1133, 1137 (9th
                (9th Cir. 2019) (quoting
                     Cir. 2019) (quoting Bell
                                         Bell Atl.
                                              Atl. Corp.
                                                   Corp. v.
                                                         v. Twombly,
                                                            Twombly, 550 U.S. 544,
                                                                     550 U.S. 544, 570 (2007)).
                                                                                   570 (2007)).
24
24   A claim
     A       has "facial
       claim has “facial plausibility
                         plausibility when
                                      when the
                                           the plaintiff
                                               plaintiff pleads
                                                         pleads factual
                                                                factual content that allows
                                                                        content that allows the
                                                                                            the
25
25   court to draw
     court to      the reasonable
              draw the reasonable inference
                                  inference that
                                            that the
                                                 the defendant is liable
                                                     defendant is liable for
                                                                         for the
                                                                             the misconduct
                                                                                 misconduct
26
26   alleged.” Ashcroft
     alleged." Ashcroft v. Iqbal, 556
                        v. Iqbal,     U.S. 662,
                                  556 U.S. 662, 678
                                                678 (2009)
                                                    (2009) (citing
                                                           (citing Twombly,
                                                                   Twombly, 550 U.S. at
                                                                            550 U.S. at 556).
                                                                                        556).
27
27   The
     The court
         court should uphold aa claim
               should uphold          if the
                                claim if the plaintiff provides 'enough
                                             plaintiff provides “‘enough fact[s]
                                                                         fact[s] to
                                                                                 to raise
                                                                                    raise aa
28
28   reasonable expectation
     reasonable             that discovery
                expectation that           will reveal
                                 discovery will reveal evidence’ to support
                                                       evidence' to support the
                                                                            the allegations."
                                                                                allegations.”
                                                       66
      NO. 8:22-
      No.      ML-03052-JVS-KES
          8:22-ML-03052-Jvs-KEs              CORRECTED GOV’T ENTITIES'
                                             CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                       OPPOSITION TO MOTION TO
                                                                                  TO MOTION    DISMISS
                                                                                            TO DISMISS
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 11 Starr
    Starr v. Baca, 652
          v. Baca,     F.3d 1202,
                   652 F.3d 1202, 1217
                                  1217 (9th
                                       (9th Cir. 2011) (citation
                                            Cir. 2011) (citation omitted). “All factual
                                                                 omitted). "All factual
 22 allegations
    allegations are
                are accepted
                    accepted as
                             as true,
                                true, and
                                      and all
                                          all reasonable
                                              reasonable inferences
                                                         inferences must
                                                                    must be
                                                                         be drawn in favor
                                                                            drawn in favor of
                                                                                           of
 33 the
    the plaintiff."
        plaintiff.” Austin,
                    Austin, 925 F.3d at
                            925 F.3d at 1137
                                        1137 (citing
                                             (citing Iqbal,
                                                     Iqbal, 556 U.S. at
                                                            556 U.S. at 678 (noting that
                                                                        678 (noting that "the
                                                                                         “the
 44 plausibility
    plausibility standard
                 standard is
                          is not
                             not akin
                                 akin to
                                      to aa ‘probability requirement,’ but
                                            `probability requirement,' but it
                                                                           it asks
                                                                              asks for
                                                                                   for more
                                                                                       more than
                                                                                            than aa
 55 sheer possibility that
    sheer possibility that aa defendant has acted
                              defendant has       unlawfully”) (citation
                                            acted unlawfully") (citation omitted).
                                                                         omitted).
 66                                     IV.
                                        IV.    ARGUMENT
                                               ARGUMENT
 77 A.
    A.      NHTSA’s
            NHTSA's Motor     Vehicle Safety
                        Motor Vehicle Safety Regulations Do Not
                                             Regulations Do Not Preempt
                                                                Preempt the
                                                                        the GE
                                                                            GE
 8
 8          Plaintiffs’
            Plaintiffs' Causes
                        Causes of Action.
                               of Action.

 99         Defendants argue
            Defendants argue that
                             that NHTSA
                                  NHTSA (which
                                        (which acknowledges that it
                                               acknowledges that    “meets frequently
                                                                 it "meets            with
                                                                           frequently with
   vehicle manufacturers[,]"
10 vehicle
10         manufacturers[,]” Dkt.
                             Dkt. No.
                                  No. 220-3)
                                      220-3) does not "require
                                             does not “require immobilizers"
                                                               immobilizers” in
                                                                             in its
                                                                                its vehicles
                                                                                    vehicles
   and thus
11 and
11     thus this
            this Court
                 Court cannot
                       cannot either. Motion at
                              either. Motion at 4. However, it
                                                4. However, it is
                                                               is important
                                                                  important at
                                                                            at the
                                                                               the outset to
                                                                                   outset to
   note what
12 note
12      what NHTSA's
             NHTSA’s recent
                     recent letter
                            letter to
                                   to state
                                      state attorneys
                                            attorneys general said and
                                                      general said and what
                                                                       what it
                                                                            it did not say.
                                                                               did not say.
13
13          NHTSA did
            NHTSA     not endorse
                  did not         Defendants’ conduct,
                          endorse Defendants'          state that
                                              conduct, state that the
                                                                  the vehicles
                                                                      vehicles at
                                                                               at issue
                                                                                  issue were
                                                                                        were
   “safe,” or
14 "safe,"
14         or opine that governmental
              opine that governmental entities were not
                                      entities were not affected.
                                                        affected. Rather,
                                                                  Rather, it
                                                                          it said,
                                                                             said, "At
                                                                                   “At this
                                                                                       this time,
                                                                                            time,
   NHTSA has
15 NHTSA
15       has not
             not determined that this
                 determined that this issue
                                      issue constitutes
                                            constitutes either
                                                        either aa safety
                                                                  safety defect
                                                                         defect or
                                                                                or
   noncompliance requiring
16 noncompliance
16                         a recall
                 requiring a recall under [its authority]."
                                    under [its authority].” Dkt.
                                                            Dkt. No.
                                                                 No. 220-3
                                                                     220-3 at
                                                                           at 33 (emphasis
                                                                                 (emphasis
   added). Crucially,
17 added).
17                    it acknowledged
           Crucially, it acknowledged that
                                      that "reckless
                                           “reckless driving is aa serious
                                                     driving is    serious safety issue,
                                                                           safety issue,
   whether by
18 whether
18         by an
              an authorized
                 authorized or unauthorized person.
                            or unauthorized person…NHTSA     will also
                                                    . .NHTSA will also continue to closely
                                                                       continue to closely
   monitor this
19 monitor
19         this issue."
                issue.” Id.
                        Id. Nor
                            Nor did it comment
                                did it comment on the authority
                                               on the authority of states’ attorneys
                                                                of states' attorneys general,
                                                                                     general,
   local governments,
20 local
20       governments, or this Court.
                      or this Court. It
                                     It certainly
                                        certainly did not say
                                                  did not say that
                                                              that Defendants
                                                                   Defendants are
                                                                              are not
                                                                                  not liable
                                                                                      liable for
                                                                                             for
   the downstream,
21 the
21                 foreseeable consequences
       downstream, foreseeable              they have
                               consequences they have created.
                                                      created. That issue is
                                                               That issue is entirely
                                                                             entirely
22
22    outside NHTSA’s purview,
      outside NHTSA's purview, and
                               and the
                                   the letter
                                       letter has
                                              has no
                                                  no preemptive
                                                     preemptive effect.
                                                                effect.
23
23          Moreover, Defendants
            Moreover, Defendants incorrectly
                                 incorrectly frame
                                             frame GE Plaintiffs’ Complaint
                                                   GE Plaintiffs' Complaint as
                                                                            as "imposing
                                                                               “imposing aa
   narrow engine-immobilizer
24 narrow
24                           requirement” that
          engine-immobilizer requirement" that "runs
                                               “runs headlong
                                                     headlong into
                                                              into federal
                                                                   federal preemption
                                                                           preemption
   rules.” Motion
25 rules."
25         Motion at
                  at 17-18.
                     17-18. As
                            As aa preliminary matter, Defendants
                                  preliminary matter, Defendants repeat the mistake
                                                                 repeat the mistake of
                                                                                    of
   manufacturers in
26 manufacturers
26               in other
                    other car
                          car cases by failing
                              cases by failing to
                                               to clearly
                                                  clearly state what they
                                                          state what they contend is preempted
                                                                          contend is preempted
   (i.e., the
27 (i.e.,
27        the relief
              relief sought
                     sought or the claim)
                            or the        and the
                                   claim) and the basis
                                                  basis for
                                                        for their
                                                            their contention. See, e.g.,
                                                                  contention. See,       In re
                                                                                   e.g., In re
28 Toyota
28        Motor Corp.
   Toyota Motor Corp. Unintended Acceleration Mktg.,
                      Unintended Acceleration Mktg., Sales
                                                     Sales Pracs.,
                                                           Pracs., &
                                                                   & Prods.
                                                                     Prods. Liab.
                                                                            Liab. Litig.,
                                                                                  Litig.,
                                                   77
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       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1
 1   754 F. Supp.
     754 F.       2d 1145,
            Supp. 2d 1145, 1195-96
                           1195-96 (C.D.
                                   (C.D. Cal. 2010). Whatever
                                         Cal. 2010).          the grounds,
                                                     Whatever the          Defendants’
                                                                  grounds, Defendants'
22   contention is legally
     contention is legally and
                           and factually
                               factually baseless.
                                         baseless.
3
3          Legally, there
           Legally, there are
                          are two
                              two types
                                  types of preemption—express or
                                        of preemption—express    implied—neither of
                                                              or implied—neither    which
                                                                                 of which
 44 applies
    applies here.
            here. Congress
                  Congress did not expressly
                           did not           preempt states
                                   expressly preempt states from
                                                            from regulating
                                                                 regulating motor
                                                                            motor vehicle
                                                                                  vehicle
 55 safety, as numerous
    safety, as numerous courts have found.
                        courts have found. See
                                           See infra
                                               infra Section IV.A.1. Absent
                                                     Section IV.A.1. Absent express
                                                                            express
 66 preemption,
    preemption, state law only
                state law      impliedly yields
                          only impliedly yields to
                                                to federal
                                                   federal law:
                                                           law: (1)
                                                                (1) "[w]hen
                                                                    “[w]hen Congress
                                                                            Congress intends
                                                                                     intends
 77 federal
    federal law
            law to
                to ‘occupy the field,'"
                   `occupy the field,’” and
                                        and (2)
                                            (2) where
                                                where state law "conflict[s]
                                                      state law “conflict[s] with
                                                                             with aa federal
                                                                                     federal
 8
 8   statute.” Crosby
     statute." Crosby v. Nat’l Foreign
                      v. Nat'l Foreign Trade
                                       Trade Council,
                                             Council, 530 U.S. 363,
                                                      530 U.S. 363, 372
                                                                    372 (2000)
                                                                        (2000) (quoting
                                                                               (quoting
 99 California
    California v. ARC Am.
               v. ARC Am. Corp.,
                          Corp., 490 U.S. 93,
                                 490 U.S.     100 (1989)).
                                          93, 100 (1989)). Rather
                                                           Rather than
                                                                  than occupying the field,
                                                                       occupying the field,
10
10   Congress intentionally reserved
     Congress intentionally reserved for
                                     for states
                                         states their
                                                their historical
                                                      historical role
                                                                 role in
                                                                      in regulating
                                                                         regulating motor
                                                                                    motor vehicle
                                                                                          vehicle
11
11   safety. See infra
     safety. See infra Sections
                       Sections IV.A.2-3.
                                IV.A.2-3.
12
12         Factually, Defendants
           Factually, Defendants mischaracterize
                                 mischaracterize the
                                                 the GE Plaintiffs’ claims
                                                     GE Plaintiffs'        and the
                                                                    claims and the relief
                                                                                   relief they
                                                                                          they
13
13   seek in an
     seek in an attempt
                attempt to
                        to manufacture
                           manufacture aa conflict. But the
                                          conflict. But the GE Plaintiffs do
                                                            GE Plaintiffs    not seek
                                                                          do not seek to
                                                                                      to require
                                                                                         require
14
14   Defendants to
     Defendants to install
                   install engine immobilizers in
                           engine immobilizers in their
                                                  their vehicles.
                                                        vehicles. Rather,
                                                                  Rather, GE Plaintiffs contend
                                                                          GE Plaintiffs contend
15
15   Defendants violated
     Defendants violated their
                         their duties by failing
                               duties by failing to
                                                 to equip their vehicles
                                                    equip their vehicles with
                                                                         with reasonable
                                                                              reasonable anti-
                                                                                         anti-
16
16   theft technology
     theft technology (which
                      (which they
                             they could have satisfied
                                  could have           by installing
                                             satisfied by installing engine immobilizers).
                                                                     engine immobilizers).
17
17   CGEC
     CGEC ¶¶ 283, 333.
          ¶¶ 283, 333. To remedy Defendants'
                       To remedy Defendants’ failure,
                                             failure, GE Plaintiffs seek
                                                      GE Plaintiffs seek damages
                                                                         damages and
                                                                                 and
18
18   abatement. See
     abatement. See id.
                    id. ¶¶ 264, 325,
                        ¶¶ 264, 325, 419,
                                     419, 429,
                                          429, 473,
                                               473, 511,
                                                    511, 535. Defendants articulate
                                                         535. Defendants            no basis
                                                                         articulate no basis
19
19   for preempting
     for preempting such
                    such relief
                         relief or
                                or claims.
                                   claims.
20
20         1.
           1.     Neither
                  Neither the
                           the Safety  Act nor
                                Safety Act nor FMVSS 114 expressly
                                               FMVSS 114 expressly preempt
                                                                   preempt GE
                                                                           GE
21
21                Plaintiffs’
                  Plaintiffs' claims.
                              claims.

22
22         Defendants do
           Defendants    not appear
                      do not        to argue
                             appear to       that the
                                       argue that the National
                                                      National Traffic and Motor
                                                               Traffic and Motor Vehicle
                                                                                 Vehicle

23
23   Safety Act ("Safety
     Safety Act (“Safety Act")
                         Act”) expressly preempts the
                               expressly preempts the state
                                                      state and
                                                            and common law claims
                                                                common law        at issue
                                                                           claims at issue
24
24   in this
     in this case. Nor could
             case. Nor       they. The
                       could they. The Safety Act does
                                       Safety Act      not contain
                                                  does not         “explicit preemptive
                                                           contain "explicit preemptive
25
25   language.” Pac. Gas
     language."Pac.      & Elec.
                     Gas & Elec. Co.
                                 Co. v. State Energy
                                     v. State Energy Res.
                                                     Res. Conservation & Dev.
                                                          Conservation & Dev. Comm’n,
                                                                              Comm 'n, 461
                                                                                       461

26
26   U.S. 190,
     U.S. 190, 203
               203 (1983).
                   (1983). Rather,
                           Rather, as
                                   as this
                                      this Court previously recognized,
                                           Court previously recognized, "the
                                                                        “the Safety Act
                                                                             Safety Act

27
27   expressly provides that
     expressly provides that rights
                             rights and
                                    and remedies
                                        remedies created by the
                                                 created by the Act
                                                                Act are
                                                                    are supplemental
                                                                        supplemental to
                                                                                     to rights
                                                                                        rights
28
28   and remedies
     and remedies provided
                  provided by
                           by State law.” In
                              State law." In re
                                             re Toyota,
                                                Toyota, 754 F. Supp.
                                                        754 F.       2d at
                                                               Supp. 2d at 1196
                                                                           1196 (emphasis
                                                                                (emphasis

                                                     88
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                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                  OPPOSITION TO MOTION TO
                                                                             TO MOTION    DISMISS
                                                                                       TO DISMISS
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 1
 1    added) (citing
      added) (citing 49 U.S. §§ 30103(d)).
                     49 U.S.    30103(d)). Accordingly,
                                           Accordingly, neither
                                                        neither the
                                                                the Safety Act nor
                                                                    Safety Act nor FMVSS
                                                                                   FMVSS 114
                                                                                         114
 22   expressly preempt the
      expressly preempt the GE Plaintiffs’ claims.
                            GE Plaintiffs'         Defendants must
                                           claims. Defendants must then
                                                                   then show
                                                                        show that
                                                                             that GE
                                                                                  GE
 3
 3    Plaintiffs’ claims
      Plaintiffs'        are impliedly
                  claims are impliedly preempted.
                                       preempted.
 44         2.
            2.     Congress did
                   Congress did not  impliedly preempt
                                 not impliedly         states from
                                               preempt states from regulating
                                                                   regulating the
                                                                              the field
                                                                                  field of
                                                                                        of
 55                motor vehicle safety.
                   motor vehicle safety.

 66         “As aa threshold
            "As    threshold matter,
                             matter, the
                                     the Court must decide
                                         Court must        if the
                                                    decide if the presumption against
                                                                  presumption against
    preemption applies
 77 preemption applies to
                       to this
                          this case.” Id. This
                               case." Id. This Court has previously
                                               Court has previously recognized
                                                                    recognized that
                                                                               that where,
                                                                                    where, as
                                                                                           as
 8
 8    here, the
      here, the "regulatory
                “regulatory field
                            field in
                                  in question” involves motor
                                     question" involves motor vehicle
                                                              vehicle safety, the presumption
                                                                      safety, the presumption
    against preemption
 99 against preemption applies.
                        applies. Id.;
                                 Id.; see
                                      see also
                                          also Chamberlan
                                               Chamberlan v.  Ford Motor
                                                           v. Ford  Motor Co., 314 F.
                                                                          Co., 314  F. Supp.  2d
                                                                                       Supp. 2d

10 953,
10  953, 959 (N.D. Cal.
         959 (N.D.      2004) (applying
                   Cal. 2004)  (applying the
                                           the presumption
                                               presumption after
                                                           after determining that the
                                                                 determining that the plaintiffs'
                                                                                      plaintiffs’
11
11    claims arose, in
      claims arose, in part,
                       part, "in
                             “in the
                                 the field[]
                                     field[] of motor vehicle
                                             of motor vehicle safety[,]"
                                                              safety[,]” which
                                                                         which was
                                                                               was "an
                                                                                   “an area
                                                                                       area of
                                                                                            of

12
12    traditional State
      traditional       police power");
                  State police power”); Raymond
                                        Raymond Motor
                                                Motor Transp., Inc. v.
                                                      Tramp., Inc.     Rice, 434
                                                                    v. Rice,     U.S. 429,
                                                                             434 U.S. 429, 443
                                                                                           443

13
13    (1978) ("In
      (1978) (“In no
                  no field
                     field has
                           has this
                               this deference to state
                                    deference to state regulation
                                                       regulation been
                                                                  been greater than that
                                                                       greater than that of
                                                                                         of

14
14    highway safety
      highway        regulation.”). Because
              safety regulation."). Because the
                                            the presumption
                                                presumption applies,
                                                            applies, Defendants
                                                                     Defendants "bear[]
                                                                                “bear[] the
                                                                                        the
15
15    burden of
      burden of showing that it
                showing that it was
                                was Congress’
                                    Congress' ‘clear and manifest'
                                               clear and manifest’ intent
                                                                   intent to
                                                                          to preempt”
                                                                             preempt" GE
                                                                                      GE

16
16    Plaintiffs’ claims.
      Plaintiffs'         In re
                  claims. In re Toyota,
                                Toyota, 754 F. Supp.
                                        754 F.       2d at
                                               Supp. 2d at 1197
                                                           1197 (quoting
                                                                (quoting Chamberlan, 314 F.
                                                                         Chamberlan, 314 F.
17
17    Supp. 2d at
      Supp. 2d at 962).
                  962).

18
18          Defendants cannot
            Defendants        meet that
                       cannot meet that burden.
                                        burden. In
                                                In fact,
                                                   fact, Defendants
                                                         Defendants do not assert,
                                                                    do not assert, let
                                                                                   let alone
                                                                                       alone

19
19    identify, aa particular
      identify,    particular "field"
                              “field” that
                                      that they
                                           they contend federal law
                                                contend federal law occupies that would
                                                                    occupies that would preempt
                                                                                        preempt
20
20    GE Plaintiffs’ claims
      GE Plaintiffs'        and remedies.
                     claims and remedies. Nor
                                          Nor could they. Field
                                              could they. Field preemption
                                                                preemption applies
                                                                           applies where
                                                                                   where aa
21
21    federal regulatory
      federal regulatory scheme
                         scheme is
                                is "so
                                   “so pervasive
                                       pervasive as
                                                 as to
                                                    to make
                                                       make reasonable
                                                            reasonable the
                                                                       the inference
                                                                           inference that
                                                                                     that
22
22    Congress left no
      Congress left no room
                       room for
                            for the
                                the States to supplement
                                    States to            it.” Fid.
                                              supplement it." Fid. Fed.
                                                                   Fed. Say.
                                                                        Sav. &
                                                                             & Loan
                                                                               Loan Ass
                                                                                    Ass’n
                                                                                        'n v. de
                                                                                           v. de

23
23    la
      la Cuesta,
         Cuesta, 458 U.S. 141,
                 458 U.S. 141, 153
                               153 (1982)
                                   (1982) (citation
                                          (citation omitted). As many
                                                    omitted). As many courts have held,
                                                                      courts have held,
   “Congress in
24 "Congress
24           in the
                the Safety Act plainly
                    Safety Act plainly did not intend
                                       did not intend to
                                                      to occupy the field
                                                         occupy the field of motor vehicle
                                                                          of motor vehicle
25
25    safety[.]” Harris
      safety[.]" Harris v.
                        v. Great Dane Trailers,
                           Great Dane           Inc., 234
                                      Trailers, Inc., 234 F.3d
                                                          F.3d 398,
                                                               398, 400 (8th Cir.
                                                                    400 (8th      2020); see
                                                                             Cir. 2020); see also
                                                                                             also
26
26    Chamberlan, 314 F.
      Chamberlan, 314 F. Supp. 2d at
                         Supp. 2d at 960 (“Legislative history
                                     960 ("Legislative history shows that Congress
                                                               shows that Congress did not
                                                                                   did not

27
27    intend the
      intend the [Safety
                 [Safety Act]
                         Act] to
                              to be
                                 be aa pervasive
                                       pervasive scheme,
                                                 scheme, but
                                                         but rather
                                                             rather intentionally
                                                                    intentionally left
                                                                                  left certain areas
                                                                                       certain areas

28
28    of
      of safety regulation to
         safety regulation to the
                              the States.”); Lassen v.
                                  States."); Lassen    Nissan N.
                                                    v. Nissan N. Am.,
                                                                 Am., Inc.,
                                                                      Inc., 211
                                                                            211 F.
                                                                                F. Supp. 3d 1267,
                                                                                   Supp. 3d 1267,

                                                     99
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                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
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                                                                                         TO DISMISS
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 11 1276
    1276 (C.D.
         (C.D. Cal. 2016) (rejecting
               Cal. 2016) (rejecting automakers'
                                     automakers’ assertion
                                                 assertion that
                                                           that "federal
                                                                “federal law
                                                                         law has
                                                                             has occupied the
                                                                                 occupied the
 22   entire field of
      entire field    vehicle safety
                   of vehicle        regulation such
                              safety regulation      that field
                                                such that field preemption
                                                                preemption applies").
                                                                           applies”). Since field
                                                                                      Since field
 33 preemption
    preemption does not apply,
               does not apply, Defendants
                               Defendants must
                                          must prove that the
                                               prove that the GE Plaintiffs’ claims
                                                              GE Plaintiffs'        would
                                                                             claims would
 44 create an actual
    create an actual conflict with federal
                     conflict with federal law.
                                           law.
 55         3.
            3.     Defendants cannot
                   Defendants  cannot meet
                                       meet their
                                            their burden
                                                  burden of  showing aa conflict
                                                          of showing    conflict between
                                                                                 between
 66                GE
                   GE Plaintiffs’
                      Plaintiffs' claims and federal
                                  claims and         law.
                                             federal law.

 77         GE Plaintiffs’ claims
            GE Plaintiffs'        and the
                           claims and the remedies
                                          remedies they
                                                   they seek
                                                        seek do not conflict
                                                             do not          with federal
                                                                    conflict with federal law.
                                                                                          law.
 8 Conflict
 8          preemption arises
   Conflict preemption arises when
                              when the
                                   the conflicts between state
                                       conflicts between state and
                                                               and federal
                                                                   federal law
                                                                           law (1)
                                                                               (1) "make
                                                                                   “make it
                                                                                         it
 99 ‘impossible’  for private
    `impossible' for  private parties
                              parties to
                                      to comply   with both
                                         comply with   both state
                                                             state and
                                                                   and federal
                                                                       federal law"
                                                                               law” or (2) "prevent
                                                                                    or (2) “prevent
10 or
10     frustrate the
    or frustrate the accomplishment
                     accomplishment of  of aa federal
                                              federal objective.”
                                                      objective." Geier
                                                                  Geier v.  Am. Honda
                                                                         v. Am.  Honda Motor
                                                                                        Motor Co.,
                                                                                               Co.,
11
11    529 U.S. 861,
      529 U.S.      873 (2000).
               861, 873 (2000). Defendants
                                Defendants mischaracterize
                                           mischaracterize GE Plaintiffs’ claims
                                                           GE Plaintiffs'        as an
                                                                          claims as an
   “attempt to
12 "attempt
12          to use
               use state tort law
                   state tort law to
                                  to impose
                                     impose aa rigid
                                               rigid duty to use
                                                     duty to use engine immobilizers.” Motion
                                                                 engine immobilizers." Motion
   at 18.
13 at
13    18. Even
          Even if
               if that
                  that were
                       were true,
                            true, Defendants
                                  Defendants could meet their
                                             could meet their obligations under state
                                                              obligations under       law by
                                                                                state law by
   installing engine
14 installing
14                   immobilizers—and simultaneously
              engine immobilizers—and simultaneously satisfy FMVSS 114—which
                                                     satisfy FMVSS 114—which
   necessarily means
15 necessarily
15             means it
                     it would
                        would not
                              not be
                                  be "impossible"
                                     “impossible” to
                                                  to comply with both
                                                     comply with both sources
                                                                      sources of law. See
                                                                              of law. See
16
16    Gov’t
      Gov't of
            of U.S.
               U.S. Virgin Islands v.
                    Virgin Islands v. Takata Corp., 67
                                      Takata Corp., 67 V.I. 316, 434
                                                       V.I. 316,     (V.I. Super.
                                                                 434 (V.I.        Ct. 2017)
                                                                           Super. Ct. 2017)
   (“Even assuming,
17 ("Even
17        assuming, arguendo,
                    arguendo, the
                              the Court were to
                                  Court were to order abatement in
                                                order abatement in the
                                                                   the manner
                                                                       manner requested
                                                                              requested
   in the
18 in
18    the [c]omplaint,
          [c]omplaint, [defendants]
                       [defendants] fail
                                    fail to
                                         to explain how complying
                                            explain how           with both
                                                        complying with both an
                                                                            an Order by this
                                                                               Order by this
19
19    Court and one
      Court and     from the
                one from the NHTSA
                             NHTSA is
                                   is impossible[.]").
                                      impossible[.]”).
20
20          But GE
            But    Plaintiffs do
                GE Plaintiffs    not seek
                              do not      to impose
                                     seek to impose aa duty
                                                       duty on Defendants to
                                                            on Defendants to install
                                                                             install engine
                                                                                     engine
   immobilizers specifically.
21 immobilizers
21                            Rather, GE
                specifically. Rather,    Plaintiffs assert
                                      GE Plaintiffs assert aa duty to "act
                                                              duty to “act as
                                                                           as aa reasonably
                                                                                 reasonably
22
22    careful person would[,]"
      careful person would[,]” which
                               which includes
                                     includes taking
                                              taking all reasonable steps
                                                     all reasonable       necessary to
                                                                    steps necessary to prevent
                                                                                       prevent
   the manufacture
23 the
23     manufacture "of
                   “of aa product
                          product that
                                  that was
                                       was so
                                           so unreasonably
                                              unreasonably easy to steal."
                                                           easy to steal.” See,
                                                                           See, e.g.,
                                                                                e.g., CGEC
                                                                                      CGEC
24
24    ¶¶ 283, 333.
      ¶¶ 283, 333. GE Plaintiffs seek
                   GE Plaintiffs seek (among
                                      (among other things) abatement
                                             other things) abatement of the resulting
                                                                     of the resulting public
                                                                                      public
25
25    safety nuisance created
      safety nuisance         by Defendants'
                      created by Defendants’ failure
                                             failure to
                                                     to take
                                                        take such reasonable steps.
                                                             such reasonable        See id.
                                                                             steps. See id. ¶¶
                                                                                            ¶¶
   264, 325,
26 264,
26      325, 419,
             419, 429,
                  429, 473,
                       473, 511,
                            511, 535.
                                 535. GE Plaintiffs’ claims
                                      GE Plaintiffs'        and the
                                                     claims and the remedies
                                                                    remedies they
                                                                             they seek
                                                                                  seek do
                                                                                       do
   not frustrate
27 not
27     frustrate the
                 the purpose
                     purpose of any federal
                             of any federal law
                                            law because,
                                                because, unlike
                                                         unlike Geier, they do
                                                                Geier, they    not depend
                                                                            do not depend on
                                                                                          on
   using aa conflicting
28 using
28          conflicting or
                        or even
                           even aa single technology. 529
                                   single technology.     U.S. at
                                                      529 U.S. at 881 (petitioners’ claim
                                                                  881 (petitioners'       hinged
                                                                                    claim hinged

                                                   10
                                                   10
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                                                                                        TO DISMISS
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 11   on
      on establishing “a duty
         establishing "a      to install
                         duty to install an
                                         an airbag
                                            airbag when
                                                   when they
                                                        they manufactured
                                                             manufactured the
                                                                          the 1987
                                                                              1987 Honda
                                                                                   Honda
 22 Accord").
    Accord”).
 33         Even assuming
            Even assuming GE Plaintiffs’ claims
                          GE Plaintiffs'        would restrict
                                         claims would restrict aa manufacturer's
                                                                  manufacturer’s choice
                                                                                 choice
 44 regarding
    regarding the
              the use
                  use of anti-theft devices,
                      of anti-theft          Defendants’ conflict
                                    devices, Defendants'          preemption argument
                                                         conflict preemption argument still
                                                                                      still
 55 fails.
    fails. Following
           Following Geier, the Supreme
                     Geier, the Supreme Court
                                        Court clarified that aa "state
                                              clarified that    “state tort
                                                                       tort suit may restrict
                                                                            suit may restrict the
                                                                                              the
 66 manufacturer's
    manufacturer’s choice” where "it
                   choice" where “it does not ‘stan[d]
                                     does not          as an
                                              `stan[d] as an obstacle to the
                                                             obstacle to the accomplishment
                                                                             accomplishment
 77 .. .. .. of the full
             of the full purposes
                         purposes and
                                  and objectives
                                      objectives of federal law."'
                                                 of federal law.’” Williamson
                                                                   Williamson v. Mazda Motor
                                                                              v. Mazda Motor of
                                                                                             of
 8 Am.,
 8 Am., Inc.,
        Inc., 562 U.S. 323,
              562 U.S. 323, 336
                            336 (2011)
                                (2011) (alteration
                                       (alteration in
                                                   in original) (quoting Hines
                                                      original) (quoting Hines v. Davidowitz,
                                                                               v. Davidowitz,
 99 312
    312 U.S.
        U.S. 52,
             52, 67 (1941)). NHTSA
                 67 (1941)). NHTSA adopted
                                   adopted FMVSS
                                           FMVSS 114
                                                 114 because
                                                     because it
                                                             it recognized
                                                                recognized that
                                                                           that "a
                                                                                “a
10 reduction
10 reduction of the incidence
             of the incidence of auto theft
                              of auto theft would
                                            would make
                                                  make aa substantial
                                                          substantial contribution to motor
                                                                      contribution to motor
11 vehicle
11 vehicle safety."
           safety.” CGEC ¶ 66
                    CGEC ¶ 66 (citing
                              (citing FMVSS
                                      FMVSS 114;
                                            114; Theft Protection; Passenger
                                                 Theft Protection; Passenger Cars, 33
                                                                             Cars, 33
12 Fed.
12 Fed. Reg.
        Reg. 83,
             83, 6,471
                 6,471 (Apr.
                       (Apr. 27,
                             27, 1968)).
                                 1968)).
13
13          Defendants assert
            Defendants assert that
                              that "flexibility
                                   “flexibility and the innovation
                                                and the innovation it
                                                                   it drives have always
                                                                      drives have        been aa
                                                                                  always been
14
14    ‘significant
      `significant objective’
                   objective' of NHTSA’s theft-prevention
                              of NHTSA's theft-prevention regulation."
                                                          regulation.” Motion
                                                                       Motion at
                                                                              at 21.
                                                                                 21. But
                                                                                     But
15 Defendants
15 Defendants were
              were not
                   not sued because they
                       sued because they installed
                                         installed innovative
                                                   innovative anti-theft technology that
                                                              anti-theft technology that
16 failed;
16 failed; they
           they were
                were sued because they
                     sued because they refused
                                       refused to
                                               to install
                                                  install innovative
                                                          innovative anti-theft
                                                                     anti-theft technology.
                                                                                technology.
17 For
17 For while
       while every
             every other major car
                   other major     manufacturer in
                               car manufacturer in the
                                                   the United
                                                       United States has, for
                                                              States has, for decades,
                                                                              decades,
18 implemented
18 implemented       innovative
                     innovative    anti-theft
                                   anti-theft   measures (including
                                                measures (including     engine
                                                                        engine    immobilizers),
                                                                                  immobilizers),
19 Defendants,
19 Defendants, in
               in the
                  the vast
                      vast majority
                           majority of their vehicles,
                                    of their vehicles, did not. Put
                                                       did not. Put more
                                                                    more bluntly,
                                                                         bluntly, Defendants
                                                                                  Defendants
20 have
20 have not
        not innovated
            innovated at
                      at all,
                         all, such
                              such as
                                   as by
                                      by adopting
                                         adopting some
                                                  some equivalent
                                                       equivalent or improved anti-theft
                                                                  or improved anti-theft
21 measure;
21 measure; rather,
            rather, they
                    they intentionally
                         intentionally decided to lag
                                       decided to lag behind
                                                      behind the
                                                             the rest
                                                                 rest of the industry.
                                                                      of the industry. This
                                                                                       This
22
22    choice left their
      choice left their cars unreasonably prone
                        cars unreasonably prone to
                                                to theft
                                                   theft in
                                                         in the
                                                            the same
                                                                same manner
                                                                     manner as
                                                                            as cars twenty or
                                                                               cars twenty or
23 thirty
23 thirty years
          years older—the same manner
                older—the same manner of
                                      of theft
                                         theft that
                                               that the
                                                    the rest
                                                        rest of
                                                             of the
                                                                the industry
                                                                    industry prevents
                                                                             prevents via
                                                                                      via
24 immobilizers
24 immobilizers (as
                (as do Defendants, in
                    do Defendants, in certain higher-end vehicles
                                      certain higher-end vehicles and
                                                                  and in
                                                                      in markets
                                                                         markets outside the
                                                                                 outside the
25 United
25 United States). Defendants intentionally
          States). Defendants intentionally prioritized
                                            prioritized profits
                                                        profits over
                                                                over safety.
                                                                     safety. The
                                                                             The GE Plaintiffs’
                                                                                 GE Plaintiffs'
26
26    claims advance, rather
      claims advance, rather than
                             than frustrate,
                                  frustrate, the
                                             the primary
                                                 primary goals
                                                         goals of federal safety
                                                               of federal safety regulations—
                                                                                 regulations—
27 namely,
27 namely, to
           to prevent
              prevent vehicle
                      vehicle theft
                              theft and
                                    and improve
                                        improve public
                                                public safety.
                                                       safety. Conflict preemption therefore
                                                               Conflict preemption therefore
28 does
28      not apply.
   does not apply.
                                                   11
                                                   11
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11         4.
            4.     NHTSA’s
                   NHTSA's response
                              response to
                                       to multiple state attorneys
                                          multiple state attorneys general
                                                                   general does
                                                                           does nothing
                                                                                nothing to
                                                                                        to
 22                alter the
                   alter the preemption  analysis.
                             preemption analysis.

 33         In response
            In response to
                        to aa letter
                              letter sent by multiple
                                     sent by multiple states'
                                                      states’ attorneys
                                                              attorneys general regarding the
                                                                        general regarding the Kia
                                                                                              Kia
    and Hyundai
 44 and Hyundai theft
                theft crisis, NHTSA stated
                      crisis, NHTSA        that FMVSS
                                    stated that FMVSS 114
                                                      114 "does
                                                          “does not
                                                                not require
                                                                    require an
                                                                            an engine
                                                                               engine
    immobilizer.” Dkt
 55 immobilizer." Dkt No.
                      No. 220-3
                          220-3 at
                                at 33 (citing
                                      (citing 49
                                              49 C.F.R.
                                                 C.F.R. §§ 571.114). NHTSA’s letter
                                                           571.114). NHTSA's letter should
                                                                                    should
    have no
 66 have no impact
            impact on this Court's
                   on this Court’s preemption
                                   preemption analysis.
                                              analysis. First,
                                                        First, as
                                                               as stated above, GE
                                                                  stated above,    Plaintiffs’
                                                                                GE Plaintiffs'
 77 claims
    claims do not require
           do not require Defendants
                          Defendants to
                                     to install
                                        install engine immobilizers, specifically,
                                                engine immobilizers, specifically, but
                                                                                   but instead
                                                                                       instead
 8 seek
 8      use of
   seek use    reasonable anti-theft
            of reasonable anti-theft measures.
                                     measures. See
                                               See supra
                                                   supra Sections IV.A.1, .3.
                                                         Sections IV.A.1, .3. Second, “state
                                                                              Second, "state
    tort law
 99 tort law does not conflict
             does not          with aa federal
                      conflict with    federal ‘minimum standard’ merely
                                               `minimum standard' merely because
                                                                         because state
                                                                                 state law
                                                                                       law
   imposes aa more
10 imposes
10            more stringent requirement.” Williamson,
                   stringent requirement." Williamson, 562 U.S. at
                                                       562 U.S. at 336
                                                                   336 (quoting
                                                                       (quoting United
                                                                                United
11
11    States Brief in
      States Brief in Geier at 21).
                      Geier at 21). As
                                    As "the
                                       “the Solicitor
                                            Solicitor General
                                                      General explained [in Geier,]
                                                              explained [in Geier,] aa standard
                                                                                       standard
12
12    giving manufacturers ‘multiple
      giving manufacturers `multiple options for the
                                     options for the design
                                                     design of’
                                                            of' aa device would not
                                                                   device would not pre-empt
                                                                                    pre-empt aa
13
13    suit
      suit claiming that aa manufacturer
           claiming that    manufacturer should have chosen
                                         should have chosen one particular option,
                                                            one particular         where ‘the
                                                                           option, where `the
14
14    Secretary
      Secretary did not determine
                did not           that the
                        determine that the availability
                                           availability of
                                                        of options was necessary
                                                           options was necessary to
                                                                                 to promote
                                                                                    promote
   safety.’” Id.
15 safety.'
15           Id. (quoting
                 (quoting United
                          United States Brief in
                                 States Brief in Geier at 22).
                                                 Geier at 22). NHTSA
                                                               NHTSA has
                                                                     has recognized
                                                                         recognized the
                                                                                    the
16
16    effectiveness
      effectiveness of
                    of engine immobilizers by
                       engine immobilizers by granting
                                              granting exemptions under 49
                                                       exemptions under 49 C.F.R.
                                                                           C.F.R. §§ 543 from
                                                                                     543 from
   the parts-marking
17 the
17     parts-marking requirements
                     requirements in
                                  in 49
                                     49 C.F.R
                                        C.F.R §§ 541.5 for vehicles
                                                 541.5 for vehicles that
                                                                    that are
                                                                         are equipped with
                                                                             equipped with
18 engine
18        immobilizers. CGEC
   engine immobilizers.      ¶ 79
                        CGEC ¶    n.39. Kia
                               79 n.39. Kia and
                                            and Hyundai
                                                Hyundai are
                                                        are aware
                                                            aware of
                                                                  of this
                                                                     this policy
                                                                          policy and
                                                                                 and have
                                                                                     have
   availed themselves
19 availed
19         themselves of it for
                      of it for their
                                their immobilizer-equipped
                                      immobilizer-equipped vehicles.
                                                           vehicles. Id.
                                                                     Id.
20
20          Defendants argue
            Defendants       that "flexibility
                       argue that “flexibility is
                                               is aa significant
                                                     significant objective
                                                                 objective of NHTSA’s anti-theft
                                                                           of NHTSA's anti-theft
   regulation.” Motion
21 regulation."
21              Motion at
                       at 19.
                          19. But
                              But Defendants
                                  Defendants fail
                                             fail to
                                                  to show that such
                                                     show that      flexibility would
                                                               such flexibility would conflict
                                                                                      conflict
   with or
22 with
22         make it
        or make it impossible
                   impossible to
                              to comply with the
                                 comply with the overall
                                                 overall goal
                                                         goal of promoting safety.
                                                              of promoting safety. The
                                                                                   The
   flexibility provided
23 flexibility
23             provided by
                        by FMVSS
                           FMVSS 114
                                 114 is
                                     is purportedly
                                        purportedly tied
                                                    tied to
                                                         to the
                                                            the need
                                                                need to
                                                                     to permit
                                                                        permit "new
                                                                               “new designs
                                                                                    designs
   and innovations."
24 and
24     innovations.” 55 Fed. Reg.
                     55 Fed. Reg. 21,869,
                                  21,869, 21,871
                                          21,871 (May
                                                 (May 30,
                                                      30, 1990).
                                                          1990). Defendants
                                                                 Defendants here
                                                                            here are
                                                                                 are not
                                                                                     not
   innovating. Instead,
25 innovating.
25             Instead, Defendants
                        Defendants attempt
                                   attempt to
                                           to wield
                                              wield preemption
                                                    preemption as
                                                               as aa shield
                                                                     shield from
                                                                            from
   accountability where
26 accountability
26                where their
                        their very
                              very failure
                                   failure to
                                           to "innovate"—or
                                              “innovate”—or even keep up
                                                            even keep up with
                                                                         with the
                                                                              the rest
                                                                                  rest of the
                                                                                       of the
   industry, and
27 industry,
27           and their
                 their own practices in
                       own practices in higher-end
                                        higher-end vehicles
                                                   vehicles and
                                                            and other markets—gave rise
                                                                other markets—gave rise to
                                                                                        to
28 aa public
28    public safety
             safety crisis. Moreover, Defendants'
                    crisis. Moreover, Defendants’ compliance with federal
                                                  compliance with         regulations does
                                                                  federal regulations does
                                                  12
                                                  12
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs        CORRECTED GOV’T ENTITIES'
                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                  OPPOSITION TO MOTION TO
                                                                             TO MOTION    DISMISS
                                                                                       TO DISMISS
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 11 not
    not foreclose
        foreclose relief.
                  relief. See,
                          See, e.g.,
                               e.g., City
                                     City of
                                          of Gary,
                                             Gary, 801 N.E.2d at
                                                   801 N.E.2d at 1231
                                                                 1231 (An
                                                                      (An unreasonable
                                                                          unreasonable
 22 interference
    interference "even
                 “even if
                       if lawful,
                          lawful, can be expected
                                  can be          to impose
                                         expected to impose such
                                                            such costs
                                                                 costs or inconvenience on
                                                                       or inconvenience on
 33   others that those
      others that those costs should be
                        costs should be borne
                                        borne by
                                              by the
                                                 the generator
                                                     generator of the activity,
                                                               of the activity, or the activity
                                                                                or the activity must
                                                                                                must
 44 be
    be stopped
       stopped or modified”); Lopez
               or modified"); Lopez v.
                                    v. Three Rivers Elec.
                                       Three Rivers Elec. Coop., Inc., 26
                                                          Coop., Inc., 26 S.W.3d 151, 155
                                                                          S.W.3d 151, 155
 55 (Mo.
    (Mo. 2000)
         2000) (compliance
               (compliance with
                           with federal
                                federal aviation
                                        aviation regulations
                                                 regulations did not foreclose
                                                             did not foreclose duty to
                                                                               duty to
 66 exercise
    exercise ordinary
             ordinary care based on
                      care based    foreseeability of
                                 on foreseeability    harm); see
                                                   of harm); see also
                                                                 also infra
                                                                      infra Sections
                                                                            Sections IV.B,
                                                                                     IV.B, C.
                                                                                           C.
 77 For
    For all
        all of these reasons,
            of these reasons, the
                              the Court should reject
                                  Court should reject Defendants'
                                                      Defendants’ preemption
                                                                  preemption arguments.
                                                                             arguments.
 8 B.
 8 B.        Foreseeable Downstream Acts
             Foreseeable Downstream Acts of
                                         of Third
                                            Third Parties Do Not
                                                  Parties Do Not Sever the Causal
                                                                 Sever the Causal
 99          Chain.
             Chain.

10
10           Defendants argue
             Defendants argue that
                              that intervening
                                   intervening acts
                                               acts by
                                                    by third
                                                       third parties
                                                             parties break
                                                                     break the
                                                                           the causal
                                                                               causal chain, as aa
                                                                                      chain, as
   matter of
11 matter
11           law and
          of law and as
                     as aa factual matter.3 Motion
                           factual matter.' Motion at
                                                   at 21-27.
                                                      21-27. Defendants'
                                                             Defendants’ arguments
                                                                         arguments should be
                                                                                   should be
   rejected for
12 rejected
12          for three
                three reasons.
                      reasons. First,
                               First, under
                                      under the
                                            the common law of
                                                common law    all seven
                                                           of all seven states
                                                                        states at
                                                                               at issue,
                                                                                  issue,
   foreseeable acts
13 foreseeable
13             acts (like
                    (like the
                          the theft
                              theft of an easy-to-steal
                                    of an easy-to-steal car) by aa third
                                                        car) by    third party
                                                                         party do not constitute
                                                                               do not constitute aa
14
14    superseding
      superseding cause that would
                  cause that would cut
                                   cut off the causal
                                       off the causal chain.
                                                      chain. The
                                                             The Complaint adequately alleges
                                                                 Complaint adequately alleges
   that the
15 that
15      the wave
            wave of thefts was
                 of thefts was reasonably
                               reasonably foreseeable
                                          foreseeable to
                                                      to Defendants,
                                                         Defendants, and
                                                                     and Defendants
                                                                         Defendants
   themselves have
16 themselves
16            have argued
                   argued before
                          before this
                                 this Court that these
                                      Court that these thefts
                                                       thefts were
                                                              were not
                                                                   not only fully foreseeable
                                                                       only fully foreseeable
   but known
17 but
17     known to
             to both
                both Defendants
                     Defendants and
                                and the
                                    the Subrogation Plaintiffs. Subrogation
                                        Subrogation Plaintiffs.             Motion at
                                                                Subrogation Motion at 27.
                                                                                      27.
18 Second,
18         as aa general
   Second, as            matter, whether
                 general matter, whether an
                                         an act
                                            act constitutes
                                                constitutes aa superseding
                                                               superseding cause is aa factual
                                                                           cause is    factual
   inquiry not
19 inquiry
19         not suitable for resolution
               suitable for resolution on
                                       on aa motion
                                             motion to
                                                    to dismiss. Defendants rely
                                                       dismiss. Defendants rely on
                                                                                on inapposite
                                                                                   inapposite
20
20    cases to argue
      cases to argue that,
                     that, as
                           as aa matter
                                 matter of law, vehicle
                                        of law, vehicle theft
                                                        theft by
                                                              by aa third
                                                                    third party is always
                                                                          party is always aa superseding
                                                                                             superseding
21
21    cause, but where
      cause, but where the
                       the subsequent
                           subsequent criminal acts of
                                      criminal acts of aa third
                                                          third party
                                                                party are
                                                                      are foreseeable
                                                                          foreseeable to
                                                                                      to
   Defendants, those
22 Defendants,
22             those acts
                     acts do not sever
                          do not       the causal
                                 sever the causal chain.
                                                  chain.
23
23
   3
     Defendants do
24 ' Defendants
24                  not argue,
                 do not  argue, but
                                  but assert
                                       assert in
                                              in the
                                                 the background
                                                      background section,
                                                                    section, that
                                                                               that GE  Plaintiffs’
                                                                                    GE Plaintiffs'
     policing and
     policing and prosecution
                  prosecution policies
                                  policies "contributed
                                            “contributed toto the
                                                              the craze
                                                                  craze of   thefts.” Motion
                                                                         of thefts."  Motion atat 12.
                                                                                                  12.
25 Defendants'
25   Defendants’ assertion
                  assertion is
                             is as
                                 as baseless
                                    baseless as
                                              as it
                                                 it is
                                                    is tasteless.
                                                       tasteless. GE   Plaintiffs have
                                                                  GE Plaintiffs    have diverted
                                                                                         diverted
26 considerable
26                resources to
     considerable resources    to this
                                  this crime   wave. That
                                       crime wave.           rates for
                                                       That rates  for arrests
                                                                       arrests and
                                                                                and recidivism
                                                                                     recidivism have
                                                                                                 have
     not kept
     not kept pace
              pace with
                   with the
                         the surge   in crime—as
                              surge in                Defendants assert,
                                         crime—as Defendants        assert, id.—is   indicative at
                                                                            id.—is indicative    at most
                                                                                                    most
27 of
27      how Defendants'
     of how  Defendants’ cost    shifting has
                           cost shifting   has burdened
                                                burdened GE     Plaintiffs’ scarce
                                                            GE Plaintiffs'   scarce resources.
                                                                                     resources.
     Regardless, this
28 Regardless,
28               this is
                      is not
                         not aa basis
                                basis to
                                       to dismiss   the Complaint
                                          dismiss the   Complaint at at this
                                                                        this stage.  See infra
                                                                              stage. See  infra Section
                                                                                                Section
     IV.B.
     IV.B.
                                                      13
                                                      13
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs            CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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 1
 1         As Defendants
           As Defendants accurately
                         accurately state,
                                    state, "[t]he
                                           “[t]he intervening
                                                  intervening act
                                                              act or
                                                                  or omission
                                                                     omission of
                                                                              of aa third
                                                                                    third party
                                                                                          party
22   will not
     will not operate to defeat
              operate to        recovery from
                         defeat recovery from the
                                              the defendant if the
                                                  defendant if the act
                                                                   act or
                                                                       or omission would
                                                                          omission would
3
3    necessarily, or
     necessarily,    might reasonably,
                  or might reasonably, have
                                       have been
                                            been foreseen
                                                 foreseen by
                                                          by the
                                                             the defendant.” Id. at
                                                                 defendant." Id. at 22-23
                                                                                    22-23
 44 (emphasis
    (emphasis added)
              added) (quoting
                     (quoting Schooley
                              Schooley v. Ingersoll Rand,
                                       v. Ingersoll Rand, Inc.,
                                                          Inc., 631
                                                                631 N.E.2d
                                                                    N.E.2d 932,
                                                                           932, 937 (Ind. Ct.
                                                                                937 (Ind. Ct.
 55 App.
    App. 1994)).
         1994)). See
                 See also
                     also Kiriakos
                          Kiriakos v. Phillips, 139
                                   v. Phillips, 139 A.3d
                                                    A.3d 1006,
                                                         1006, 1026
                                                               1026 (Md.
                                                                    (Md. 2016);
                                                                         2016); Christiansen
                                                                                Christiansen
 66 v. St. Louis
    v. St. Louis Pub.
                 Pub. Serv.
                      Serv. Co.,
                            Co., 62
                                 62 S.W.2d
                                    S.W.2d 828,
                                           828, 831 (Mo. 1933);
                                                831 (Mo. 1933); Bell
                                                                Bell v. Bd. of
                                                                     v. Bd.    Educ. of
                                                                            of Educ.    N.Y.,
                                                                                     of N.Y.,
 77 687 N.E.2d 1325,
    687 N.E.2d 1325, 1326
                     1326 (N.Y.
                          (N.Y. 1997);
                                1997); Fed.
                                       Fed. Steel
                                            Steel &
                                                  & Wire
                                                    Wire Corp.
                                                         Corp. v. Ruhlin Constr.
                                                               v. Ruhlin Constr. Co.,
                                                                                 Co., 543
                                                                                      543
 8 N.E.2d
 8 N.E.2d 769,
          769, 776 (Ohio 1989);
               776 (Ohio 1989); City
                                City of Seattle v.
                                     of Seattle    Monsanto Co.,
                                                v. Monsanto      237 F.
                                                            Co., 237 F. Supp. 3d 1096,
                                                                        Supp. 3d 1096, 1107
                                                                                       1107
 99 (W.D.
    (W.D. Wash. 2017); Stewart
          Wash. 2017); Stewart v.
                               v. Wulf, 271 N.W.2d
                                  Wulf, 271 N.W.2d 79, 88 (Wis.
                                                   79, 88 (Wis. 1978).
                                                                1978). Here,
                                                                       Here, the
                                                                             the GE
                                                                                 GE
10
10   Plaintiffs have
     Plaintiffs have adequately
                     adequately alleged
                                alleged that
                                        that the
                                             the harms
                                                 harms at issue were
                                                       at issue were reasonably
                                                                     reasonably foreseeable to
                                                                                foreseeable to
11
11   Defendants. The
     Defendants. The Complaint alleges that,
                     Complaint alleges that, within
                                             within the
                                                    the automotive industry, it
                                                        automotive industry, it was
                                                                                was widely
                                                                                    widely
12
12   known that
     known that immobilizers
                immobilizers were
                             were highly
                                  highly effective at reducing
                                         effective at reducing vehicle
                                                               vehicle theft,
                                                                       theft, especially for
                                                                              especially for
13
13   adolescents, and
     adolescents, and that
                      that before
                           before immobilizers
                                  immobilizers were
                                               were introduced
                                                    introduced in
                                                               in the
                                                                  the 1990s,
                                                                      1990s, widespread
                                                                             widespread "hot-
                                                                                        “hot-
14
14   wiring” of
     wiring" of cars was aa threat
                cars was    threat to
                                   to public
                                      public safety.
                                             safety. CGEC
                                                     CGEC ¶¶
                                                          ¶¶ 68-75. By the
                                                             68-75. By the time
                                                                           time Defendants
                                                                                Defendants
15
15   began distributing
     began distributing cars without immobilizers
                        cars without immobilizers in
                                                  in 2011,
                                                     2011, over
                                                           over aa decade
                                                                   decade of
                                                                          of data
                                                                             data demonstrated
                                                                                  demonstrated
16
16   the effectiveness
     the effectiveness of immobilizers in
                       of immobilizers in reducing
                                          reducing crime and increasing
                                                   crime and increasing public
                                                                        public safety. Id. ¶¶ 74.
                                                                               safety. Id.    74.
17
17   Defendants knew
     Defendants knew or had reason
                     or had reason to
                                   to know the consequences
                                      know the              of distributing
                                               consequences of distributing cars that are
                                                                            cars that are
18
18   unreasonably easy
     unreasonably      to steal.
                  easy to steal.
19
19         Defendants also
           Defendants also argue that Plaintiffs
                           argue that Plaintiffs have
                                                 have not
                                                      not alleged that Defendants
                                                          alleged that Defendants were
                                                                                  were aware
                                                                                       aware
20
20   of how susceptible
     of how             their cars
            susceptible their      were to
                              cars were to theft,
                                           theft, or that their
                                                  or that their cars were being
                                                                cars were being stolen at high
                                                                                stolen at high rates
                                                                                               rates
21
21   compared to other
     compared to       vehicles, prior
                 other vehicles, prior to
                                       to 2020.
                                          2020. Motion
                                                Motion at
                                                       at 8.
                                                          8. That is not
                                                             That is not so. See CGEC
                                                                         so. See CGEC ¶¶
                                                                                      ¶¶ 78-
                                                                                         78-
22
22   80. As
     80. As Plaintiffs
            Plaintiffs allege,
                       allege, "[a]s
                               “[a]s would-be
                                     would-be car thieves learned
                                              car thieves learned of this susceptibility,
                                                                  of this                 the
                                                                          susceptibility, the
23
23   incidence of
     incidence    theft for
               of theft for Susceptible
                            Susceptible Vehicles increased, relative
                                        Vehicles increased, relative to
                                                                     to other models, from
                                                                        other models, from 2015
                                                                                           2015
24
24   to 2020."
     to 2020.” Id.
               Id. ¶¶ 83.
                      83. These and other
                          These and       allegations established
                                    other allegations             throughout the
                                                      established throughout the Complaint,
                                                                                 Complaint, id.
                                                                                            id.
25
25   ¶¶
     ¶¶ 73-80,
        73-80, support that Defendants
               support that Defendants had
                                       had reason
                                           reason to
                                                  to know, prior to
                                                     know, prior to 2020,
                                                                    2020, that
                                                                          that their
                                                                               their vehicles
                                                                                     vehicles
26
26   were highly
     were highly susceptible to theft.
                 susceptible to theft. And
                                       And while
                                           while the
                                                 the specific
                                                     specific modality
                                                              modality responsible
                                                                       responsible for
                                                                                   for
27
27   proliferating how
     proliferating how to
                       to steal these cars
                          steal these      may not
                                      cars may not have
                                                   have been
                                                        been known,
                                                             known, it
                                                                    it was
                                                                       was certainly foreseeable
                                                                           certainly foreseeable
28
28   that word
     that word on how to
               on how to steal the cars
                         steal the      would get
                                   cars would get out.
                                                  out.
                                                   14
                                                   14
      NO. 8:22-
      No.      ML-03052-JVS-KES
          8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11            Moreover, the
               Moreover, the susceptible nature of
                             susceptible nature    their vehicles
                                                of their vehicles and
                                                                  and the
                                                                      the resulting
                                                                          resulting risk
                                                                                    risk of theft was
                                                                                         of theft was
 22 not
    not only  foreseeable but
        only foreseeable  but known,
                              known, both
                                     both to
                                          to Defendants
                                             Defendants and,
                                                        and, according
                                                             according to
                                                                       to Defendants,
                                                                          Defendants, to
                                                                                      to the
                                                                                         the
 33 insurers.
    insurers. Subrogation Motion at
              Subrogation Motion    27 ("Moreover,
                                 at 27 (“Moreover, the
                                                   the Subrogation Plaintiffs received
                                                       Subrogation Plaintiffs received
 44 premiums
    premiums to
             to cover the well
                cover the well known problem of
                               known problem    automobile theft
                                             of automobile theft and were in
                                                                 and were in aa position to
                                                                                position to
 55 avoid
    avoid their
          their losses
                losses [by
                       [by charging higher premiums].").
                           charging higher premiums].”). Defendants
                                                         Defendants further
                                                                    further cite “‘publicly
                                                                            cite "'publicly
 66 available
    available information,'
              information,’ including
                            including ‘insurance
                                      `insurance claims’
                                                 claims' data, which, they
                                                         data, which, they argue,
                                                                           argue, makes
                                                                                  makes clear
                                                                                        clear
 77 that
    that theft
         theft rates
               rates were
                     were widely
                          widely available
                                 available and
                                           and widely
                                               widely available
                                                      available for years.” Id.
                                                                for years." Id. Defendants
                                                                                Defendants knew
                                                                                           knew
 8 that
 8 that aa car without an
           car without an immobilizer
                          immobilizer was
                                      was aa sitting
                                             sitting duck—so much so
                                                     duck—so much so that
                                                                     that they
                                                                          they argue
                                                                               argue the
                                                                                     the
 99 Subrogation Plaintiffs should
    Subrogation Plaintiffs should have
                                  have been
                                       been able
                                            able to
                                                 to "adjust
                                                    “adjust premiums
                                                            premiums based
                                                                     based on the presence
                                                                           on the presence
10
10    or absence of
      or absence    an immobilizer"
                 of an immobilizer” to
                                    to cover losses associated
                                       cover losses associated with
                                                               with increased
                                                                    increased thefts.
                                                                              thefts.
11
11    Subrogation Motion at
      Subrogation Motion at 27.
                            27.
12
12             In any
               In any event, whether an
                      event, whether an intervening
                                        intervening act
                                                    act by
                                                        by aa third
                                                              third party
                                                                    party rises
                                                                          rises to
                                                                                to the
                                                                                   the level
                                                                                       level of
                                                                                             of
13
13    superseding
      superseding cause is generally
                  cause is generally aa question for the
                                        question for the trier
                                                         trier of fact, unless
                                                               of fact, unless reasonable
                                                                               reasonable minds
                                                                                          minds
14
14    could not differ
      could not        as to
                differ as to the
                             the foreseeability
                                 foreseeability of the act.
                                                of the act. State
                                                            State v. Frahm, 444
                                                                  v. Frahm,     P.3d 595,
                                                                            444 P.3d 595, 601
                                                                                          601
15 (Wash.
15 (Wash. 2019);
          2019); see
                 see also
                     also Pittway
                          Pittway Corp.
                                  Corp. v.
                                        v. Collins,
                                           Collins, 973 A.2d 771,
                                                    973 A.2d 771, 792 (Md. Ct.
                                                                  792 (Md.     App. 2009)
                                                                           Ct. App. 2009)
16 (same);
16 (same); Derdiarian
           Derdiarian v. Felix Contracting
                      v. Felix             Corp., 414
                               Contracting Corp.,     N.E.2d 666,
                                                  414 N.E.2d 666, 670
                                                                  670 (N.Y.
                                                                      (N.Y. 1980)
                                                                            1980)
17 ("Because
17 (“Because questions
             questions concerning what is
                       concerning what is foreseeable
                                          foreseeable and
                                                      and what
                                                          what is
                                                               is normal
                                                                  normal may
                                                                         may be
                                                                             be the
                                                                                the subject
                                                                                    subject
18 of
18    varying inferences,
   of varying inferences, as
                          as is
                             is the
                                the question
                                    question of negligence itself,
                                             of negligence itself, these
                                                                   these issues
                                                                         issues generally are for
                                                                                generally are for
19 the
19 the fact
       fact finder
            finder to
                   to resolve.").
                      resolve.”).
20
20             Defendants nonetheless
               Defendants nonetheless argue
                                      argue that
                                            that the
                                                 the conduct
                                                     conduct of
                                                             of car thieves is
                                                                car thieves is unforeseeable
                                                                               unforeseeable as
                                                                                             as aa
21 matter
21 matter of law, citing
          of law, citing cases which they
                         cases which they contend
                                          contend establish
                                                  establish aa "black-letter
                                                               “black-letter rule"
                                                                             rule” that
                                                                                   that aa
22
22    defendant “is not
      defendant "is not responsible
                        responsible for
                                    for third-party
                                        third-party harm
                                                    harm caused by the
                                                         caused by the conduct
                                                                       conduct of
                                                                               of aa car thief.”
                                                                                     car thief."
23 Motion
23 Motion at
          at 24-25.
             24-25. Yet the cases
                    Yet the       Defendants rely
                            cases Defendants rely upon
                                                  upon are
                                                       are inapposite,
                                                           inapposite, as
                                                                       as they
                                                                          they each involve
                                                                               each involve
24 individual
24 individual car
              car owners
                  owners or
                         or drivers leaving keys
                            drivers leaving keys in
                                                 in aa parked
                                                       parked car, leaving aa taxicab
                                                              car, leaving    taxicab running,
                                                                                      running,
25
25    or leaving aa car
      or leaving        unlocked. The
                    car unlocked.     liability of
                                  The liability    individual car
                                                of individual car owners
                                                                  owners in
                                                                         in fact
                                                                            fact patterns
                                                                                 patterns such as
                                                                                          such as
26 these
26 these has
         has been
             been limited
                  limited due to considerations
                          due to considerations of        policy4—considerations which
                                                   public policy4—considerations
                                                of public                        which are
                                                                                       are
27
27
      4
28
28        See, e.g., Pittway Corp. v. Collins, 973 A.2d 771, 787-88 (Md. Ct. App. 2009) (“Legal
      4 See, e.g., Pittway Corp. v. Collins, 973 A.2d 771, 787-88 (Md. Ct. App. 2009) ("Legal
          causation  is aa policy-oriented
          causation is     policy-oriented doctrine
                                           doctrine designed to be
                                                    designed to be aa method
                                                                      method for
                                                                             for limiting
                                                                                 limiting liability
                                                                                          liability
                                                     15
                                                     15
          NO. 8:22-
          No.      ML-03052-JVS-KES
              8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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 11 markedly
    markedly different when the
             different when the defendants are manufacturers
                                defendants are manufacturers selling millions of
                                                             selling millions of cars without
                                                                                 cars without
 22 anti-theft
    anti-theft technology,
               technology, rather
                           rather than
                                  than individual
                                       individual car
                                                  car owners inadvertently leaving
                                                      owners inadvertently leaving their
                                                                                   their keys
                                                                                         keys in
                                                                                              in
 33 their
    their vehicles.
          vehicles. And
                    And while
                        while these
                              these cases are not
                                    cases are not on all fours
                                                  on all fours with
                                                               with the
                                                                    the GE Plaintiffs’ negligence
                                                                        GE Plaintiffs' negligence
 44 claims, they are
    claims, they are even less applicable
                     even less applicable to
                                          to the
                                             the GE Plaintiffs’ public
                                                 GE Plaintiffs' public nuisance
                                                                       nuisance claims. See infra
                                                                                claims. See infra
 55 Section IV.C.2 (discussing
    Section IV.C.2 (discussing causation standard for
                               causation standard for public
                                                      public nuisance).
                                                             nuisance).
 66         The
            The claims that have
                claims that have survived motions to
                                 survived motions to dismiss in nationwide
                                                     dismiss in nationwide multidistrict
                                                                           multidistrict
 77 litigation
    litigation against
               against the
                       the manufacturers
                           manufacturers of
                                         of opioids and electronic
                                            opioids and electronic cigarettes
                                                                   cigarettes are more
                                                                              are more
 8 analogous.
 8 analogous. In those cases,
              In those        as well,
                       cases, as well, an intermediary criminal
                                       an intermediary criminal act
                                                                act occurred—either the
                                                                    occurred—either the
 99 diversion
    diversion of the controlled
              of the controlled substance
                                substance or the sale
                                          or the sale of nicotine products
                                                      of nicotine          to minors.
                                                                  products to minors. Yet, in
                                                                                      Yet, in
10
10    Ohio,
      Ohio, Judge Polster held
            Judge Polster held that
                               that the
                                    the intervening
                                        intervening criminal
                                                    criminal conduct
                                                             conduct did not sever
                                                                     did not sever proximate
                                                                                   proximate
11
11    causation as "a
      causation as “a jury
                      jury could reasonably conclude
                           could reasonably conclude diversion is aa foreseeable
                                                     diversion is    foreseeable consequence
                                                                                 consequence of
                                                                                             of
12 the
12 the alleged
       alleged misconduct."
               misconduct.” In
                            In re Nat’l Prescription
                               re Nat'l Prescription Opiate Litig., No.
                                                     Opiate Litig., No. 1:17-md-2804,
                                                                        1:17-md-2804, 2019
                                                                                      2019
13
13    WL
      WL 4178617, at *4
         4178617, at    n.8 (N.D.
                     *4 n.8 (N.D. Ohio
                                  Ohio Sept. 3, 2019).
                                       Sept. 3, 2019). Likewise,
                                                       Likewise, in
                                                                 in the
                                                                    the JUUL litigation, Judge
                                                                        JUUL litigation, Judge
14
14    Orrick held that
      Orrick held that even if "students
                       even if “students deliberately using JUUL
                                         deliberately using      products at
                                                            JUUL products at schools
                                                                             schools were
                                                                                     were
15 intervening
15 intervening acts
               acts to
                    to the
                       the government
                           government entities’ injuries, those
                                      entities' injuries, those intervening
                                                                intervening acts
                                                                            acts were
                                                                                 were
16 reasonably
16 reasonably foreseeable"
              foreseeable” and
                           and thus
                               thus did not undermine
                                    did not undermine proximate
                                                      proximate causation. In re
                                                                causation. In    JUUL
                                                                              re JUUL
17 Labs,
17 Labs, Inc.,
         Inc., Mktg.,
               Mktg., Sales
                      Sales Pracs.,
                            Pracs., &
                                    & Prod.
                                      Prod. Liab.
                                            Liab. Litig.,
                                                  Litig., 497 F. Supp.
                                                          497 F.       3d 552,
                                                                 Supp. 3d 552, 664 (N.D. Cal.
                                                                               664 (N.D. Cal.
18 2020).
18 2020). As
          As with
             with the
                  the instant
                      instant action,
                              action, the
                                      the teen
                                          teen vaping
                                               vaping epidemic proliferated in
                                                      epidemic proliferated in part
                                                                               part due to viral
                                                                                    due to viral
19
19    Instagram, TikTok,
      Instagram,         and Facebook
                 TikTok, and Facebook posts—but the claims
                                      posts—but the        against the
                                                    claims against the defendant
                                                                       defendant
20 manufacturer
20 manufacturer survived. Id. at
                survived. Id. at 624 (discussing aa "bombard[ment]"
                                 624 (discussing    “bombard[ment]” of advertisements of
                                                                    of advertisements of
21
21    JUUL products via
      JUUL products via Instagram
                        Instagram and
                                  and Snapchat), 650, 665-66
                                      Snapchat), 650,        (denying motion
                                                      665-66 (denying motion to
                                                                             to dismiss
                                                                                dismiss
22
22
23
23
24
24
       after cause-in-fact
       after                 has been
             cause-in-fact has   been established.”); see also
                                      established."); see also Prosser
                                                               Prosser &
                                                                       & Keeton,
                                                                          Keeton, The  Law of
                                                                                   The Law  of
25
25     Torts
       Torts §§ 42, at 273
                42, at 273 (5th
                            (5th ed. 1984) ("Legal
                                 ed. 1984) (“Legal causation”
                                                   causation" depends    “essentially on
                                                                depends "essentially  on whether
                                                                                         whether
26
26     the policy
       the policy of  the law
                  of the  law will
                               will extend the responsibility
                                    extend the responsibility for
                                                              for the
                                                                  the conduct to the
                                                                      conduct to the consequences
                                                                                     consequences
       which have
       which   have in
                    in fact
                        fact occurred”).
                             occurred").
27
27
28
28
                                                   16
                                                   16
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11 nuisance
    nuisance and
             and negligence
                 negligence claims against JUUL
                            claims against      in complaints
                                           JUUL in            brought both
                                                   complaints brought both by
                                                                           by consumers
                                                                              consumers
 22 and
    and governmental
        governmental entities).
                     entities).
 33         The
            The GE Plaintiffs have
                GE Plaintiffs have alleged
                                   alleged that
                                           that the
                                                the downstream acts of
                                                    downstream acts    third parties
                                                                    of third         resulting in
                                                                             parties resulting in
 44 damages to governmental
    damages to governmental entities are foreseeable
                            entities are foreseeable and
                                                     and therefore
                                                         therefore do not constitute
                                                                   do not constitute
 55 superseding
    superseding causes.
                causes. The
                        The question
                            question of which specific
                                     of which          modality was
                                              specific modality was used
                                                                    used to
                                                                         to spread the word
                                                                            spread the word
 66 of the susceptibility
    of the susceptibility of these vehicles
                          of these vehicles does nothing to
                                            does nothing to alter
                                                            alter the
                                                                  the conclusion that aa foreseeable
                                                                      conclusion that    foreseeable
 77 criminal act of
    criminal act of aa third
                       third party
                             party supports proximate causation.
                                   supports proximate causation.
 8 C.
 8 C.       GE
            GE Plaintiffs’
               Plaintiffs' Public
                           Public Nuisance Claims Are
                                  Nuisance Claims Are Well
                                                      Well Pled.
                                                           Pled.
 99         Defendants assert
            Defendants assert that
                              that GE Plaintiffs fail
                                   GE Plaintiffs      to state
                                                 fail to state aa claim for public
                                                                  claim for        nuisance. Motion
                                                                            public nuisance. Motion
10 at
10 at 34.
      34. Evaluating
          Evaluating the
                     the sufficiency
                         sufficiency of Plaintiffs’ public
                                     of Plaintiffs' public nuisance
                                                           nuisance claims boils down
                                                                    claims boils      to two
                                                                                 down to two
11
11    questions: (1) does
      questions: (1) does aa public
                             public nuisance exist?55 and
                                    nuisance exist?   and (2)
                                                          (2) did the defendant
                                                              did the defendant substantially
                                                                                substantially
12
12    contribute to creating
      contribute to creating or maintaining it?
                             or maintaining it? The answer to
                                                The answer to both
                                                              both is
                                                                   is "yes."
                                                                      “yes.”
13
13          Defendants construct
            Defendants construct aa different
                                    different question—whether the GE
                                              question—whether the    Plaintiffs’ state
                                                                   GE Plaintiffs' state laws
                                                                                        laws
14 "permit
14 “permit public
           public nuisance
                  nuisance claims based solely
                           claims based solely on allegedly defective
                                               on allegedly           product designs”—and
                                                            defective product designs"—and
15
15    claim “silence” from
      claim "silence" from the
                           the courts
                               courts on the issue.
                                      on the issue. Id.
                                                    Id. But
                                                        But this
                                                            this is
                                                                 is not
                                                                    not the
                                                                        the right
                                                                            right question, and even
                                                                                  question, and even
16 if
16 if it
      it were,
         were, courts have not
               courts have not been
                               been silent about public
                                    silent about public nuisances
                                                        nuisances arising
                                                                  arising from
                                                                          from products,
                                                                               products,
17 including
17 including product
             product designs. As the
                     designs. As the Delaware
                                     Delaware Supreme
                                              Supreme Court
                                                      Court observed in aa recent
                                                            observed in    recent decision
                                                                                  decision
18 upholding
18 upholding aa public
                public nuisance
                       nuisance claim arising from
                                claim arising from the
                                                   the use
                                                       use of products, "historical
                                                           of products, “historical examples
                                                                                    examples
19 abound
19 abound of products that
          of products that were
                           were held
                                held to
                                     to create
                                        create aa public
                                                  public nuisance."
                                                         nuisance.” Delaware
                                                                    Delaware ex
                                                                             ex rel. Jennings
                                                                                rel. Jennings
20
20    v. Monsanto Co.,
      v. Monsanto      299 A.3d
                  Co., 299 A.3d 372,
                                372, 383
                                     383 (Del.
                                         (Del. 2023).
                                               2023).
21
21          Under the
            Under the common law definition,
                      common law definition, aa public
                                                public nuisance
                                                       nuisance is
                                                                is "an
                                                                   “an unreasonable
                                                                       unreasonable
22 interference
22 interference with
                with aa right
                        right common to the
                              common to the general public.” Restatement
                                            general public." Restatement (Second)
                                                                         (Second) of
                                                                                  of Torts
                                                                                     Torts §§
23
23    821B (1979).
      821B (1979). As
                   As discussed below, first,
                      discussed below,        the GE
                                       first, the    Plaintiffs have
                                                  GE Plaintiffs have alleged that an
                                                                     alleged that an
24 unreasonable
24 unreasonable interference
                interference (rampant
                             (rampant vehicle
                                      vehicle thefts,
                                              thefts, associated
                                                      associated crimes, and the
                                                                 crimes, and the
25
25
26
26    5
      5 See Physicians Plus
        See Physicians Plus Ins.
                            Ins. Corp.
                                 Corp. v. Midwest Mut.
                                       v. Midwest Mut. Ins.
                                                       Ins. Co.,
                                                            Co., 646 N.W.2d 777,
                                                                 646 N.W.2d 777, 793–94
                                                                                 793-94
27
27     (Wis. 2002)
       (Wis. 2002) ("Since
                    (“Since aa public
                               public nuisance
                                      nuisance can  arise by
                                                can arise by either   negligent or
                                                               either negligent    intentional
                                                                                or intentional
28
28     conduct, the first
       conduct, the first element necessary to
                          element necessary  to prove
                                                prove liability
                                                       liability for
                                                                  for maintaining
                                                                      maintaining aa public
                                                                                     public nuisance
                                                                                            nuisance
       requires only
       requires      the existence
                only the  existence of the public
                                    of the public nuisance
                                                  nuisance itself.").
                                                             itself.”).
                                                    17
                                                    17
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11   corresponding
      corresponding diversion
                    diversion of
                              of city resources) with
                                 city resources) with aa common right (public
                                                         common right (public safety)
                                                                              safety) exists.
                                                                                      exists.
 22   Second, the GE
      Second, the    Plaintiffs have
                  GE Plaintiffs have alleged
                                     alleged that
                                             that Defendants
                                                  Defendants substantially
                                                             substantially contributed to
                                                                           contributed to
 33   creating and maintaining
      creating and maintaining this
                               this interference
                                    interference with
                                                 with public
                                                      public safety, by selling
                                                             safety, by         the Susceptible
                                                                        selling the Susceptible
 44 Vehicles without adequate
    Vehicles without adequate anti-theft
                              anti-theft measures
                                         measures despite being substantially
                                                  despite being substantially certain
                                                                              certain of the
                                                                                      of the
 55 consequences, and by
    consequences, and by failing
                         failing to
                                 to take
                                    take meaningful
                                         meaningful steps to address
                                                    steps to address the
                                                                     the ongoing threat to
                                                                         ongoing threat to
 66 public
    public safety in the
           safety in the GE Plaintiffs’ jurisdictions.
                         GE Plaintiffs' jurisdictions. The
                                                       The GE Plaintiffs have
                                                           GE Plaintiffs have thus
                                                                              thus plausibly
                                                                                   plausibly
 77 alleged
    alleged the
            the elements
                elements of their public
                         of their public nuisance
                                         nuisance claims.
                                                  claims. In addition, neither
                                                          In addition, neither Ohio’s Products
                                                                               Ohio's Products
 8 Liability
 8 Liability Act
             Act ("OPLA"),
                 (“OPLA”), Ohio Rev. Code
                           Ohio Rev. Code §§ 2307.71
                                             2307.71 et seq., nor
                                                     et seq., nor Washington’s Product
                                                                  Washington's Product
 99 Liability
    Liability Reform
              Reform Act
                     Act ("WPLA"),
                         (“WPLA”), Wash. Rev. Code
                                   Wash. Rev. Code §§ 7.72, abrogates GE
                                                      7.72, abrogates    Plaintiffs’
                                                                      GE Plaintiffs'
10 nuisance
10 nuisance claims under Ohio
            claims under      and Washington
                         Ohio and            law, and
                                  Washington law, and Defendants'
                                                      Defendants’ additional
                                                                  additional arguments
                                                                             arguments
11 regarding
11 regarding the
             the Ohio
                 Ohio GE Plaintiffs’ public
                      GE Plaintiffs' public nuisance
                                            nuisance claim
                                                     claim should be rejected.
                                                           should be rejected.
12
12          1.
            1.     The
                   The GE
                       GE Plaintiffs
                           Plaintiffs have adequately alleged
                                      have adequately alleged the
                                                              the existence
                                                                  existence of
                                                                            of aa public
                                                                                  public
13
13                 nuisance.
                   nuisance.

14
14          A common
            A        law public
              common law public nuisance
                                nuisance is
                                         is "an
                                            “an unreasonable
                                                unreasonable interference
                                                             interference with
                                                                          with aa right
                                                                                  right
15
15    common to the
      common to the general public.” Restatement
                    general public." Restatement §§ 821B. An unreasonable
                                                    821B. An unreasonable interference
                                                                          interference
   includes (a)
16 includes
16          (a) "acts
                “acts that
                      that significantly
                           significantly interfere
                                         interfere with
                                                   with public
                                                        public health,
                                                               health, safety,
                                                                       safety, peace,
                                                                               peace, comfort,
                                                                                      comfort, or
                                                                                               or
17
17    convenience,” (b) "conduct
      convenience," (b) “conduct that
                                 that is
                                      is contrary to aa statute,
                                         contrary to    statute, ordinance,
                                                                 ordinance, or regulation,” or
                                                                            or regulation,"    (c)
                                                                                            or (c)
   “conduct that
18 "conduct
18          that is
                 is of
                    of aa continuing nature or
                          continuing nature or one which has
                                               one which has produced
                                                             produced aa permanent
                                                                         permanent or long-
                                                                                   or long-
   lasting effect
19 lasting
19                upon the
           effect upon the public
                           public right,
                                  right, an
                                         an effect
                                            effect of which the
                                                   of which the actor is aware
                                                                actor is aware or
                                                                               or should be
                                                                                  should be
   aware.” City
20 aware."
20         City of
                of Cincinnati
                   Cincinnati v. Beretta U.S.A.
                              v. Beretta U.S.A. Corp.,
                                                Corp., 768 N.E.2d 1136,
                                                       768 N.E.2d 1136, 1142
                                                                        1142 (Ohio
                                                                             (Ohio 2022)
                                                                                   2022)
   (citing Restatement
21 (citing
21         Restatement §§ 821B(2)).
                          821B(2)). Here,
                                    Here, the
                                          the public
                                              public has
                                                     has aa right
                                                            right to
                                                                  to safely use their
                                                                     safely use their streets,
                                                                                      streets,
22
22    sidewalks, and businesses,
      sidewalks, and businesses, and
                                 and when
                                     when that
                                          that right
                                               right is
                                                     is invaded
                                                        invaded because
                                                                because of
                                                                        of aa cost-cutting
                                                                              cost-cutting
   business decision,
23 business
23                    it is
            decision, it is an
                            an unreasonable
                               unreasonable interference.
                                            interference. Defendants
                                                          Defendants argue that the
                                                                     argue that the GE
                                                                                    GE
   Plaintiffs’ allegations
24 Plaintiffs'
24             allegations "do
                           “do not
                               not implicate
                                   implicate aa public
                                                public right,"
                                                       right,” Motion
                                                               Motion at
                                                                      at 43-47,
                                                                         43-47, characterizing
                                                                                characterizing
   the Complaint
25 the
25               as containing
       Complaint as containing only “scattered personal
                               only "scattered personal injuries
                                                        injuries and
                                                                 and property
                                                                     property damage,”
                                                                              damage," id.
                                                                                       id.
   at 47,
26 at
26        and "anecdotal
      47, and “anecdotal allegations"
                         allegations” representing
                                      representing only “a statistical
                                                   only "a             blip.” Id.
                                                           statistical blip." Id. at
                                                                                  at 45-46. But
                                                                                     45-46. But
   the Complaint
27 the
27               is replete
       Complaint is replete with
                            with allegations
                                 allegations describing the significant,
                                             describing the significant, unreasonable
                                                                         unreasonable
28
28
                                                   18
                                                   18
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11 interference
    interference with
                 with public
                      public peace
                             peace and
                                   and safety that has
                                       safety that has resulted
                                                       resulted from
                                                                from Defendants'
                                                                     Defendants’ decision to
                                                                                 decision to
 22 forgo
    forgo immobilizers
          immobilizers in
                       in some
                          some of their vehicles.
                               of their vehicles.
 33         What Defendants attempt
            What Defendants attempt to
                                    to minimize
                                       minimize as
                                                as "anecdotal
                                                   “anecdotal allegations"
                                                              allegations” are
                                                                           are instead
                                                                               instead stark
                                                                                       stark
 44 evidence
    evidence of the gravity
             of the         and pervasiveness
                    gravity and pervasiveness of the problem.
                                              of the problem. These allegations illustrate
                                                              These allegations illustrate the
                                                                                           the
 55 significant interference with
    significant interference with the
                                  the collective right to
                                      collective right to safety
                                                          safety that
                                                                 that belongs
                                                                      belongs to
                                                                              to the
                                                                                 the public
                                                                                     public in
                                                                                            in
 66 common, as the
    common, as the harms
                   harms from
                         from Defendants'
                              Defendants’ business
                                          business decisions are not
                                                   decisions are not limited
                                                                     limited to
                                                                             to owners
                                                                                owners and
                                                                                       and
 77 lessees
    lessees of
            of Susceptible
               Susceptible Vehicles. Examples include
                           Vehicles. Examples include the
                                                      the following:
                                                          following:
 8
 8             • Accidents
                  Accidents involving
                               involving bystanders,
                                         bystanders, pedestrians
                                                     pedestrians (CGEC
                                                                 (CGEC ¶¶ 120, 189),
                                                                       ¶¶ 120, 189), and
                                                                                     and
                  cyclists (id. ¶¶ 211);
                  cyclists (id.    211);
 99
               • Reckless
                  Reckless driving  and crashes
                            driving and crashes on school campuses
                                                on school          and playgrounds
                                                          campuses and playgrounds (id.
                                                                                   (id. ¶¶
                                                                                        ¶¶
10
10                91, 123, 144,
                  91, 123, 144, 234-35);
                                234-35);
11
11             • Storefronts being smashed
                  Storefronts being smashed by
                                            by these
                                               these vehicles
                                                     vehicles (id.
                                                              (id. ¶¶ 142, 199,
                                                                   ¶¶ 142, 199, 232-33);
                                                                                232-33);
12
12             • A
                  A restaurant
                    restaurant directing patrons to
                               directing patrons to inform
                                                    inform the
                                                           the host
                                                               host if
                                                                    if they
                                                                       they drive
                                                                            drive aa Hyundai
                                                                                     Hyundai oror
                  Kia so
                  Kia    they could
                      so they       be seated
                              could be seated near
                                              near aa window
                                                      window to
                                                              to keep
                                                                 keep an
                                                                       an eye
                                                                          eye on their car
                                                                              on their     (id. ¶¶
                                                                                       car (id.
13
13                124); and
                  124); and
14
14             • The
                  The GE   Plaintiffs’ police
                       GE Plaintiffs'  police departments  having to
                                              departments having   to divert resources away
                                                                      divert resources away from
                                                                                            from
                  other
                  other community
                         community safety     needs to
                                      safety needs  to respond
                                                       respond to
                                                               to one   Hyundai or
                                                                   one Hyundai       Kia incident
                                                                                  or Kia incident
15
15                after another
                  after another (id.
                                @a'. ¶¶ 135, 165,
                                     ¶¶ 135,  165, 213,
                                                   213, 231,
                                                        231, 247,
                                                             247, 251-52).
                                                                  251-52).
16
16          These are not
            These are not "scattered"
                          “scattered” incidents.
                                      incidents. These
                                                 These examples illustrate aa widespread
                                                       examples illustrate    widespread pattern
                                                                                         pattern
17 and
17 and far-reaching
       far-reaching impact
                    impact on public safety.
                           on public safety. Defendants
                                             Defendants correctly state that
                                                        correctly state that aa public
                                                                                public right
                                                                                       right is
                                                                                             is
18 "collective
18 “collective in
               in nature
                  nature and
                         and not
                             not like
                                 like the
                                      the individual
                                          individual right
                                                     right that
                                                           that everyone has not
                                                                everyone has not to
                                                                                 to be
                                                                                    be assaulted
                                                                                       assaulted
19
19    or
      or defamed
         defamed or
                 or defrauded
                    defrauded or negligently injured."
                              or negligently injured.” Motion
                                                       Motion at
                                                              at 43 (quoting Restatement
                                                                 43 (quoting Restatement
20 (Second)
20 (Second) of
            of Torts
               Torts §§ 821B
                        821B cmt.
                             cmt. g). But Defendants
                                  g). But Defendants mistakenly
                                                     mistakenly argue
                                                                argue that,
                                                                      that, because
                                                                            because some
                                                                                    some
21 individual
21 individual members
              members of the public
                      of the public have
                                    have sustained
                                         sustained injuries,
                                                   injuries, there
                                                             there is
                                                                   is no
                                                                      no broader
                                                                         broader public
                                                                                 public right
                                                                                        right
22 at
22 at issue.
      issue. Among
             Among the
                   the factors
                       factors relevant
                               relevant to
                                        to determining when aa nuisance
                                           determining when    nuisance exists,
                                                                        exists, courts
                                                                                courts
23
23    consider “whether the
      consider "whether the alleged
                            alleged nuisance
                                    nuisance is
                                             is located
                                                located in
                                                        in aa public
                                                              public place,
                                                                     place, aa place
                                                                               place where
                                                                                     where the
                                                                                           the
24 public
24 public is
          is likely
             likely to
                    to congregate,
                       congregate, aa place where the
                                      place where the public
                                                      public has
                                                             has aa right
                                                                    right to
                                                                          to go,
                                                                             go, or
                                                                                 or aa place
                                                                                       place where
                                                                                             where
25 the
25 the public
       public is
              is likely
                 likely to
                        to come into contact
                           come into         with the
                                     contact with the nuisance."
                                                      nuisance.” City
                                                                 City of Kansas City
                                                                      of Kansas City v. N.Y.-
                                                                                     v. N.Y.-
26 Kan.
26 Kan. Bldg.
        Bldg. Assocs.,
              Assocs., L.P.,
                       L.P., 96
                             96 S.W.3d 846, 857
                                S.W.3d 846,     (Mo. Ct.
                                            857 (Mo.     App. 2002);
                                                     Ct. App. 2002); see
                                                                     see also
                                                                         also State
                                                                              State ex
                                                                                    ex rel.
                                                                                       rel.
27 Hopkins
27 Hopkins v. Excelsior Powder
           v. Excelsior Powder Mfg.
                               Mfg. Co., 169 S.W.
                                    Co., 169      267, 273
                                             S.W. 267, 273 (Mo.
                                                           (Mo. 1914)
                                                                1914) ("A
                                                                      (“A nuisance
                                                                          nuisance is
                                                                                   is
28 public
28 public when
          when it
               it affects
                  affects the
                          the rights
                              rights enjoyed by citizens
                                     enjoyed by          as part
                                                citizens as part of the public,
                                                                 of the public, as the right
                                                                                as the right of
                                                                                             of
                                                   19
                                                   19
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11 navigating
    navigating aa river,
                  river, or traveling aa public
                         or traveling    public highway;
                                                highway; rights
                                                         rights to
                                                                to which
                                                                   which every
                                                                         every citizen is
                                                                               citizen is
 22   entitled.”) (quoting Joyce
      entitled.") (quoting Joyce on Nuisances §§ 5);
                                 on Nuisances        Keefer v.
                                                 5); Keefer    State, 92
                                                            v. State,    N.E. 656,
                                                                      92 N.E. 656, 657 (Ind. 1910)
                                                                                   657 (Ind. 1910)
 33 ("A
    (“A nuisance
        nuisance is
                 is aa public
                       public nuisance
                              nuisance if
                                       if it
                                          it annoys
                                             annoys such part of
                                                    such part    the public
                                                              of the public as
                                                                            as necessarily
                                                                               necessarily comes
                                                                                           comes
 44 in
    in contact with it.")
       contact with it.”) (quoting
                          (quoting State
                                   State v.
                                         v. Tabler,
                                            Tabler, 72 N.E. 1039,
                                                    72 N.E. 1039, 1040
                                                                  1040 (Ind.
                                                                       (Ind. App.
                                                                             App. 1905)).
                                                                                  1905)). In
                                                                                          In
 55 Excelsior
    Excelsior Powder,
              Powder, the
                      the court
                          court concluded that explosions
                                concluded that explosions at
                                                          at aa powder mill that
                                                                powder mill that threw
                                                                                 threw debris
                                                                                       debris
 66 across
    across aa road
              road and
                   and aa passenger
                          passenger rail
                                    rail line
                                         line and
                                              and shattered
                                                  shattered schoolhouse and storefront
                                                            schoolhouse and            windows
                                                                            storefront windows
 77 was
    was aa public
           public nuisance,
                  nuisance, see
                            see 169
                                169 S.W. at 269;
                                    S.W. at 269; in
                                                 in Keefer,
                                                    Keefer, blasting
                                                            blasting in
                                                                     in aa stone
                                                                           stone quarry that
                                                                                 quarry that
 8 "cast[]
 8 “cast[] rock
           rock upon
                upon the
                     the surrounding
                         surrounding properties
                                     properties and highways,” too,
                                                and highways," too, was
                                                                    was aa public nuisance.
                                                                           public nuisance.
 99 92 N.E. at
    92 N.E. at 657. As these
               657. As these and
                             and other historical public
                                 other historical public nuisance
                                                         nuisance cases
                                                                  cases demonstrate, the fact
                                                                        demonstrate, the fact
10 that
10 that individual
        individual members
                   members of the public
                           of the        may—while exercising
                                  public may—while exercising aa public right, such
                                                                 public right,      as by
                                                                               such as by
11 traveling
11 traveling on
             on aa public
                   public highway—encounter
                          highway—encounter and
                                            and be
                                                be harmed
                                                   harmed by
                                                          by aa nuisance
                                                                nuisance does not
                                                                         does not
12 transform
12 transform the
             the nuisance
                 nuisance from
                          from public
                               public to
                                      to private.
                                         private. The
                                                  The same is true
                                                      same is true here.
                                                                   here.
13
13          Defendants argue
            Defendants argue that
                             that "every
                                  “every alleged vehicle defect
                                         alleged vehicle defect could be contended
                                                                could be           to interfere
                                                                         contended to interfere
14 with
14 with ‘safe and reasonable
        `safe and reasonable access
                             access to
                                    to public
                                       public thoroughfares.'
                                              thoroughfares.’” Motion
                                                               Motion at
                                                                      at 42 (quoting CGEC
                                                                         42 (quoting CGEC
15
15    ¶¶ 270, 311,
      ¶¶ 270, 311, 330,
                   330, 410).
                        410). This is both
                              This is both aa strawman—as Plaintiffs do
                                              strawman—as Plaintiffs    not contend
                                                                     do not         that every
                                                                            contend that every
16
16    defect interferes with
      defect interferes with aa public
                                public right,
                                       right, but
                                              but instead
                                                  instead plead
                                                          plead detailed allegations as
                                                                detailed allegations as to
                                                                                        to why
                                                                                           why this
                                                                                               this
17
17    one
      one does—and
          does—and aa slippery-slope
                      slippery-slope argument
                                     argument that
                                              that does not grapple
                                                   does not         with the
                                                            grapple with the actual
                                                                             actual allegations
                                                                                    allegations
18 or
18 or caselaw at issue.
      caselaw at issue. As
                        As the
                           the Indiana
                               Indiana Supreme
                                       Supreme Court has explained,
                                               Court has            “[w]hether it
                                                         explained, "[w]hether it is
                                                                                  is
19 unreasonable
19 unreasonable turns
                turns on whether the
                      on whether the activity,
                                     activity, even if lawful,
                                               even if lawful, can be expected
                                                               can be          to impose
                                                                      expected to impose
20
20    such
      such costs
           costs or inconvenience on
                 or inconvenience on others that those
                                     others that those costs should be
                                                       costs should be borne
                                                                       borne by
                                                                             by the
                                                                                the generator
                                                                                    generator
21
21    of the activity,
      of the activity, or the activity
                       or the activity must
                                       must be
                                            be stopped
                                               stopped or modified.” City
                                                       or modified." City of
                                                                          of Gary,
                                                                             Gary, 801 N.E.2d at
                                                                                   801 N.E.2d at
22 1231.
22 1231.
23
23          By definition,
            By             not every
               definition, not       vehicle defect
                               every vehicle defect could
                                                    could support
                                                          support aa public
                                                                     public nuisance
                                                                            nuisance claim
                                                                                     claim
24 because
24 because the
           the interference
               interference must
                            must be
                                 be unreasonable.
                                    unreasonable. There is always
                                                  There is always aa risk
                                                                     risk that
                                                                          that aa vehicle
                                                                                  vehicle may
                                                                                          may
25 be
25 be stolen
      stolen or
             or driven
                driven dangerously, just as
                       dangerously, just as there
                                            there is
                                                  is always
                                                     always aa risk
                                                               risk that
                                                                    that stored
                                                                         stored explosives may
                                                                                explosives may
26
26    cause an explosion.
      cause an            But what
               explosion. But what makes
                                   makes stored
                                         stored explosives
                                                explosives aa public
                                                              public nuisance
                                                                     nuisance in
                                                                              in some
                                                                                 some cases is
                                                                                      cases is
27 that
27 that the
        the manner
            manner or place of
                   or place    their storage
                            of their storage creates an unreasonable
                                             creates an unreasonable risk
                                                                     risk to
                                                                          to public
                                                                             public safety.
                                                                                    safety.
28 Likewise,
28 Likewise, the
             the GE Plaintiffs’ public
                 GE Plaintiffs' public nuisance
                                       nuisance claims are in
                                                claims are in line
                                                              line with
                                                                   with these
                                                                        these well-established
                                                                              well-established
                                                    20
                                                    20
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1    common-law principles. By
      common-law principles. By selling millions of
                                selling millions    vehicles without
                                                 of vehicles without industry-standard
                                                                     industry-standard anti-
                                                                                       anti-
22 theft
   theft technology—foreseeably
         technology—foreseeably resulting
                                resulting in
                                          in aa rash
                                                rash of thefts, crimes,
                                                     of thefts,         and associated
                                                                crimes, and associated
33 harms—Defendants
   harms—Defendants have
                    have created
                         created aa significant
                                    significant and
                                                and unreasonable
                                                    unreasonable threat
                                                                 threat to
                                                                        to public
                                                                           public safety.
                                                                                  safety.
 44 The
    The GE Plaintiffs therefore
        GE Plaintiffs therefore adequately
                                adequately allege
                                           allege an
                                                  an unreasonable
                                                     unreasonable interference
                                                                  interference with
                                                                               with aa public
                                                                                       public
 55 right.
    right.
 66          2.
             2.    The
                   The GE
                        GE Plaintiffs
                            Plaintiffs have adequately alleged
                                       have adequately alleged that  Defendants’ conduct
                                                                that Defendants'  conduct
 77                was aa substantial
                   was    substantial contributing
                                      contributing factor
                                                   factor to
                                                          to the
                                                             the public
                                                                 public nuisance.
                                                                        nuisance.
             The
             The GE Plaintiffs also
                 GE Plaintiffs also sufficiently allege that
                                    sufficiently allege that Defendants'
                                                             Defendants’ conduct is aa substantial
                                                                         conduct is    substantial
 8
 8
      contributing factor to
      contributing factor to the
                             the creation and maintenance
                                 creation and maintenance of the nuisance.
                                                          of the nuisance. Defendants
                                                                           Defendants knew
                                                                                      knew that
                                                                                           that
 99
      without the
      without the anti-theft
                  anti-theft devices
                             devices present in 96%
                                     present in 96% of all other
                                                    of all       manufacturers’ vehicles—and
                                                           other manufacturers' vehicles—and
10
10
      present in
      present in Defendants'
                 Defendants’ own vehicles sold
                             own vehicles      in other
                                          sold in       markets, including
                                                  other markets, including Canada—their
                                                                           Canada—their cars
                                                                                        cars
11
11
      would be
      would be at
               at aa substantially
                     substantially greater risk of
                                   greater risk    being stolen.
                                                of being         Although Defendants
                                                         stolen. Although Defendants assign
                                                                                     assign blame
                                                                                            blame
12
12
      to various
      to various others, their conscious
                 others, their conscious decision not to
                                         decision not to include
                                                         include this
                                                                 this simple
                                                                      simple device
                                                                             device created the
                                                                                    created the
13
13
      conditions that have
      conditions that have put
                           put the
                               the public at serious
                                   public at         risk. That
                                             serious risk.      is enough.
                                                           That is         See, e.g.,
                                                                   enough. See, e.g., City
                                                                                      City of New
                                                                                           of New
14
14
      York
      York v. Beretta U.S.A.
           v. Beretta        Corp., 315
                      U.S.A. Corp., 315 F.
                                        F. Supp. 2d 256,
                                           Supp. 2d 256, 281
                                                         281 (E.D.N.Y.
                                                             (E.D.N.Y. 2004)
                                                                       2004) ("Satisfaction
                                                                             (“Satisfaction of
                                                                                            of
15
15
      the causation
      the           requirement for
          causation requirement for liability
                                    liability in
                                              in public
                                                 public nuisance
                                                        nuisance actions
                                                                 actions requires
                                                                         requires proof
                                                                                  proof that
                                                                                        that aa
16
16
      defendant, alone or
      defendant, alone    with others,
                       or with others, created,
                                       created, contributed to, or
                                                contributed to,    maintained the
                                                                or maintained the alleged
                                                                                  alleged
17
17
      interference with
      interference with the
                        the public
                            public right.");
                                   right.”); see
                                             see also
                                                 also Physicians
                                                      Physicians Plus,
                                                                 Plus, 646 N.W.2d at
                                                                       646 N.W.2d at 792 (under
                                                                                     792 (under
18
18
      Wisconsin law, "liability
      Wisconsin law, “liability for
                                for maintaining
                                    maintaining aa public nuisance requires
                                                   public nuisance          that the
                                                                   requires that the defendant had
                                                                                     defendant had
19
19
      either actual or
      either actual or constructive notice of
                       constructive notice    the public
                                           of the public nuisance
                                                         nuisance and
                                                                  and that
                                                                      that the
                                                                           the failure
                                                                               failure to
                                                                                       to abate
                                                                                          abate the
                                                                                                the
20
20
      public nuisance
      public nuisance was
                      was aa cause
                             cause of the plaintiff's
                                   of the plaintiff’s injuries").
                                                      injuries”). More
                                                                  More than
                                                                       than three
                                                                            three years
                                                                                  years have
                                                                                        have passed
                                                                                             passed
21
21
      since the Kia
      since the Kia Boyz
                    Boyz came to notoriety—three
                         came to notoriety—three years
                                                 years in
                                                       in which
                                                          which Defendants
                                                                Defendants were
                                                                           were put
                                                                                put on actual
                                                                                    on actual
22
22
      notice of
      notice    the existence
             of the existence of this crisis,
                              of this         and three
                                      crisis, and three years
                                                        years in
                                                              in which
                                                                 which Defendants
                                                                       Defendants have
                                                                                  have done little
                                                                                       done little
23
23
      that has
      that has been
               been effective in curbing
                    effective in         this costly
                                 curbing this        nuisance other
                                              costly nuisance       than to
                                                              other than to belatedly
                                                                            belatedly install
                                                                                      install
24
24
      immobilizers in
      immobilizers in all
                      all of their vehicles
                          of their vehicles for
                                            for the
                                                the 2023
                                                    2023 model
                                                         model year,
                                                               year, which
                                                                     which confirms Defendants’
                                                                           confirms Defendants'
25
25
      knowledge that
      knowledge that immobilizers
                     immobilizers are
                                  are effective.
                                      effective. CGEC
                                                 CGEC ¶¶ 8.
                                                         8. The
                                                            The steps that Defendants
                                                                steps that Defendants have
                                                                                      have
26
26
      taken to
      taken to date are insufficient
               date are insufficient as
                                     as of the filing
                                        of the filing of the CGEC—several
                                                      of the              months after
                                                             CGEC—several months after the
                                                                                       the rollout
                                                                                           rollout
27
27
      of the software
      of the          update Kia
             software update Kia and
                                 and Hyundai
                                     Hyundai thefts
                                             thefts remained
                                                    remained elevated. Id. ¶¶ 104.
                                                             elevated. Id.    104.
28
28
                                                   21
                                                   21
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1
 1         Although Defendants
           Although Defendants assert that proximate
                               assert that proximate cause is aa requirement
                                                     cause is    requirement for
                                                                             for public
                                                                                 public
22   nuisance claims
     nuisance        in all
              claims in all of the GE
                            of the    Plaintiff jurisdictions,
                                   GE Plaintiff jurisdictions, Motion
                                                               Motion at
                                                                      at 21-22,
                                                                         21-22, courts in New
                                                                                courts in New
3
3    York and Wisconsin
     York and           recognize that
              Wisconsin recognize that the
                                       the proximate
                                           proximate cause
                                                     cause analysis is not
                                                           analysis is not applicable to aa
                                                                           applicable to
 44 public
    public nuisance
           nuisance claim. See In
                    claim. See In re
                                  re Opioid Litig., No.
                                     Opioid Litig., No. 400000/2017, 2018 WL
                                                        400000/2017, 2018    3115102, at
                                                                          WL 3115102, at
 55 *22 (N.Y. Sup.
    *22 (N.Y. Sup. Ct.
                   Ct. June 18, 2018)
                       June 18, 2018) ("[t]he
                                      (“[t]he court is doubtful,
                                              court is           in any
                                                       doubtful, in any event, whether aa
                                                                        event, whether
 66 discussion
    discussion of proximate cause
               of proximate       in aa case
                            cause in         based on
                                        case based    negligence should
                                                   on negligence should even apply in
                                                                        even apply in aa case
                                                                                         case
 77 based
    based on public nuisance.");
          on public nuisance.”); City
                                 City of New York
                                      of New York v. A-1 Jewelry
                                                  v. A-1 Jewelry &
                                                                 & Pawn,
                                                                   Pawn, 247
                                                                         247 F.R.D.
                                                                             F.R.D. 296,
                                                                                    296,
 8
 8   347-48 (E.D.N.Y.
     347-48 (E.D.N.Y. 2007)
                      2007) ("where
                            (“where the
                                    the welfare
                                        welfare and
                                                and safety
                                                    safety of
                                                           of an
                                                              an entire
                                                                 entire community is at
                                                                        community is at stake,
                                                                                        stake,
 99 the
    the cause need not
        cause need not be
                       be so proximate as
                          so proximate as in
                                          in individual
                                             individual negligence
                                                        negligence cases”);
                                                                   cases"); City
                                                                            City of
                                                                                 of Wyoming
                                                                                    Wyoming
10
10   v. Procter &
     v. Procter & Gamble
                  Gamble Co., 210 F.
                         Co., 210 F. Supp. 3d 1137,
                                     Supp. 3d 1137, 1162
                                                    1162 (D.
                                                         (D. Minn.
                                                             Minn. 2016)
                                                                   2016) ("In
                                                                         (“In the
                                                                              the place
                                                                                  place of
                                                                                        of
11
11   aa typical
        typical ‘causation’ requirement, Wisconsin
                `causation' requirement, Wisconsin only requires that
                                                   only requires that aa plaintiff
                                                                         plaintiff pursuing
                                                                                   pursuing aa
12
12   public nuisance
     public nuisance claim
                     claim show that he
                           show that he or
                                        or she (1) had
                                           she (1) had ‘either actual or
                                                       `either actual or constructive’ notice of
                                                                         constructive' notice of
13
13   the alleged
     the alleged public
                 public nuisance,
                        nuisance, and
                                  and (2)
                                      (2) the
                                          the failure
                                              failure of the defendant
                                                      of the           to ‘abate’
                                                             defendant to         the public
                                                                          `abate' the public
14
14   nuisance caused
     nuisance        the plaintiff's
              caused the plaintiff’s injury.").
                                     injury.”). As
                                                As the
                                                   the court in Takata
                                                       court in Takata Corp.
                                                                       Corp. explained, “In
                                                                             explained, "In
15
15   general,
     general, courts also require
              courts also require the
                                  the plaintiff make some
                                      plaintiff make some showing
                                                          showing of
                                                                  of causation that links
                                                                     causation that links the
                                                                                          the
16
16   defendant to the
     defendant to the creation
                      creation or maintenance of
                               or maintenance    the public
                                              of the public nuisance.
                                                            nuisance. When the tort
                                                                      When the tort of public
                                                                                    of public
17
17   nuisance is
     nuisance is based
                 based on
                       on Section 821B, courts
                          Section 821B,        have expansively
                                        courts have expansively construed the causation
                                                                construed the causation
18
18   requirement in
     requirement in accordance
                    accordance with
                               with the
                                    the broad
                                        broad language
                                              language of the Restatement
                                                       of the Restatement provision."
                                                                          provision.” 67
                                                                                      67 V.I.
                                                                                         V.I.
19
19   at 407–08.
     at 407-08.
20
20         3.
           3.     There  is no
                  There is  no basis
                               basis for
                                     for exclusion
                                         exclusion of
                                                   of products,
                                                      products, or
                                                                or product
                                                                   product design, in the
                                                                           design, in the
21
21                well-established common
                  well-established  common lawlaw of
                                                  of public
                                                     public nuisance.
                                                            nuisance.

22
22         Defendants argue
           Defendants argue for
                            for aa categorical
                                   categorical exclusion
                                               exclusion of
                                                         of public nuisance claims
                                                            public nuisance        where the
                                                                            claims where the
23
23   condition alleged to
     condition alleged to be
                          be interfering
                             interfering with
                                         with aa public right involves
                                                 public right involves aa product’s
                                                                          product's design. Motion
                                                                                    design. Motion

24
24   at 34-35.
     at 34-35. There is no
               There is no basis
                           basis for this exclusion
                                 for this           in the
                                          exclusion in the common
                                                           common law.
                                                                  law. On the contrary,
                                                                       On the contrary, aa

25
25   nuisance-causing activity
     nuisance-causing activity includes
                               includes "all
                                        “all acts
                                             acts that
                                                  that are
                                                       are aa cause
                                                              cause of harm.” Restatement
                                                                    of harm." Restatement §§ 834
                                                                                             834
26
26   cmt. b. The
     cmt. b.     term "nuisance"
             The term “nuisance” refers
                                 refers "to
                                        “to the
                                            the interests
                                                interests invaded,
                                                          invaded, to
                                                                   to the
                                                                      the damage
                                                                          damage or harm
                                                                                 or harm

27
27   inflicted, and
     inflicted, and not
                    not to
                        to any
                           any particular
                               particular kind
                                          kind of act or
                                               of act or omission which has
                                                         omission which has led to the
                                                                            led to the invasion."
                                                                                       invasion.”
28
28   William L. Prosser,
     William L. Prosser, Handbook
                         Handbook of
                                  of the Law of
                                     the Law of Torts
                                                Torts §
                                                      § 87 (4th ed.
                                                        87 (4th     1971).
                                                                ed. 1971).

                                                  22
                                                  22
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                                                                                       TO DISMISS
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 11         State high courts
            State high courts considering
                              considering public nuisance claims
                                          public nuisance        involving products
                                                          claims involving products reject
                                                                                    reject
 22 Defendants'
    Defendants’ proposed
                proposed categorical
                         categorical exclusion, including with
                                     exclusion, including with respect to aa product’s
                                                               respect to    product's design,
                                                                                       design,
 33 as
    as has
       has the
           the Ninth
               Ninth Circuit.
                     Circuit. “‘[U]nder the Restatement's
                              `"[U]nder the Restatement’s broad
                                                          broad definition,
                                                                definition, aa public nuisance
                                                                               public nuisance
 44 action
    action can be maintained
           can be maintained for
                             for injuries
                                 injuries caused by aa product
                                          caused by    product if
                                                               if the
                                                                  the facts
                                                                      facts establish that the
                                                                            establish that the
 55 design,
    design, manufacturing,
            manufacturing, marketing,
                           marketing, or
                                      or sale
                                         sale of the product
                                              of the product unreasonably
                                                             unreasonably interferes
                                                                          interferes with
                                                                                     with aa
 66 right
    right common to the
          common to the general public.’” Ileto
                        general public.'" Ileto v.
                                                v. Glock Inc., 349
                                                   Glock Inc., 349 F.3d
                                                                   F.3d 1191,
                                                                        1191, 1214
                                                                              1214 (9th
                                                                                   (9th Cir.
                                                                                        Cir.
 77 2003)
    2003) (emphasis
          (emphasis added).
                    added). Simply
                            Simply put, “[i]f an
                                   put, "[i]f an activity meets the
                                                 activity meets the requirements
                                                                    requirements of
                                                                                 of an
                                                                                    an
 8 unreasonable
 8 unreasonable interference
                interference with
                             with aa public
                                     public right,
                                            right, it
                                                   it may
                                                      may constitute
                                                          constitute aa public nuisance.” City
                                                                        public nuisance." City of
                                                                                               of
 99 Gary, 801 N.E.2d
    Gary, 801 N.E.2d at 1233 (holding
                     at 1233 (holding that
                                      that city
                                           city stated
                                                stated claim for public
                                                       claim for        nuisance claim
                                                                 public nuisance       against
                                                                                 claim against
10 handgun
10 handgun manufacturers
           manufacturers under
                         under Indiana
                               Indiana law).
                                       law). In reversing aa lower
                                             In reversing    lower court’s
                                                                   court's dismissal
                                                                           dismissal of
                                                                                     of aa
11 public
11 public nuisance
          nuisance claim based on
                   claim based on aa categorical
                                     categorical exclusion
                                                 exclusion of
                                                           of claims involving products,
                                                              claims involving           the
                                                                               products, the
12 Delaware
12 Delaware Supreme
            Supreme Court recently explained
                    Court recently           that the
                                   explained that the issue
                                                      issue "is
                                                            “is not
                                                                not whether
                                                                    whether aa product is
                                                                               product is
13 involved
13 involved or whether the
            or whether the defendant
                           defendant exercised
                                     exercised control
                                               control of the product
                                                       of the product at
                                                                      at the
                                                                         the time
                                                                             time of the
                                                                                  of the
14 alleged
14 alleged nuisance[;]"
           nuisance[;]” rather,
                        rather, "the
                                “the crux
                                     crux of the issue
                                          of the issue is:
                                                       is: can
                                                           can aa product
                                                                  product manufacturer
                                                                          manufacturer be
                                                                                       be held
                                                                                          held
15 liable
15 liable after
          after aa product
                   product it
                           it manufactures
                              manufactures is
                                           is sold to third
                                              sold to third parties
                                                            parties whose
                                                                    whose activities
                                                                          activities release
                                                                                     release the
                                                                                             the
16 product
16 product into
           into the
                the environment and cause
                    environment and cause aa public
                                             public nuisance?"
                                                    nuisance?” Jennings,
                                                               Jennings, 299
                                                                         299 A.3d
                                                                             A.3d at
                                                                                  at 383.
                                                                                     383.
17 Following
17 Following what
             what it
                  it described as aa "common-sense
                     described as    “common-sense approach"
                                                   approach” and
                                                             and applying
                                                                 applying well-established
                                                                          well-established
18 common-law
18            principles, the
   common-law principles, the Jennings
                              Jennings Court held that
                                       Court held that the
                                                       the plaintiff had stated
                                                           plaintiff had stated aa claim
                                                                                   claim for
                                                                                         for
19 public
19 public nuisance
          nuisance against
                   against aa product
                              product manufacturer
                                      manufacturer who
                                                   who knew
                                                       knew or had reason
                                                            or had reason to
                                                                          to know that its
                                                                             know that its
20 products
20 products would
            would pose
                  pose an
                       an unreasonable
                          unreasonable risk
                                       risk to
                                            to public
                                               public health,
                                                      health, welfare,
                                                              welfare, and
                                                                       and safety.
                                                                           safety. Id.
                                                                                   Id. at
                                                                                       at 384.
                                                                                          384.
21
21          Despite Defendants'
            Despite Defendants’ insistence
                                insistence that
                                           that the
                                                the GE Plaintiffs’ public
                                                    GE Plaintiffs' public nuisance
                                                                          nuisance claims would
                                                                                   claims would
22 result
22 result in
          in "free-wheeling"
             “free-wheeling” and
                             and "limitless"
                                 “limitless” liability,
                                             liability, Motion
                                                        Motion at
                                                               at 47, 35, not
                                                                  47, 35, not every product
                                                                              every product
23 liability
23 liability claim involving personal
             claim involving personal injury
                                      injury could
                                             could give rise to
                                                   give rise to an
                                                                an interference
                                                                   interference with
                                                                                with public
                                                                                     public
24 health
24 health or public safety.
          or public safety. Very few products
                            Very few products create
                                              create aa condition that unreasonably
                                                        condition that unreasonably interferes
                                                                                    interferes
25 not
25 not only with the
       only with the rights
                     rights of the user
                            of the user or
                                        or consumer
                                           consumer of the product,
                                                    of the product, but
                                                                    but of the public
                                                                        of the public in
                                                                                      in general.
                                                                                         general.
26 However,
26 However, if
            if aa product
                  product creates
                          creates aa condition which unreasonably
                                     condition which unreasonably interferes
                                                                  interferes with
                                                                             with aa public
                                                                                     public
27 right,
27 right, aa public
             public nuisance
                    nuisance exists.
                             exists. In
                                     In aa case involving an
                                           case involving an alleged
                                                             alleged automotive
                                                                     automotive defect, for
                                                                                defect, for
28 example,
28          the court
   example, the       held that
                court held that aa public
                                   public nuisance
                                          nuisance claim
                                                   claim could proceed on
                                                         could proceed    allegations that
                                                                       on allegations that the
                                                                                           the
                                                  23
                                                  23
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                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                  OPPOSITION TO MOTION TO
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                                                                                       TO DISMISS
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 11   defect—airbags
      defect—airbags containing
                     containing aa propellant
                                   propellant that
                                              that was
                                                   was particularly
                                                       particularly unstable
                                                                    unstable in
                                                                             in the
                                                                                the local
                                                                                    local
 22   climate—interfered with the
      climate—interfered with the right
                                  right of public safety
                                        of public safety for
                                                         for all
                                                             all drivers
                                                                 drivers on the roads,
                                                                         on the roads, not
                                                                                       not just
                                                                                           just the
                                                                                                the
 33   owners
      owners of vehicles with
             of vehicles with the
                              the defective airbags. See
                                  defective airbags. See Takata
                                                         Takata Corp.,
                                                                Corp., 67
                                                                       67 V.I. at 403-11.
                                                                          V.I. at 403-11.
 44         For good
            For      reason, the
                good reason, the theory
                                 theory of public nuisance,
                                        of public nuisance, from
                                                            from its
                                                                 its origin, has been
                                                                     origin, has been aa broad
                                                                                         broad
    one.66 This
 55 one.        flexible doctrine
           This flexible doctrine ensures that parties
                                  ensures that parties who
                                                       who cause harm to
                                                           cause harm to aa public
                                                                            public right
                                                                                   right are
                                                                                         are held
                                                                                             held
 66 responsible
    responsible for
                for that
                    that harm.
                         harm. But
                               But the
                                   the doctrine is not
                                       doctrine is not limitless:
                                                       limitless: aa plaintiff must adequately
                                                                     plaintiff must adequately
 77 plead
    plead an
          an interference
             interference with
                          with aa public
                                  public right,
                                         right, that
                                                that the
                                                     the interference
                                                         interference is
                                                                      is unreasonable,
                                                                         unreasonable, and that the
                                                                                       and that the
 8 defendant
 8 defendant substantially
             substantially contributed to the
                           contributed to the creation
                                              creation or maintenance of
                                                       or maintenance    the nuisance.
                                                                      of the nuisance. In
                                                                                       In
 99 addition,
    addition, there
              there are
                    are limitations
                        limitations in
                                    in who
                                       who has
                                           has standing
                                               standing or
                                                        or statutory authority to
                                                           statutory authority to bring
                                                                                  bring public
                                                                                        public
10 nuisance
10 nuisance claims.
            claims. Where these requirements
                    Where these requirements are
                                             are met,
                                                 met, however,
                                                      however, courts applying the
                                                               courts applying the law
                                                                                   law of
                                                                                       of
11 the
11 the GE Plaintiffs’ jurisdictions
       GE Plaintiffs' jurisdictions have
                                    have all
                                         all upheld
                                             upheld public
                                                    public nuisance
                                                           nuisance claims involving products.
                                                                    claims involving products.
12 See,
12 See, e.g., In re
        e.g., In re Opiate Litig., 589
                    Opiate Litig.,     F. Supp.
                                   589 F.       3d 790,
                                          Supp. 3d      815 (N.D.
                                                   790, 815 (N.D. Ohio 2022) (rejecting
                                                                  Ohio 2022) (rejecting
13 pharmacy
13 pharmacy defendants’ argument that
            defendants' argument that allowing
                                      allowing nuisance
                                               nuisance claims under Ohio
                                                        claims under Ohio law
                                                                          law based
                                                                              based on
                                                                                    on
14 the
14 the opioid
       opioid crisis “would allow
              crisis "would allow consumers to convert
                                  consumers to         almost every
                                               convert almost       products liability
                                                              every products liability action
                                                                                       action
15 into
15 into aa public
           public nuisance
                  nuisance claim” and noting
                           claim" and noting that
                                             that the
                                                  the Ohio
                                                      Ohio Supreme Court has
                                                           Supreme Court has "specifically
                                                                             “specifically
16
16    emphasized the adaptability
      emphasized the adaptability of
                                  of Ohio
                                     Ohio law
                                          law to
                                              to new
                                                 new circumstances”) (citation omitted);
                                                     circumstances") (citation omitted); Ohio
                                                                                         Ohio
17
17    ex
      ex rel. Dewine v.
         rel. Dewine    Purdue Pharma
                     v. Purdue Pharma L.P.,
                                      L.P., No.
                                            No. 17
                                                17 CI 261, 2018
                                                   CI 261, 2018 WL
                                                                WL 4080052, at *4
                                                                   4080052, at    (Ohio Ct.
                                                                               *4 (Ohio Ct.
18 Com.
18       Pl. Aug.
   Coin. Pl. Aug. 22,
                  22, 2018)
                      2018) (finding
                            (finding public
                                     public nuisance
                                            nuisance claim adequately pled
                                                     claim adequately pled under
                                                                           under Ohio law
                                                                                 Ohio law
19 and
19 and citing the "broad
       citing the “broad definition
                         definition of public nuisance
                                    of public nuisance allowing
                                                       allowing an
                                                                an action
                                                                   action to
                                                                          to be
                                                                             be maintained
                                                                                maintained
20
20    ‘for injuries caused
      `for injuries        by aa product
                    caused by    product if
                                         if the
                                            the facts
                                                facts establish that the
                                                      establish that the design, manufacturing,
                                                                         design, manufacturing,
21 marketing,
21 marketing, or
              or sale
                 sale of the product
                      of the product unnecessarily
                                     unnecessarily interferes
                                                   interferes with
                                                              with aa right
                                                                      right common to the
                                                                            common to the
22
22    general public’”) (citation
      general public')  (citation omitted); Mayor &
                                  omitted); Mayor & City
                                                    City Council of Baltimore
                                                         Council of Baltimore v. Monsanto Co.,
                                                                              v. Monsanto Co.,
23
23
   6
     See Copart
24 6 See
24                 Indus., Inc.
          Copart Indus.,   Inc. v.
                                v. Consolidated    Edison Co.
                                   Consolidated Edison      Co. of   N.Y., 362
                                                                  of N.Y., 362 N.E.2d
                                                                                N.E.2d 968,
                                                                                        968, 971   (N.Y.
                                                                                             971 (N.Y.
     1977) (discussing
     1977)  (discussing the
                          the history
                              history of  public nuisance
                                      of public   nuisance at at common
                                                                 common lawlaw and
                                                                                and explaining   that,
                                                                                     explaining that,
25 "[a]long
25   “[a]long with
               with the
                     the civil remedy protecting
                         civil remedy   protecting rights
                                                     rights in
                                                             in land,
                                                                land, there
                                                                      there developed
                                                                             developed aa separate
                                                                                          separate
     principle that
26 principle
26              that an
                     an infringement
                        infringement of    the right
                                        of the right of  the crown,
                                                      of the  crown, or
                                                                      or of  the general
                                                                         of the          public, was
                                                                                 general public,  was aa
     crime and, in
     crime and,   in time,
                     time, this
                           this class
                                class of
                                      of offenses   was so
                                         offenses was     so enlarged
                                                             enlarged asas to
                                                                           to include
                                                                              include any
                                                                                       any ‘act not
                                                                                           `act not
27 warranted
27   warranted byby law,
                     law, or
                          or omission
                             omission toto discharge
                                            discharge aa legal
                                                          legal duty,  which inconveniences
                                                                 duty, which   inconveniences the
                                                                                                the
     public in
28 public
28           in the
                the exercise
                    exercise of  rights common
                              of rights common to  to all
                                                       all Her
                                                           Her Majesty's
                                                                Majesty’s subjects.')
                                                                            subjects.’”) (quoting
                                                                                         (quoting
     Stephen,
     Stephen, General
                General View
                         View ofof Criminal
                                   Criminal LawLaw of   England (1890),
                                                    of England     (1890), p.
                                                                            p. 105).
                                                                               105).
                                                      24
                                                      24
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                                           CORRECTED GOV'T ENTITIES’ OPPOSITION
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                                                                                TO MOTION    DISMISS
                                                                                          TO DISMISS
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 1 No.
 1 No. RDB-19-0483,
       RDB-19-0483, 2020
                    2020 WL 1529014, at
                         WL 1529014, at *10 (D. Md.
                                        *10 (D. Md. Mar.
                                                    Mar. 31,
                                                         31, 2020)
                                                             2020) ("The
                                                                   (“The City
                                                                         City has
                                                                              has
 22   alleged that
      alleged that Monsanto
                   Monsanto manufactured,
                            manufactured, distributed, marketed, and
                                          distributed, marketed, and promoted PCBs, resulting
                                                                     promoted PCBs, resulting
 3
 3    in the
      in the creation
             creation of
                      of aa public
                            public nuisance
                                   nuisance that
                                            that is
                                                 is harmful
                                                    harmful to
                                                            to health
                                                               health and
                                                                      and obstructs the free
                                                                          obstructs the free use
                                                                                             use of
                                                                                                 of
 44 the
    the City's
        City’s stormwater
               stormwater and
                          and other water systems
                              other water             waters.”);7 Maryland,
                                                  and waters.");7
                                          systems and             Maryland, 406 F. Supp.
                                                                            406 F.       3d
                                                                                   Supp. 3d
 55 at
    at 467-68 (allowing public
       467-68 (allowing public nuisance
                               nuisance claim against manufacturer
                                        claim against manufacturer of MTBE gasoline
                                                                   of MTBE gasoline
 66 additive);
    additive); City
               City of
                    of Wyoming, 210 F.
                       Wyoming, 210 F. Supp. 3d at
                                       Supp. 3d at 1162
                                                   1162 (holding
                                                        (holding city stated public
                                                                 city stated public nuisance
                                                                                    nuisance
 77 claim under Wisconsin
    claim under           law against
                Wisconsin law against manufacturers
                                      manufacturers of
                                                    of so-called “flushable” wipes
                                                       so-called "flushable" wipes that,
                                                                                   that,
 8 when
 8 when used
        used as
             as directed,
                directed, created problems in
                          created problems in municipal
                                              municipal sewer
                                                        sewer systems and where
                                                              systems and where defendants
                                                                                defendants
 99 "continued
    “continued their
               their sales
                     sales after
                           after gaining knowledge of
                                 gaining knowledge    the alleged
                                                   of the alleged problems");
                                                                  problems”); Lester
                                                                              Lester E.
                                                                                     E. Cox
                                                                                        Cox
10 Med.
10 Med. Ctrs.
        Ctrs. v. Amneal Pharms.,
              v. Amneal Pharms., LLC,
                                 LLC, No.
                                      No. 6:22-CV-03192-MDH, 2023 WL
                                          6:22-CV-03192-MDH, 2023    6323797, at
                                                                  WL 6323797, at
11
11    *4 (W.D. Mo.
      *4 (W.D. Mo. Sept. 28, 2023)
                   Sept. 28, 2023) (on
                                   (on motion
                                       motion to
                                              to dismiss, rejecting defendants’
                                                 dismiss, rejecting             argument that
                                                                    defendants' argument that
12 "Missouri
12 “Missouri law
             law bars
                 bars public-nuisance
                      public-nuisance claims
                                      claims premised
                                             premised on the marketing
                                                      on the marketing and
                                                                       and distribution of
                                                                           distribution of
13
13    lawful products");
      lawful products”); In
                         In re
                            re Opioid Litig., No.
                               Opioid Litig., No. 400000/2017, 2018 WL
                                                  400000/2017, 2018    3115102, at
                                                                    WL 3115102, at *22 (N.Y.
                                                                                   *22 (N.Y.
14
14    Sup.
      Sup. Ct.
           Ct. June 18, 2018)
               June 18, 2018) (denying
                              (denying motion
                                       motion to
                                              to dismiss public nuisance
                                                 dismiss public nuisance claim under New
                                                                         claim under New
15
15    York law against
      York law against opioid manufacturers); City
                       opioid manufacturers); City of
                                                   of Gary,
                                                      Gary, 801 N.E.2d at
                                                            801 N.E.2d at 1235
                                                                          1235 (allowing
                                                                               (allowing
16
16    public nuisance
      public nuisance claim under Indiana
                      claim under Indiana law
                                          law against handgun manufacturers
                                              against handgun manufacturers and
                                                                            and distributors
                                                                                distributors
17
17    where the
      where the defendants
                defendants knew
                           knew of
                                of downstream
                                   downstream practices with their
                                              practices with their products “and ha[d]
                                                                   products "and ha[d] it
                                                                                       it
18 within
18 within their
          their power
                power to
                      to curtail them but
                         curtail them but d[id] not do
                                          d[id] not    so for
                                                    do so for profit reasons”)8; City
                                                              profit reasons")8; City of Seattle,
                                                                                      of Seattle,
19
19    237 F.
      237 F. Supp. 3d at
             Supp. 3d    1107 (denying
                      at 1107 (denying motion
                                       motion to
                                              to dismiss
                                                 dismiss public nuisance claim
                                                         public nuisance claim against PCB
                                                                               against PCB
20
20    manufacturer).
      manufacturer).
21
21
22
22    7
        Defendants cite
      7 Defendants cite Cofield
                        Cofield v. Lead Industries
                                v. Lead Industries Ass
                                                   Ass’n,  Inc., No.
                                                       'n, Inc., No. MJG-99-3277,
                                                                     MJG-99-3277, 2000
                                                                                  2000 WL
                                                                                       WL
23
23      34292681, at
        34292681,   at *6-7   (D. Md.
                       *6-7 (D.   Md. Aug.
                                        Aug. 17,
                                              17, 2000),
                                                  2000), see
                                                           see Motion
                                                               Motion at   at 37,
                                                                              37, but
                                                                                  but subsequent   Maryland
                                                                                      subsequent Maryland
24
24      cases  have noted
        cases have  noted that
                            that no
                                 no other  Maryland authorities
                                     other Maryland    authorities have
                                                                     have followed
                                                                             followed Cofield’s   holding on
                                                                                       Cofield's holding    on
        public nuisance.
        public  nuisance. See
                            See Maryland
                                Maryland v.    Exxon Mobil
                                            v. Exxon   Mobil Corp.,
                                                               Corp., 406     F. Supp.
                                                                         406 F.         3d 420,
                                                                                  Supp. 3d  420, 467-68   (D.
                                                                                                 467-68 (D.
25
25      Md. 2019)
        Md.  2019) ("Maryland
                    (“Maryland courts      have never
                                   courts have   never adopted
                                                         adopted the
                                                                  the ‘exclusive
                                                                         `exclusive control’  rule for
                                                                                     control' rule for public
                                                                                                       public
26
26      nuisance liability
        nuisance  liability outlined   by the
                             outlined by  the court  in Cofield.
                                               court in  Cofield. To
                                                                  To thethe contrary,  Maryland courts
                                                                             contrary, Maryland    courts
        have found
        have  found that
                     that aa defendant   who created
                             defendant who    created or   substantially participated
                                                        or substantially     participated in
                                                                                          in the
                                                                                             the creation
                                                                                                 creation of
                                                                                                           of
27
27      the nuisance
        the nuisance may
                      may be be held
                                held liable
                                      liable even  though he
                                             even though    he (or
                                                                (or it)
                                                                    it) no
                                                                         no longer
                                                                             longer has
                                                                                     has control over the
                                                                                         control over  the
28
28      nuisance-causing instrumentality.")
        nuisance-causing     instrumentality.”) (citation
                                                 (citation omitted).
                                                             omitted).
      8 Indiana
        Indiana public
                 public nuisance
                         nuisance law
                                    law is
                                         is grounded
                                            grounded in in statute.
                                                           statute. See
                                                                    See Ind.
                                                                           Ind. Code
                                                                                Code §  32-30-6-6.
                                                                                      § 32-30-6-6.
                                                         25
                                                         25
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs              CORRECTED GOV’T ENTITIES'
                                              CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                        OPPOSITION TO MOTION TO
                                                                                   TO MOTION    DISMISS
                                                                                             TO DISMISS
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 1
 1          Defendants, in
            Defendants, in arguing
                           arguing that
                                   that "most
                                        “most courts” reject nuisance
                                              courts" reject nuisance liability
                                                                      liability based
                                                                                based on product
                                                                                      on product
 22   sales,
      sales, cite Restatement (Third)
             cite Restatement (Third) of
                                      of Torts: Liab. For
                                         Torts: Liab. For Econ.
                                                          Econ. Hann
                                                                Harm §§ 8
                                                                        8 cmt.
                                                                          cmt. g. Motion at
                                                                               g. Motion at 34.
                                                                                            34.
 3
 3    But this
      But this section
               section of the Restatement
                       of the Restatement only applies to
                                          only applies to "claims
                                                          “claims for
                                                                  for economic loss brought
                                                                      economic loss brought by
                                                                                            by
 44 aa private
       private party
               party who
                     who suffered an injury
                         suffered an injury distinct in kind
                                            distinct in kind from
                                                             from those
                                                                  those suffered
                                                                        suffered by
                                                                                 by members
                                                                                    members of
                                                                                            of
 55 the
    the affected
        affected community in general.”
                 community in           In re
                              general." In re Opiate Litig., 589
                                              Opiate Litig.,     F. Supp.
                                                             589 F.       3d 790,
                                                                    Supp. 3d      824 (N.D.
                                                                             790, 824 (N.D.
 66 Ohio 2022) (cleaned
    Ohio 2022) (cleaned up).
                        up). The
                             The comments to this
                                 comments to this section
                                                  section specifically acknowledge that
                                                          specifically acknowledge that the
                                                                                        the
 77 definition
    definition of “public nuisance"
               of "public nuisance” for
                                    for governmental
                                        governmental claims “‘tends to
                                                     claims "'tends to be
                                                                       be considerably
                                                                          considerably
 8
 8    broader than
      broader than the
                   the common-law
                       common-law definition recognized by
                                  definition recognized by this
                                                           this Section as aa basis
                                                                Section as    basis for
                                                                                    for aa private
                                                                                           private
 99 suit."'
    suit.’” Id.
            Id. (quoting
                (quoting Restatement
                         Restatement (Third)
                                     (Third) of
                                             of Torts: Liab. For
                                                Torts: Liab. For Econ.
                                                                 Econ. Harm
                                                                       Harm §§ 8
                                                                               8 cmt.
                                                                                 cmt. g). If
                                                                                      g). If
10
10    anything, the
      anything, the Restatement
                    Restatement undermines
                                undermines Defendants'
                                           Defendants’ position.
                                                       position.
11
11          Finally, it
            Finally, it bears
                        bears repeating
                              repeating that
                                        that the
                                             the purported
                                                 purported legality
                                                           legality of Defendants’ decisions
                                                                    of Defendants'           under
                                                                                   decisions under
12
12    the FMVSS
      the FMVSS does not excuse
                does not        them for
                         excuse them for liability
                                         liability for
                                                   for the
                                                       the nuisance
                                                           nuisance they
                                                                    they have
                                                                         have created.
                                                                              created. City
                                                                                       City of
                                                                                            of
13
13    Gary, 801 N.E.2d
      Gary, 801 N.E.2d at
                       at 1231
                          1231 ("Whether
                               (“Whether [a
                                         [a nuisance]
                                            nuisance] is
                                                      is unreasonable
                                                         unreasonable turns
                                                                      turns on whether the
                                                                            on whether the
14
14    activity, even
      activity,      if lawful,
                even if lawful, can be expected
                                can be          to impose
                                       expected to impose such
                                                          such costs
                                                               costs or inconvenience on
                                                                     or inconvenience on others
                                                                                         others
15
15    that those
      that those costs should be
                 costs should be borne
                                 borne by
                                       by the
                                          the generator
                                              generator of the activity,
                                                        of the activity, or the activity
                                                                         or the activity must
                                                                                         must be
                                                                                              be
16
16    stopped
      stopped or modified.”); see
              or modified."); see also
                                  also In
                                       In re Methyl Tertiary
                                          re Methyl          Butyl Ether
                                                    Tertiary Butyl Ether (“MTBE”) Prods. Liab.
                                                                         ("MTBE') Prods. Liab.
17 Litig.,
17 Litig., 457 F. Supp.
           457 F.       2d 298,
                  Supp. 2d 298, 309
                                309 (S.D.N.Y.
                                    (S.D.N.Y. 2006)
                                              2006) ("Where
                                                    (“Where the
                                                            the circumstances
                                                                circumstances of
                                                                              of aa
18
18    particular locality
      particular locality or the manner
                          or the manner in
                                        in which
                                           which the
                                                 the activities
                                                     activities are
                                                                are carried
                                                                    carried out
                                                                            out creates
                                                                                creates aa public
                                                                                           public
19
19    nuisance, no
      nuisance, no statute
                   statute criminalizing the activity
                           criminalizing the activity is
                                                      is necessary
                                                         necessary for
                                                                   for plaintiffs
                                                                       plaintiffs to
                                                                                  to proceed
                                                                                     proceed with
                                                                                             with
20
20    their claim”);
      their          Armory Park
            claim"); Armory Park Neighborhood
                                 Neighborhood Ass
                                              Ass’n
                                                  'n v. Episcopal Cmty.
                                                     v. Episcopal       Servs. in
                                                                  Cmty. Servs.    Ariz., 712
                                                                               in Ariz., 712
21
21    P.2d 914,
      P.2d 914, 922 (Ariz. 1985)
                922 (Ariz. 1985) ("[T]he
                                 (“[T]he inquiry
                                         inquiry in
                                                 in aa nuisance
                                                       nuisance claim is not
                                                                claim is not whether
                                                                             whether the
                                                                                     the activity
                                                                                         activity
22
22    allegedly constituting
      allegedly              the nuisance
                constituting the nuisance is
                                          is lawful
                                             lawful but
                                                    but whether
                                                        whether it
                                                                it is
                                                                   is reasonable
                                                                      reasonable under
                                                                                 under the
                                                                                       the
23
23    circumstances.”); Lake Hamilton
      circumstances."); Lake Hamilton Lakeshore
                                      Lakeshore Owners Ass’n,
                                                Owners Ass     Inc. v.
                                                           'n, Inc.    Neidlinger, 182
                                                                    v. Neidlinger, 182 So. 3d
                                                                                       So. 3d
24
24    738,
      738, 741 (Fla. Dist.
           741 (Fla. Dist. Ct. App. 2015)
                           Ct. App. 2015) ("An
                                          (“An activity
                                               activity can
                                                        can constitute
                                                            constitute aa judicially
                                                                          judicially abatable
                                                                                     abatable
25
25    nuisance notwithstanding
      nuisance notwithstanding full
                               full compliance with either
                                    compliance with        legislative mandate
                                                    either legislative mandate or
                                                                               or
26
26    administrative rule.")
      administrative rule.”) (quotation
                             (quotation marks
                                        marks and
                                              and citation
                                                  citation omitted).
                                                           omitted).
27
27
28
28
                                                   26
                                                   26
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1
 1            4.
              4.    Neither
                    Neither the
                            the OPLA
                                OPLA nor
                                     nor the WPLA abrogates
                                         the WPLA abrogates the
                                                            the GE
                                                                GE Plaintiffs’
                                                                   Plaintiffs' public
                                                                               public
22                  nuisance
                    nuisance claims.
                             claims.

3
3                   a.
                    a.     The
                           The OPLA
                               OPLA preempts
                                       preempts claims  seeking recovery
                                                 claims seeking  recovery for
                                                                          for personal
                                                                              personal
                           injury and
                           injury and property
                                       property damage,
                                                damage, not
                                                         not claims  seeking recovery
                                                             claims seeking  recovery for
                                                                                      for
 44                        economic  losses and
                           economic losses  and abatement.
                                                abatement.
 55           In Ohio,
              In       the OPLA
                 Ohio, the OPLA only preempts common
                                only preempts        law "product
                                              common law “product liability
                                                                  liability claims.”
                                                                            claims." Ohio
                                                                                     Ohio
 66 Rev.
    Rev. Code
         Code § 2307.71(B). The
              § 2307.71(B).     term "[p]roduct
                            The term “[p]roduct liability
                                                liability claim” refers to
                                                          claim" refers to aa claim that "seeks
                                                                              claim that “seeks
 77 to
    to recover
       recover compensatory
               compensatory damages” for "death,
                            damages" for “death, physical
                                                 physical injury
                                                          injury to
                                                                 to person,
                                                                    person, emotional
                                                                            emotional
 8
 8    distress,
      distress, or physical damage
                or physical        to property
                            damage to property other than the
                                               other than the product in question.”
                                                              product in            Id. §§
                                                                         question." Id.
 99 2307.71(A)(13).
    2307.71(A)(13). Although
                    Although "a
                             “a cause
                                cause of
                                      of action may concern
                                         action may concern aa product, it is
                                                               product, it is not
                                                                              not aa product
                                                                                     product
10
10    liability claim”—and
      liability            therefore is
                claim"—and therefore is not
                                        not preempted—"unless
                                            preempted—“unless it
                                                              it alleges
                                                                 alleges damages
                                                                         damages other than
                                                                                 other than
11
11    economic
      economic ones.” LaPuma v.
               ones." LaPuma v. Collinwood
                                Collinwood Concrete,
                                           Concrete, 661 N.E.2d 714,
                                                     661 N.E.2d 714, 716 (Ohio 1996)
                                                                     716 (Ohio 1996)
12
12    (relying on
      (relying    Ohio Rev.
               on Ohio Rev. Code
                            Code § 2307.72(C)). The
                                 § 2307.72(C)). The OPLA
                                                    OPLA does not preempt
                                                         does not preempt claims
                                                                          claims seeking
                                                                                 seeking
13
13    equitable relief either.
      equitable relief         In re
                       either. In re Opiate Litig., No.
                                     Opiate Litig., No. 1:17-md-2804,
                                                        1:17-md-2804, 2018
                                                                      2018 WL 6628898, at
                                                                           WL 6628898, at *14
                                                                                          *14
14
14    (N.D. Ohio
      (N.D.      Dec. 19,
            Ohio Dec. 19, 2018)
                          2018) (appeal pending).9 Since
                                (appeal pending).9       the remedy
                                                   Since the remedy of abatement is
                                                                    of abatement is equitable,
                                                                                    equitable,
15
15    the remedy
      the remedy is
                 is not
                    not preempted
                        preempted by
                                  by the
                                     the OPLA,
                                         OPLA, even when the
                                               even when the plaintiff
                                                             plaintiff is
                                                                       is seeking money to
                                                                          seeking money to
16
16    abate the
      abate the nuisance.
                nuisance. In
                          In re
                             re Opiate Litig., 622
                                Opiate Litig.,     F. Supp.
                                               622 F.       3d 584,
                                                      Supp. 3d 584, 605-07 (N.D. Ohio
                                                                    605-07 (N.D.      2022),
                                                                                 Ohio 2022),
17
17    appeal docketed,
      appeal docketed, No.
                       No. 22-3841
                           22-3841 (6th
                                   (6th Cir. 2022). The
                                        Cir. 2022).     Ohio GE
                                                    The Ohio    Plaintiffs are
                                                             GE Plaintiffs are not
                                                                               not seeking
                                                                                   seeking to
                                                                                           to
18
18    recover for
      recover for death, physical injury,
                  death, physical injury, emotional
                                          emotional distress,
                                                    distress, or property damage.
                                                              or property damage. They are
                                                                                  They are
19
19    seeking
      seeking economic
              economic damages and equitable
                       damages and           relief. The
                                   equitable relief. The OPLA therefore has
                                                         OPLA therefore has no
                                                                            no application
                                                                               application
20
20    here.
      here.
21
21            Defendants argue
              Defendants argue that
                               that aa 2007
                                       2007 amendment to the
                                            amendment to the OPLA
                                                             OPLA suggests
                                                                  suggests otherwise. Motion
                                                                           otherwise. Motion
22
22    at 38,
      at 38, 40. In so
             40. In so doing, they skip
                       doing, they skip over the 2005
                                        over the 2005 amendment,
                                                      amendment, which
                                                                 which undercuts
                                                                       undercuts their
                                                                                 their position.
                                                                                       position.
23
23
      9
24
24      After the
      9 After the defendants in the
                  defendants in the Opioid
                                    Opioid MDL
                                           MDL filed
                                               filed their
                                                     their motion,
                                                           motion, the
                                                                   the Sixth
                                                                       Sixth Circuit
                                                                             Circuit certified
                                                                                     certified
       sua sponte
       sua   sponte the
                    the following
                         following question    to the
                                     question to   the Ohio
                                                        Ohio Supreme
                                                               Supreme Court:       “Whether the
                                                                          Court: "Whether       the Ohio
                                                                                                     Ohio
25
25     Product Liability
       Product  Liability Act,
                           Act, Ohio   Revised Code
                                 Ohio Revised    Code §   2307.71 et
                                                        § 2307.71      seq., as
                                                                    et seq.,  as amended
                                                                                 amended in in 2005
                                                                                                2005 and
                                                                                                      and
26
26     2007, abrogates
       2007,  abrogates aa common
                           common lawlaw claim
                                          claim of  absolute public
                                                 of absolute         nuisance resulting
                                                              public nuisance    resulting from
                                                                                           from the
                                                                                                  the sale
                                                                                                      sale
       of
       of aa product
             product in
                     in commerce
                        commerce in  in which
                                        which the
                                                the plaintiffs
                                                     plaintiffs seek
                                                                seek equitable    abatement, including
                                                                      equitable abatement,      including
27
27     both monetary
       both   monetary and
                        and injunctive
                              injunctive remedies?"
                                          remedies?” InIn re
                                                           re Opiate    Litig., ---
                                                               Opiate Litig.,   --- F.4th
                                                                                     F.4th ---,
                                                                                           ---, Nos.
                                                                                                 Nos. 22-
                                                                                                       22-
28
28     3750/3751/3753/3841/3843/3844, 2023
       3750/3751/3753/3841/3843/3844,         2023 WLWL 5844325      (6th Cir.
                                                          5844325 (6th      Cir. Sept.   11, 2023).
                                                                                  Sept. 11,  2023). The
                                                                                                      The
       Supreme
       Supreme Court
                 Court of
                        of Ohio   has not
                           Ohio has   not yet
                                          yet decided   whether to
                                              decided whether    to answer    this question.
                                                                    answer this    question.
                                                       27
                                                       27
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs            CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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 1
 1   In the
     In the 2005
            2005 amendment,
                 amendment, the
                            the legislature
                                legislature added
                                            added the
                                                  the preemption
                                                      preemption language
                                                                 language of
                                                                          of Ohio Rev. Code
                                                                             Ohio Rev. Code
22   §§ 2307.71(B).
        2307.71(B). The legislative history
                    The legislative history for
                                            for this
                                                this amendment
                                                     amendment explains that the
                                                               explains that the intent
                                                                                 intent was
                                                                                        was to
                                                                                            to
3
3    supersede the Supreme
     supersede the Supreme Court
                           Court of Ohio’s decision
                                 of Ohio's          in Carrel
                                           decision in Carrel v. Allied Products
                                                              v. Allied Products Corp.,
                                                                                 Corp., 677
                                                                                        677
 44 N.E.2d
    N.E.2d 795 (Ohio 1997),
           795 (Ohio 1997), which
                            which held
                                  held that
                                       that common-law
                                            common-law claims for negligent
                                                       claims for negligent design
                                                                            design
 55 survived the enactment
    survived the enactment of the OPLA.
                           of the       In re
                                  OPLA. In re Opiate Litig., 2018
                                              Opiate Litig., 2018 WL
                                                                  WL 6628898,
                                                                     6628898, at
                                                                              at *13.
                                                                                 *13. The
                                                                                      The
 66 "General
    “General Assembly's
             Assembly’s inclusion
                        inclusion of Carrel” implies
                                  of Carrel" implies "the
                                                     “the intentional
                                                          intentional exclusion and therefore
                                                                      exclusion and therefore
 77 the
    the tacit
        tacit acceptance
              acceptance of the Ohio
                         of the Ohio Supreme
                                     Supreme Court’s holding in
                                             Court's holding in LaPuma."
                                                                LaPuma.” Id.
                                                                         Id. And
                                                                             And LaPuma,
                                                                                 LaPuma,
 8
 8   as noted
     as noted above,
              above, held
                     held that
                          that OPLA
                               OPLA only applies to
                                    only applies to claims that seek
                                                    claims that      recovery for
                                                                seek recovery for non-
                                                                                  non-
 99 economic losses. 661
    economic losses.     N.E.2d at
                     661 N.E.2d at 716.
                                   716. The
                                        The section LaPuma relied
                                            section LaPuma relied on (Ohio Rev.
                                                                  on (Ohio Rev. Code
                                                                                Code §
                                                                                     §
10
10   2307.72(C)) was
     2307.72(C)) was not
                     not altered
                         altered by
                                 by the
                                    the 2005
                                        2005 amendment
                                             amendment either.
                                                       either. Thus, the Ohio
                                                               Thus, the Ohio GE Plaintiffs’
                                                                              GE Plaintiffs'
11
11   common-law
     common-law claims here survive
                claims here         under the
                            survive under the 2005
                                              2005 amendment.
                                                   amendment.
12
12         The 2007 amendment
           The 2007 amendment is
                              is similarly unhelpful to
                                 similarly unhelpful to Defendants.
                                                        Defendants. The legislature made
                                                                    The legislature made
13
13   clear that this
     clear that this amendment
                     amendment was
                               was "not
                                   “not intended
                                        intended to
                                                 to be
                                                    be substantive.” In re
                                                       substantive." In re Opiate Litig., 2018
                                                                           Opiate Litig., 2018
14
14   WL
     WL 6628898, at *13
        6628898, at     (quoting 2006
                    *13 (quoting 2006 Ohio
                                      Ohio Laws
                                           Laws File
                                                File 198
                                                     198 (Am.
                                                         (Am. Sub.
                                                              Sub. S.B. 117)). Yet
                                                                   S.B. 117)). Yet
15
15   according to
     according to Defendants,
                  Defendants, this
                              this amendment
                                   amendment precludes
                                             precludes aa plaintiff
                                                          plaintiff from
                                                                    from pursuing
                                                                         pursuing public
                                                                                  public
16
16   nuisance claims
     nuisance        arising from
              claims arising from aa defective product. Motion
                                     defective product. Motion at
                                                               at 38,
                                                                  38, 40. Furthermore, the
                                                                      40. Furthermore, the text
                                                                                           text
17
17   of the 2007
     of the 2007 amendment
                 amendment confirms that the
                           confirms that the legislature
                                             legislature was
                                                         was not
                                                             not making
                                                                 making such
                                                                        such aa substantive
                                                                                substantive
18
18   change.
     change. The amendment merely
             The amendment merely clarifies that aa "product
                                  clarifies that    “product liability
                                                             liability claim,” for the
                                                                       claim," for the purposes
                                                                                       purposes
19
19   of the OPLA,
     of the       “also includes"
            OPLA, "also includes” public
                                  public nuisance
                                         nuisance claims. In re
                                                  claims. In re Opiate Litig., 2018
                                                                Opiate Litig., 2018 WL
                                                                                    WL
20
20   6628898, at
     6628898, at *14.
                 *14. The 2007 amendment
                      The 2007 amendment did not alter
                                         did not alter the
                                                       the definition
                                                           definition of
                                                                      of aa "product
                                                                            “product liability
                                                                                     liability
21
21   claim;” it simply
     claim;" it        provided an
                simply provided an example
                                   example of
                                           of aa product
                                                 product liability
                                                         liability claim. Id. Both
                                                                   claim. Id. Both before
                                                                                   before and
                                                                                          and
22
22   after the
     after the 2007
               2007 amendment,
                    amendment, aa public nuisance claim
                                  public nuisance       is only
                                                  claim is only aa "product
                                                                   “product liability
                                                                            liability claim” if
                                                                                      claim" if
23
23   non-economic damages
     non-economic         are sought.
                  damages are         Id. Again,
                              sought. Id. Again, the
                                                 the Ohio
                                                     Ohio GE Plaintiffs’ common-law
                                                          GE Plaintiffs' common-law
24
24   claims,
     claims, seeking
             seeking economic
                     economic damages,
                              damages, survive under the
                                       survive under the 2007
                                                         2007 amendment.
                                                              amendment.
25
25         Finally, even
           Finally,      assuming the
                    even assuming the OPLA
                                      OPLA extends to claims
                                           extends to claims seeking
                                                             seeking only
                                                                     only economic loss
                                                                          economic loss
26
26   and equitable
     and           relief, the
         equitable relief, the OPLA
                               OPLA does not affect
                                    does not affect Columbus's
                                                    Columbus’s claim based on
                                                               claim based on City
                                                                              City Code
                                                                                   Code §
                                                                                        §
27
27   701.19.
     701.19. This is because
             This is because the
                             the OPLA
                                 OPLA only
                                      only extinguishes “common law"
                                           extinguishes "common law” product
                                                                     product liability
                                                                             liability
28
28   claims, not statutory
     claims, not statutory ones. See id.
                           ones. See     at *15.
                                     id. at *15. Columbus
                                                 Columbus can thus proceed
                                                          can thus proceed on its statutory
                                                                           on its statutory
                                                 28
                                                 28
      NO. 8:22-
      No.      ML-03052-JVS-KES
          8:22-ML-03052-Jvs-KEs        CORRECTED GOV’T ENTITIES'
                                       CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                 OPPOSITION TO MOTION TO
                                                                            TO MOTION    DISMISS
                                                                                      TO DISMISS
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                                       #:6800


 1    nuisance claim
      nuisance       under City
               claim under City Code
                                Code §§ 701.19,
                                        701.19, even if Defendants'
                                                even if Defendants’ OPLA argument otherwise
                                                                    OPLA argument otherwise
 22 has
    has merit
        merit (which
              (which it
                     it does not).
                        does not).
 33                b.
                   b.    The WPLA does
                         The WPLA does not
                                       not bar
                                           bar Seattle’s
                                               Seattle's public
                                                         public nuisance
                                                                nuisance claim.
                                                                         claim.
 44         Defendants also
            Defendants also argue that the
                            argue that the WPLA bars the
                                           WPLA bars the City
                                                         City of
                                                              of Seattle’s
                                                                 Seattle's claim. Motion at
                                                                           claim. Motion at
 55 40. However, "Seattle's
    40. However, “Seattle’s public
                            public nuisance
                                   nuisance claim is grounded
                                            claim is grounded on
                                                              on statutory
                                                                 statutory causes
                                                                           causes of
                                                                                  of action,
                                                                                     action,
    see Wash.
 66 see       Rev. Code
        Wash. Rev. Code §§ 7.48.010 to .130,
                           7.48.010 to       not common
                                       .130, not        law, so
                                                 common law, so it
                                                                it is
                                                                   is not
                                                                      not preempted
                                                                          preempted by
                                                                                    by the
                                                                                       the
 77 WPLA.”
    WPLA." City
           City of Seattle, 237
                of Seattle, 237 F.
                                F. Supp. 3d at
                                   Supp. 3d at 1107
                                               1107 (denying
                                                    (denying motion
                                                             motion to
                                                                    to dismiss
                                                                       dismiss public
                                                                               public
   nuisance claim
 8 nuisance
 8                against product
            claim against product manufacturer).
                                  manufacturer). In
                                                 In addition,
                                                    addition, the
                                                              the WPLA
                                                                  WPLA does not preempt
                                                                       does not preempt
 99 common-law nuisance claims
    common-law nuisance        based on
                        claims based    allegations of
                                     on allegations    intentional conduct.
                                                    of intentional          See La.
                                                                   conduct. See La.-Pac.
                                                                                    -Pac.
10
10    Corp.
      Corp. v. ASARCO Inc.,
            v. ASARCO Inc., 24
                            24 F.3d
                               F.3d 1565,
                                    1565, 1584
                                          1584 (9th
                                               (9th Cir. 1994), as
                                                    Cir. 1994), as amended (Aug. 30,
                                                                   amended (Aug. 30, 1994).
                                                                                     1994).
11
11          As Defendants
            As Defendants acknowledge,
                          acknowledge, the
                                       the WPLA
                                           WPLA does not encompass
                                                does not encompass claims based on
                                                                   claims based on
   intentionally caused
12 intentionally
12                      harm. Motion
                 caused harm. Motion at
                                     at 40. Here, the
                                        40. Here, the Complaint alleges that
                                                      Complaint alleges that Defendants
                                                                             Defendants
   made aa conscious
13 made
13         conscious decision to forgo
                     decision to forgo standard anti-theft measures
                                       standard anti-theft measures in
                                                                    in the
                                                                       the Susceptible
                                                                           Susceptible
14
14    Vehicles, and that
      Vehicles, and that Defendants
                         Defendants were
                                    were aware
                                         aware of the risks
                                               of the risks and
                                                            and likely
                                                                likely consequences
                                                                       consequences of
                                                                                    of doing
                                                                                       doing
15
15    so.
      so. CGEC
          CGEC ¶¶ 3, 73-80.
               ¶¶ 3,        Based on
                     73-80. Based    these allegations,
                                  on these allegations, which
                                                        which must
                                                              must be
                                                                   be taken
                                                                      taken as
                                                                            as true
                                                                               true at
                                                                                    at this
                                                                                       this
16
16    stage, the GE
      stage, the    Plaintiffs have
                 GE Plaintiffs have pleaded
                                    pleaded intentional
                                            intentional conduct. “If the
                                                        conduct. "If the actor
                                                                         actor knows
                                                                               knows that
                                                                                     that the
                                                                                          the
17
17    consequences are certain,
      consequences are certain, or
                                or substantially
                                   substantially certain, to result
                                                 certain, to result from his act,
                                                                    from his act, and
                                                                                  and still
                                                                                      still goes
                                                                                            goes
   ahead, he
18 ahead,
18        he is
             is treated
                treated by
                        by the
                           the law
                               law as
                                   as if
                                      if he
                                         he had
                                            had in
                                                in fact
                                                   fact desired to produce
                                                        desired to produce the
                                                                           the result."
                                                                               result.” Bradley
                                                                                        Bradley
19
19    v. Am. Smelting
      v. Am. Smelting &
                      & Ref.
                        Ref. Co.,
                             Co., 709 P.2d 782,
                                  709 P.2d 782, 785 (Wash. 1985)
                                                785 (Wash. 1985) (quoting
                                                                 (quoting Restatement
                                                                          Restatement §§ 8A,
                                                                                         8A,
20
20    cmt. b (1965)).
      cmt. b (1965)).
21
21          5.
            5.     Defendants’ additional
                   Defendants' additional Ohio-specific
                                          Ohio-specific arguments
                                                        arguments fail.
                                                                  fail.
22
22          Defendants advance
            Defendants advance three
                               three additional arguments specific
                                     additional arguments          to Ohio
                                                          specific to Ohio GE Plaintiffs: first,
                                                                           GE Plaintiffs: first,
23 aa quasi-preemption
23                     argument that
      quasi-preemption argument that FMVSS
                                     FMVSS regulations
                                           regulations exempt them from
                                                       exempt them from liability
                                                                        liability for
                                                                                  for Ohio
                                                                                      Ohio
24 public
24 public nuisance
          nuisance claims;
                   claims; second, that the
                           second, that the Ohio
                                            Ohio GE Plaintiffs have
                                                 GE Plaintiffs have not
                                                                    not alleged all elements
                                                                        alleged all elements
25
25    of their absolute
      of their absolute public
                        public nuisance
                               nuisance claims; and third,
                                        claims; and third, that
                                                           that Columbus has not
                                                                Columbus has not sufficiently
                                                                                 sufficiently
26 alleged
26 alleged aa specific
              specific element
                       element of its statutory
                               of its           public nuisance
                                      statutory public nuisance claim. Each of
                                                                claim. Each    these arguments
                                                                            of these arguments
27 fails
27 fails for
         for the
             the reasons
                 reasons set
                         set out below.
                             out below.
28
28
                                                   29
                                                   29
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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                                       #:6801


 1
 1                   a.
                     a.      The Court should
                             The Court should reject
                                              reject the Defendants’ quasi-preemption
                                                     the Defendants' quasi-preemption
 22                          argument.
                             argument.

 3
 3           Defendants’ quasi-preemption
             Defendants' quasi-preemption argument
                                          argument fails because Defendants
                                                   fails because Defendants cannot
                                                                            cannot show that
                                                                                   show that
    FMVSS 114
 44 FMVSS 114 preempts
              preempts or indirectly bars
                       or indirectly bars the
                                          the Ohio
                                              Ohio GE Plaintiffs’ claims.
                                                   GE Plaintiffs' claims. The
                                                                          The Safety Act
                                                                              Safety Act
 55 specifically states that
    specifically states that "[c]ompliance
                             “[c]ompliance with
                                           with aa motor
                                                   motor vehicle
                                                         vehicle safety
                                                                 safety standard prescribed
                                                                        standard prescribed
    under this
 66 under this chapter
               chapter does not exempt
                       does not exempt aa person
                                          person from liability at
                                                 from liability at common law.” 49
                                                                   common law."    U.S.C. §§
                                                                                49 U.S.C.
    30103(e). The
 77 30103(e). The Safety Act therefore
                  Safety Act therefore explicitly preserves state
                                       explicitly preserves       tort claims
                                                            state tort        that demand
                                                                       claims that demand aa
 8
 8    higher level
      higher level of
                   of safety than required
                      safety than required by
                                           by FMVSS
                                              FMVSS regulations.
                                                    regulations. See
                                                                 See Geier,
                                                                     Geier, 529 U.S. at
                                                                            529 U.S. at 868-
                                                                                        868-
 99 70.
    70. This alone should
        This alone should doom the Defendants'
                          doom the Defendants’ quasi-preemption
                                               quasi-preemption argument—that FMVSS
                                                                argument—that FMVSS
10
10    114 somehow
      114         bars the
          somehow bars the Ohio
                           Ohio GE Plaintiffs’ claims,
                                GE Plaintiffs' claims, even if it
                                                       even if it does not preempt
                                                                  does not         those claims.
                                                                           preempt those claims.
11
11           Nonetheless, despite
             Nonetheless,         the plain
                          despite the plain language
                                            language of
                                                     of 49 U.S.C. §§ 30103(e),
                                                        49 U.S.C.    30103(e), Defendants
                                                                               Defendants insist
                                                                                          insist
12
12    that the
      that the FMVSS
               FMVSS regulations
                     regulations exempt them from
                                 exempt them from liability
                                                  liability for
                                                            for an
                                                                an Ohio public nuisance
                                                                   Ohio public nuisance claim.
                                                                                        claim.
13
13    But the
      But the Ohio
              Ohio Supreme
                   Supreme Court has never
                           Court has never used
                                           used aa federal
                                                   federal regulation
                                                           regulation (or
                                                                      (or for
                                                                          for that
                                                                              that matter,
                                                                                   matter, any
                                                                                           any
14
14    regulation)10 to
      regulation)1° to provide
                       provide immunity
                               immunity for
                                        for aa public
                                               public nuisance.
                                                      nuisance. If
                                                                If aa defendant
                                                                      defendant cannot
                                                                                cannot show that
                                                                                       show that
15
15    federal law
      federal law preempts
                  preempts aa state-law public nuisance
                              state-law public nuisance claim,
                                                        claim, aa defendant
                                                                  defendant cannot
                                                                            cannot defeat
                                                                                   defeat aa state-
                                                                                             state-
16
16    law public
      law public nuisance
                 nuisance claim through the
                          claim through the incorporation
                                            incorporation of federal law.
                                                          of federal law. The
                                                                          The case law cited
                                                                              case law       by
                                                                                       cited by
17
17    Defendants does
      Defendants      not assist
                 does not assist them.
                                 them. Defendants'
                                       Defendants’ reliance
                                                   reliance on
                                                            on City
                                                               City of
                                                                    of Cleveland
                                                                       Cleveland v. Ameriquest
                                                                                 v. Ameriquest
   Mortgage Securities,
18 Mortgage
18          Securities, Inc.,
                        Inc., 621
                              621 F.
                                  F. Supp. 2d 513
                                     Supp. 2d     (N.D. Ohio
                                              513 (N.D. Ohio 2009),
                                                             2009), is
                                                                    is misplaced.
                                                                       misplaced. The Ohio
                                                                                  The Ohio
19
19    Supreme
      Supreme Court has insisted
              Court has insisted that
                                 that the
                                      the defendant prove that
                                          defendant prove that its
                                                               its conduct was authorized
                                                                   conduct was authorized by
                                                                                          by
20
20
21
21
      10
22
22    1° See Allen
         See  Allen Freight
                      Freight Lines,
                                 Lines, Inc.
                                        Inc. v.   Consolidated Rail
                                               v. Consolidated      Rail Corp.,
                                                                         Corp., 595   N.E.2d 855,
                                                                                 595 N.E.2d    855, 857
                                                                                                     857 (Ohio
                                                                                                           (Ohio
        1992) (analyzing
        1992)  (analyzing Ohio       Rev. Code
                              Ohio Rev.    Code 5577.05
                                                   5577.05 asas aa "proper
                                                                   “proper exercise
                                                                            exercise of  legislative authority"
                                                                                      of legislative authority”
23
23      that eliminated
        that eliminated aa legal
                              legal duty   as aa matter
                                     duty as     matter of   law); City
                                                         of law);    City of Mingo Junction
                                                                          of Mingo   Junction v.   Sheline, 196
                                                                                                v. Sheline,  196
24
24      N.E. 897
       N.E.   897 (Ohio
                   (Ohio 1935)
                            1935) (analyzing
                                    (analyzing Ohio
                                                  Ohio Rev.
                                                        Rev. Code
                                                               Code §§ 3714);
                                                                        3714); Toledo   Disposal Co.
                                                                                Toledo Disposal    Co. v.  State,
                                                                                                        v. State,
        106 N.E.
        106  N.E. 66 (Ohio
                     (Ohio 1914)
                              1914) (paragraphs
                                     (paragraphs 33 and
                                                      and 44 of
                                                              of syllabus)  (Ohio license
                                                                 syllabus) (Ohio   license to
                                                                                           to operate  business
                                                                                              operate business
25
25      “passed within
       "passed   within itsits legislative
                               legislative power"
                                            power” and
                                                     and "made
                                                           “made under
                                                                    under legislative
                                                                           legislative authority");
                                                                                       authority”); Heckler
                                                                                                     Heckler v. v.
26
26      State ex
       State  ex rel.
                 rel. Cleveland,
                       Cleveland, 144 144 N.E.
                                           N.E. 700    (Ohio 1924)
                                                  700 (Ohio    1924) (paragraph
                                                                       (paragraph 11 of  syllabus) ("The
                                                                                      of syllabus)  (“The state
                                                                                                            state
        Legislature in
        Legislature   in the
                          the exercise
                               exercise of   its police
                                         of its  police power
                                                         power hashas authorized
                                                                      authorized the
                                                                                   the erection  and operation
                                                                                       erection and   operation
27
27      of
        of garbage   plants by
           garbage plants     by municipalities,
                                  municipalities, within
                                                     within or   without their
                                                              or without  their limits,
                                                                                limits, and
                                                                                        and any
                                                                                             any such
                                                                                                  such plant
                                                                                                        plant so
                                                                                                               so
28
28      equipped   and operated
        equipped and     operated as as to
                                        to eliminate    all avoidable
                                            eliminate all   avoidable gases,
                                                                         gases, odors,  and liquids
                                                                                odors, and   liquids cannot
                                                                                                     cannot bebe
        abolished as
        abolished   as aa public   nuisance.”).
                          public nuisance.").
                                                           30
                                                           30
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs               CORRECTED GOV’T ENTITIES'
                                               CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                         OPPOSITION TO MOTION TO
                                                                                    TO MOTION    DISMISS
                                                                                              TO DISMISS
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 1
 1    the Ohio
      the      legislature, not
          Ohio legislature, not merely
                                merely in
                                       in compliance with aa federal
                                          compliance with    federal regulatory
                                                                     regulatory scheme.
                                                                                scheme.
 22   Defendants cannot
      Defendants cannot do that here.
                        do that here.
 3
 3          Moreover, aa plaintiff
            Moreover,    plaintiff need
                                   need not
                                        not show
                                            show unlawful
                                                 unlawful conduct to prevail
                                                          conduct to prevail on an absolute
                                                                             on an absolute
 44 nuisance
    nuisance claim, and Defendants
             claim, and Defendants have
                                   have failed
                                        failed to
                                               to show
                                                  show that
                                                       that FMVSS
                                                            FMVSS 114
                                                                  114 displaces their
                                                                      displaces their
 55 common law duties
    common law        by specifically
               duties by specifically authorizing their conduct.
                                      authorizing their conduct. Ohio
                                                                 Ohio law
                                                                      law recognizes two
                                                                          recognizes two
 66 types
    types of public nuisances:
          of public nuisances: absolute
                               absolute nuisances
                                        nuisances and
                                                  and qualified nuisances. Nottke
                                                      qualified nuisances. Nottke v. Norfolk
                                                                                  v. Norfolk
 77 S.
    S. Ry.
       Ry. Co., 264 F.
           Co., 264 F. Supp. 3d 859,
                       Supp. 3d 859, 862
                                     862 (N.D.
                                         (N.D. Ohio 2017). An
                                               Ohio 2017). An absolute
                                                              absolute nuisance
                                                                       nuisance can
                                                                                can consist
                                                                                    consist
 8
 8    of
      of either (1) "an
         either (1) “an intentional
                        intentional act
                                    act resulting
                                        resulting in
                                                  in harm";
                                                     harm”; or (2) an
                                                            or (2) an act
                                                                      act involving “unlawful
                                                                          involving "unlawful
 99 conduct
    conduct causing
            causing unintentional harm.”11 Id.
                    unintentional harm.""  Id. (quoting
                                               (quoting Gevelaar
                                                        Gevelaar v. Millennium Inorganic
                                                                 v. Millennium Inorganic
10
10    Chems., No. 2012-A-0013,
      Chems., No. 2012-A-0013, 2013
                               2013 WL
                                    WL 501745,
                                       501745, at
                                               at *3 (Ohio Ct.
                                                  *3 (Ohio     App. Feb.
                                                           Ct. App. Feb. 8, 2013)); Beretta,
                                                                         8, 2013)); Beretta,
11
11    768 N.E.2d at
      768 N.E.2d at 1143
                    1143 n.4
                         n.4 (same).
                             (same). A
                                     A "cause
                                       “cause of action in
                                              of action in qualified nuisance is
                                                           qualified nuisance is essentially an
                                                                                 essentially an
12
12    action in
      action in negligence."
                negligence.” Paulus
                             Paulus v.
                                    v. Citicorp N. Am.,
                                       Citicorp N. Am., Inc.,
                                                        Inc., No.
                                                              No. 2:12-cv-856,
                                                                  2:12-cv-856, 2014
                                                                               2014 WL
                                                                                    WL
13
13    4557603,
      4557603, at
               at *17 (S.D. Ohio
                  *17 (S.D. Ohio Sept. 12, 2014)
                                 Sept. 12, 2014) (quoting
                                                 (quoting Hardin
                                                          Hardin v. Naughton, No.
                                                                 v. Naughton, No. 98645,
                                                                                  98645,
14
14    2013 WL
      2013    1696054, at
           WL 1696054, at *5 (Ohio Ct.
                          *5 (Ohio     App. Apr.
                                   Ct. App. Apr. 18,
                                                 18, 2013)).
                                                     2013)).
15
15          The
            The gist
                gist of Defendants’ quasi-preemption
                     of Defendants'                  argument is
                                    quasi-preemption argument is that
                                                                 that the
                                                                      the Ohio
                                                                          Ohio GE Plaintiffs
                                                                               GE Plaintiffs
16
16    must show
      must      that Defendants'
           show that Defendants’ conduct was unlawful.
                                 conduct was unlawful. A
                                                       A plaintiff,
                                                         plaintiff, however,
                                                                    however, can recover for
                                                                             can recover for
17
17    an absolute
      an absolute nuisance
                  nuisance caused by either
                           caused by        intentional conduct
                                     either intentional conduct or unintentional unlawful
                                                                or unintentional unlawful
18
18    conduct.
      conduct. So
               So even if this
                  even if this quasi-preemption argument applied
                               quasi-preemption argument applied to
                                                                 to the
                                                                    the Ohio
                                                                        Ohio GE Plaintiffs’
                                                                             GE Plaintiffs'
19
19    qualified nuisance claims,
      qualified nuisance         it would
                         claims, it would not
                                          not apply
                                              apply to
                                                    to their
                                                       their absolute
                                                             absolute nuisance
                                                                      nuisance claims. See Nottke,
                                                                               claims. See Nottke,
20
20    264 F.
      264 F. Supp. 3d 863-66
             Supp. 3d 863-66 (concluding
                             (concluding that
                                         that plaintiff
                                              plaintiff had
                                                        had stated
                                                            stated aa claim for absolute
                                                                      claim for absolute nuisance
                                                                                         nuisance
21
21    while also
      while also concluding that plaintiff's
                 concluding that plaintiff’s claim for qualified
                                             claim for           nuisance was
                                                       qualified nuisance was barred
                                                                              barred by
                                                                                     by federal
                                                                                        federal
22
22    regulations).
      regulations).
23
23          But the
            But the quasi-preemption argument does
                    quasi-preemption argument      not bar
                                              does not bar the
                                                           the Ohio
                                                               Ohio GE Plaintiffs’ qualified
                                                                    GE Plaintiffs' qualified
24
24    nuisance claim
      nuisance claim either.
                     either. Such
                             Such aa claim, as stated
                                     claim, as stated above,
                                                      above, is
                                                             is similar
                                                                similar to
                                                                        to aa claim for negligence.
                                                                              claim for negligence.
25 "Compliance
25 “Compliance with
               with aa legislative
                       legislative enactment
                                   enactment or an administrative
                                             or an administrative regulation
                                                                  regulation does not prevent
                                                                             does not prevent
26
26
27
27    11
        An absolute
      " An  absolute nuisance
                     nuisance can also consist
                              can also  consist of
                                                of aa non-culpable
                                                      non-culpable act
                                                                   act resulting
                                                                       resulting in
                                                                                 in accidental
                                                                                    accidental
28
28     harm from
       harm  from an
                  an abnormally
                     abnormally dangerous
                                 dangerous condition.    Nottke, 264
                                              condition. Nottke, 264 F.
                                                                      F. Supp.  3d at
                                                                         Supp. 3d  at 862.
                                                                                      862. This
                                                                                           This
       type of
       type    absolute nuisance
            of absolute nuisance is
                                 is not
                                    not at
                                        at issue
                                           issue here.
                                                 here.
                                                   31
                                                   31
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1   aa finding
        finding of negligence where
                of negligence where aa reasonable
                                       reasonable man
                                                  man would
                                                      would take
                                                            take additional
                                                                 additional precautions."
                                                                            precautions.”
 22 Restatement
    Restatement §§ 288C;
                   288C; see
                         see also
                             also Nichols
                                  Nichols v.
                                          v. Coast Distrib. Sys.,
                                             Coast Distrib. Sys., 621 N.E.2d 738,
                                                                  621 N.E.2d 738, 740 (Ohio
                                                                                  740 (Ohio
 33 1993)
    1993) (citing
          (citing the
                  the Restatement).
                      Restatement). Where
                                    Where aa statute,
                                             statute, ordinance,
                                                      ordinance, or regulation provides
                                                                 or regulation provides aa
 44 standard
    standard of
             of care, the "standard
                care, the “standard defined is normally
                                    defined is normally aa minimum
                                                           minimum standard,
                                                                   standard, applicable to the
                                                                             applicable to the
 55 ordinary
    ordinary situations
             situations contemplated by the
                        contemplated by the legislation."
                                            legislation.” Restatement
                                                          Restatement §§ 288C
                                                                         288C cmt. a.12 Here,
                                                                              cmt. a.'2 Here,
 66 the
    the FMVSS
        FMVSS regulation
              regulation specifically stated they
                         specifically stated they provide
                                                  provide "minimum
                                                          “minimum standards
                                                                   standards for motor
                                                                             for motor
 77 vehicle
    vehicle or motor vehicle
            or motor vehicle equipment performance.” 49
                             equipment performance."    U.S.C. §§ 30102(a)(10).
                                                     49 U.S.C.    30102(a)(10). True, in
                                                                                True, in
 8 "some
 8 “some instances,
         instances, aa statute
                       statute defines
                               defines aa duty
                                          duty so thoroughly that
                                               so thoroughly that it
                                                                  it applies
                                                                     applies in
                                                                             in all
                                                                                all situations
                                                                                    situations and
                                                                                               and
 99 replaces
    replaces common-law
             common-law duties.” Nichols, 621
                        duties." Nichols,     N.E.2d at
                                          621 N.E.2d at 740. But that
                                                        740. But that is
                                                                      is not
                                                                         not the
                                                                             the case here.
                                                                                 case here.
10
10   On the contrary,
     On the           the FMVSS
            contrary, the FMVSS regulations
                                regulations do the opposite
                                            do the          by stating
                                                   opposite by         that they
                                                               stating that they do not
                                                                                 do not
11
11   eliminate
     eliminate aa manufacturer's
                  manufacturer’s common law duties.
                                 common law duties. 49 U.S.C. §§ 30103(e).
                                                    49 U.S.C.    30103(e).
12
12         Two
           Two of the cases
               of the cases cited by Defendants
                            cited by Defendants highlight
                                                highlight the
                                                          the distinction between general
                                                              distinction between general
13
13   compliance with the
     compliance with the law
                         law and
                             and the
                                 the type
                                     type of specific authorization
                                          of specific authorization that
                                                                    that displaces
                                                                         displaces common law
                                                                                   common law
14
14   duties. In Allen
     duties. In Allen Freight,
                      Freight, the
                               the statute at issue
                                   statute at issue made
                                                    made clear there was
                                                         clear there was no
                                                                         no legal
                                                                            legal duty, which
                                                                                  duty, which
15
15   eliminated any qualified
     eliminated any           nuisance claim.
                    qualified nuisance claim. 595 N.E.2d at
                                              595 N.E.2d at 856. In Ameriquest,
                                                            856. In Ameriquest, regulators
                                                                                regulators
16 "were
16 “were explicitly
         explicitly encouraging the very
                    encouraging the very conduct
                                         conduct of which the
                                                 of which the City
                                                              City complain[ed].”
                                                                   complain[ed]." 621 F.
                                                                                  621 F.
17
17   Supp. 2d at
     Supp. 2d at 526-31. Defendants have
                 526-31. Defendants have not
                                         not argued,
                                             argued, and
                                                     and cannot argue, that
                                                         cannot argue, that NHTSA
                                                                            NHTSA
18 encourages
18            manufacturers to
   encourages manufacturers to forgo
                               forgo immobilizers
                                     immobilizers and
                                                  and other forms of
                                                      other forms of equally
                                                                     equally effective anti-
                                                                             effective anti-
19 theft
19 theft technology.
         technology.
20
20         Defendants’ quasi-preemption
           Defendants' quasi-preemption obstacle
                                        obstacle faces
                                                 faces one
                                                       one final
                                                           final obstacle:
                                                                 obstacle: If the bar
                                                                           If the bar set by
                                                                                      set by
21 FMVSS
21 FMVSS 114
         114 is
             is as
                as low
                   low as
                       as they
                          they claim, then the
                               claim, then the regulation
                                               regulation cannot immunize their
                                                          cannot immunize their conduct.
                                                                                conduct.
22
22   In Beretta,
     In Beretta, the
                 the city
                     city challenged the defendant’s
                          challenged the             practices in
                                         defendant's practices in distributing firearms, and
                                                                  distributing firearms, and the
                                                                                             the
23
23   defendant argued that
     defendant argued that its
                           its conduct was legislatively
                               conduct was legislatively authorized.
                                                         authorized. The
                                                                     The Supreme
                                                                         Supreme Court
                                                                                 Court of
                                                                                       of Ohio
                                                                                          Ohio
24 rejected
24 rejected this
            this position:
                 position:
25
25
     12
26
26     The Restatement provides an example: The “enactment of an automobile speed limit
     12 The Restatement provides an example: The "enactment of an automobile speed limit
      of forty miles
      of forty miles an
                      an hour
                         hour does  not mean
                              does not  mean that
                                              that the
                                                   the driver  is free
                                                        driver is free to
                                                                       to proceed
                                                                           proceed always
                                                                                    always at
                                                                                            at that
                                                                                               that
27
27    speed,  and he
      speed, and  he may
                      may be
                           be required
                              required to
                                       to slow
                                          slow down
                                                down toto fifteen
                                                          fifteen miles
                                                                  miles anan hour,
                                                                             hour, or
                                                                                    or even to stop,
                                                                                       even to stop,
28
28    where traffic
      where  traffic conditions require it."
                     conditions require it.” Restatement
                                             Restatement (Second)
                                                            (Second) ofof Torts
                                                                          Torts §§ 288C
                                                                                   288C cmt.
                                                                                         cmt. aa
      (1965).
      (1965).
                                                    32
                                                    32
      NO. 8:22-
      No.      ML-03052-JVS-KES
          8:22-ML-03052-Jvs-KEs           CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11                  Even though
                     Even   though there
                                     there exists
                                           exists aa comprehensive     regulatory scheme
                                                     comprehensive regulatory        scheme
 22                  involving the
                     involving   the manufacturing,
                                     manufacturing, sales,   and distribution
                                                      sales, and distribution of   firearms,
                                                                               of firearms,
                     see, e.g.,
                     see, e.g., Section
                                Section 922,
                                        922, Title 18, U.S.
                                             Title 18, U.S. Code;  Part 178,
                                                            Code; Part  178, Title,
                                                                              Title, C.F.R.,
                                                                                     C.F.R.,
 33                  the law
                     the law does   not regulate
                              does not  regulate the
                                                 the distribution practices alleged
                                                     distribution practices  alleged inin the
                                                                                          the
 44                  complaint.
                     complaint.

 55 768  N.E.2d at
    768 N.E.2d  at 1143.
                   1143. A
                         A similar
                           similar statement
                                   statement could   be made
                                              could be  made here:
                                                              here: yes,
                                                                    yes, FMVSS
                                                                         FMVSS 114
                                                                                 114 provides
                                                                                     provides

 66 certain minimum standards
    certain minimum               for anti-theft
                       standards for   anti-theft technology,
                                                  technology, but
                                                               but the
                                                                    the defect  (according to
                                                                         defect (according to
    Defendants) arises
 77 Defendants)   arises from
                         from unauthorized
                              unauthorized persons
                                              persons "taking
                                                      “taking significant
                                                              significant destructive
                                                                            destructive actions to
                                                                                        actions to
    parts of
 8 parts
 8           the vehicle."
          of the vehicle.” Motion
                           Motion at
                                  at 77 (quoting
                                        (quoting Dkt.
                                                 Dkt. No.
                                                      No. 220-3
                                                          220-3 at 3). If
                                                                at 3).    this type
                                                                       If this type of
                                                                                    of defect
                                                                                       defect does
                                                                                              does
    not fall
 99 not fall within
             within the
                    the scope
                        scope of  FMVSS 114
                               of FMVSS    114 (as
                                               (as Defendants
                                                   Defendants claim),   then, like
                                                                claim), then, like in
                                                                                   in Beretta,
                                                                                      Beretta, the
                                                                                                the
    applicable federal
10 applicable
10              federal regulations
                        regulations do not govern
                                    do not         the practices
                                           govern the  practices addressed
                                                                 addressed in
                                                                            in the
                                                                               the complaint
                                                                                   complaint and
                                                                                               and
   Defendants’ argument
11 Defendants'
11                argument fails.
                               fails.

12
12                b.
                   b.      Defendants are
                           Defendants     are liable
                                               liable forfor the  absolute public
                                                              the absolute    public nuisance
                                                                                        nuisance because
                                                                                                     because
                           they  intentionally created
                           they intentionally      created the the conditions
                                                                   conditions for for aa public
                                                                                          public nuisance.
                                                                                                   nuisance.
13
13
           As noted
           As  noted above,
                       above, aa plaintiff
                                  plaintiff can   recover for
                                            can recover      for absolute
                                                                 absolute nuisance
                                                                            nuisance whenwhen thethe defendant’s
                                                                                                      defendant's
14
14
   conduct   was intentional.
   conduct was     intentional. Nottke,
                                  Nottke, 264
                                           264 F.F. Supp.
                                                     Supp. 3d 3d at
                                                                 at 862.
                                                                    862. For
                                                                          For this
                                                                                this claim,   the plaintiff
                                                                                      claim, the   plaintiff need
                                                                                                              need
15
15
   not prove
   not prove the
               the defendant    intended to
                    defendant intended     to create
                                              create thethe nuisance;
                                                             nuisance; the
                                                                         the plaintiff
                                                                             plaintiff merely
                                                                                         merely needs
                                                                                                   needs to
                                                                                                          to show
                                                                                                              show
16
16
   the defendant
   the              intended to
       defendant intended      to bring
                                  bring about
                                         about the
                                                 the conditions
                                                      conditions forfor the
                                                                        the nuisance
                                                                             nuisance to to occur.
                                                                                            occur. InIn re
                                                                                                        re Opiate
                                                                                                           Opiate
17
17
   Litig., 406
   Litig., 406 F.F. Supp.
                    Supp. 3d3d 672,   675 (N.D.
                                672, 675    (N.D. Ohio       2019). The
                                                     Ohio 2019).           harm, in
                                                                     The harm,      in other   words, is
                                                                                       other words,     is simply
                                                                                                            simply
18
18
   the "necessary
   the  “necessary consequence”
                       consequence" of—or           “incident” to—their
                                         of—or "incident"         to—their intended
                                                                               intended acts.       Id.; see
                                                                                            acts. Id.;   see also
                                                                                                               also
19
19
   Taylor
   Taylor v.v. City
               City of
                     of Cincinnati,
                         Cincinnati, 55   N.E.2d 724,
                                      55 N.E.2d      724, 727    (Ohio 1944).
                                                           727 (Ohio     1944).
20
20
           The
           The decisions
                 decisions inin Nottke
                                Nottke and
                                         and In
                                              In rere Opiate     Litigation are
                                                       Opiate Litigation      are instructive.
                                                                                   instructive. In In Nottke,
                                                                                                       Nottke, the
                                                                                                                the
21
21
   plaintiff alleged
   plaintiff  alleged that
                        that the
                             the defendant-railroad
                                  defendant-railroad had   had created
                                                                created aa public
                                                                            public nuisance
                                                                                     nuisance by  by operating
                                                                                                      operating aa
22
22
   braking system
   braking              that created
              system that     created aa high-pitched
                                           high-pitched squealing.
                                                              squealing. 264264 F.F. Supp.
                                                                                       Supp. 3d3d at at 861.
                                                                                                        861. The
                                                                                                               The
23
23
   defendant    presumably did
   defendant presumably             not intend
                               did not  intend toto inflict
                                                     inflict harm
                                                              harm on    the plaintiff.
                                                                     on the  plaintiff. The
                                                                                          The court
                                                                                               court still
                                                                                                       still found
                                                                                                             found
24
24
   that the
   that the plaintiff
             plaintiff could    proceed on
                         could proceed     on an
                                               an absolute      nuisance claim
                                                    absolute nuisance                because the
                                                                            claim because       the harm
                                                                                                      harm toto the
                                                                                                                the
25
25
   plaintiff was
   plaintiff  was aa necessary
                     necessary consequence
                                  consequence of       the defendant’s
                                                   of the   defendant's operation
                                                                           operation of    the braking
                                                                                        of the  braking system.
                                                                                                          system.
26
26
   Id. at
   Id. at 863-864.
          863-864. Along
                      Along the
                              the same   lines, in
                                  same lines,    in In
                                                     In re
                                                        re Opiate    Litigation, the
                                                            Opiate Litigation,     the court
                                                                                        court denied
                                                                                               denied summary
                                                                                                        summary
27
27
   judgment on
   judgment         the plaintiffs'
                on the    plaintiffs’ public
                                      public nuisance
                                                nuisance claim        where there
                                                              claim where      there was
                                                                                       was evidence
                                                                                             evidence thatthat the
                                                                                                                the
28
28
                                                           33
                                                           33
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs               CORRECTED GOV’T ENTITIES'
                                               CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                         OPPOSITION TO MOTION TO
                                                                                    TO MOTION    DISMISS
                                                                                              TO DISMISS
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 11   defendants intentionally created
      defendants intentionally         the conditions
                               created the            for the
                                           conditions for the public
                                                              public nuisance.
                                                                     nuisance. 406 F. Supp.
                                                                               406 F.       3d at
                                                                                      Supp. 3d at
 22   675-76.
      675-76.
 33         The
            The Ohio
                Ohio GE Plaintiffs have
                     GE Plaintiffs have easily pled an
                                        easily pled an intentional
                                                       intentional absolute
                                                                   absolute nuisance
                                                                            nuisance here.
                                                                                     here.
 44 Defendants
    Defendants intentionally
               intentionally manufactured
                             manufactured and
                                          and sold millions of
                                              sold millions of cars that could
                                                               cars that       be stolen
                                                                         could be        by aa
                                                                                  stolen by
 55 middle
    middle schooler in aa matter
           schooler in    matter of minutes with
                                 of minutes with just
                                                 just aa screwdriver
                                                         screwdriver and
                                                                     and aa USB
                                                                            USB cord.
                                                                                cord. The
                                                                                      The
 66 discovery
    discovery of this fact
              of this fact was
                           was inevitable.
                               inevitable. When word of
                                           When word    Defendants’ corner-cutting
                                                     of Defendants' corner-cutting got
                                                                                   got out,
                                                                                       out,
 77 thefts
    thefts of Kias and
           of Kias and Hyundais
                       Hyundais surged. As in
                                surged. As in Nottke
                                              Nottke and
                                                     and In
                                                         In re
                                                            re Opiate Litigation, Defendants
                                                               Opiate Litigation, Defendants
 8 intentionally
 8 intentionally created the conditions
                 created the            for aa public
                             conditions for    public nuisance.
                                                      nuisance. Accordingly,
                                                                Accordingly, the
                                                                             the Ohio
                                                                                 Ohio GE
                                                                                      GE
 99 Plaintiffs
    Plaintiffs may
               may pursue
                   pursue claims for absolute
                          claims for absolute public nuisance.
                                              public nuisance.
10
10                 c.
                   c.    Columbus’s statutory
                         Columbus's    statutory public
                                                  public nuisance
                                                         nuisance claim is well
                                                                  claim is well pled and civil
                                                                                pled and civil
                         liability allows
                         liability allows for
                                          for the
                                              the recovery
                                                  recovery of
                                                           of damages.
                                                              damages.
11
11
12
12          Columbus alleges that
            Columbus alleges that by
                                  by flooding
                                     flooding the
                                              the city with unsafe
                                                  city with unsafe vehicles,
                                                                   vehicles, Defendants
                                                                             Defendants created
                                                                                        created

13 aa public
13    public nuisance
             nuisance inin violation
                           violation of
                                     of City
                                        City Code
                                             Code 703.17.    Under City
                                                   703.17. Under    City Code
                                                                         Code 703.17,
                                                                                703.17, aa vehicle
                                                                                           vehicle

14 constitutes
14  constitutes aa public
                   public nuisance
                          nuisance when
                                   when the
                                         the vehicle
                                             vehicle is
                                                     is in
                                                        in an
                                                           an unsafe
                                                              unsafe condition that is
                                                                     condition that is detrimental
                                                                                       detrimental
   to the
15 to
15    the public
          public health,
                 health, safety,
                         safety, and
                                 and welfare,
                                     welfare, or well-being of
                                              or well-being    the surrounding
                                                            of the surrounding area.
                                                                               area. The  word
                                                                                     The word
   “unsafe” is
16 "unsafe"
16           is not
                 not defined  by the
                     defined by   the City
                                      City Code,
                                            Code, but
                                                   but broadly
                                                        broadly speaking,
                                                                 speaking, the
                                                                           the term
                                                                               term refers
                                                                                      refers to
                                                                                             to

17
17    something that is
      something that is "`[d]angerous;
                        “‘[d]angerous; not
                                       not secure."'
                                           secure.’” Ohio
                                                     Ohio v. Miner, No.
                                                          v. Miner, No. E-11-052,
                                                                        E-11-052, 2012
                                                                                  2012 WL
                                                                                       WL
   236696, at
18 236696,
18         at *2 (Ohio Ct.
              *2 (Ohio     App. June
                       Ct. App.      22, 2012)
                                June 22, 2012) (alteration
                                               (alteration in
                                                           in original) (quoting Black's
                                                              original) (quoting Black’s Law
                                                                                         Law
   Dictionary 1539
19 Dictionary
19            1539 (6th
                   (6th ed.1990)).
                        ed.1990)).

20
20          Defendants distributed
            Defendants             thousands of
                       distributed thousands    their vehicles
                                             of their vehicles to
                                                               to Columbus residents, and
                                                                  Columbus residents, and those
                                                                                          those
   vehicles are
21 vehicles
21          are neither
                neither safe nor secure.
                        safe nor secure. Since juveniles use
                                         Since juveniles use those
                                                             those vehicles
                                                                   vehicles to
                                                                            to drive  recklessly
                                                                                drive recklessly
   and commit
22 and
22     commit other
                other crimes,  the very
                      crimes, the  very presence
                                         presence of Defendants’ vehicles
                                                  of Defendants'   vehicles in
                                                                            in aa neighborhood
                                                                                  neighborhood

23
23    can make the
      can make the neighborhood
                   neighborhood more
                                more dangerous. Defendants’ vehicles
                                     dangerous. Defendants' vehicles pose
                                                                     pose aa grave threat to
                                                                             grave threat to
   the public
24 the
24     public health,
              health, safety, and welfare,
                      safety, and welfare, and
                                           and well-being
                                               well-being of  residents of
                                                           of residents of Columbus.
                                                                           Columbus.

25
25       The
         The City
               City Code   focuses on
                    Code focuses      the condition
                                   on the  condition of the vehicle,
                                                     of the vehicle, see
                                                                     see Columbus
                                                                          Columbus City
                                                                                   City Code
                                                                                        Code

26
26    703.17(P), not on
      703.17(P), not    whether the
                     on whether the vehicle
                                    vehicle (if
                                            (if operated by aa responsible
                                                operated by    responsible driver)
                                                                           driver) can be driven
                                                                                   can be driven

27
27    safely, Motion at
      safely, Motion at 53. Here, the
                        53. Here, the subject
                                      subject vehicles
                                              vehicles are
                                                       are in
                                                           in an
                                                              an unsafe
                                                                 unsafe condition because they
                                                                        condition because they

28 can
28     be easily
   can be easily stolen. Further, Defendants'
                 stolen. Further, Defendants’ suggestion
                                              suggestion that
                                                         that vehicle
                                                              vehicle security has nothing
                                                                      security has nothing to
                                                                                           to

                                                  34
                                                  34
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11   do with safety
      do with safety strains
                     strains credulity. Id. at
                             credulity. Id. at 52-53 (focusing instead
                                               52-53 (focusing instead on the unsafe
                                                                       on the unsafe actions
                                                                                     actions of the
                                                                                             of the
 22   car thieves themselves).
      car thieves themselves). Defendants,
                               Defendants, after
                                           after all,
                                                 all, repeatedly
                                                      repeatedly claim that they
                                                                 claim that they complied with
                                                                                 complied with
 33 the
    the FMVSS
        FMVSS regulations
              regulations relating
                          relating to
                                   to theft
                                      theft protection.
                                            protection.
 44         Columbus properly requested
            Columbus properly requested that
                                        that Defendants
                                             Defendants be
                                                        be "enjoined
                                                           “enjoined from
                                                                     from continuing these
                                                                          continuing these
 55 nuisances
    nuisances and
              and be
                  be compelled to abate
                     compelled to abate them."
                                        them.” CGEC ¶ 380.
                                               CGEC ¶ 380. Defendants
                                                           Defendants say that Columbus
                                                                      say that Columbus
 66 cannot
    cannot obtain “damages.” See
           obtain "damages." See Motion
                                 Motion at
                                        at 75. But, as
                                           75. But, as stated
                                                       stated above,
                                                              above, "abatement"
                                                                     “abatement” can include
                                                                                 can include
 77 the
    the payment
        payment of money, and
                of money, and Columbus
                              Columbus seeks
                                       seeks "abatement"
                                             “abatement” to
                                                         to the
                                                            the fullest
                                                                fullest extent allowed
                                                                        extent allowed
 8 under
 8 under Ohio law. See
         Ohio law. See In
                       In re
                          re Opiate Litig., 622
                             Opiate Litig.,     F. Supp.
                                            622 F.       3d at
                                                   Supp. 3d at 606-07. Defendants are
                                                               606-07. Defendants are
 99 therefore
    therefore wrong
              wrong to
                    to suggest
                       suggest that
                               that Columbus
                                    Columbus cannot recover money
                                             cannot recover money as
                                                                  as aa form
                                                                        form of abatement
                                                                             of abatement
10 under
10 under the
         the City
             City Code.
                  Code.
11
11          Also, Columbus
            Also, Columbus can recover damages
                           can recover         for violations
                                       damages for violations of
                                                              of Columbus
                                                                 Columbus City
                                                                          City Code
                                                                               Code 703.17
                                                                                    703.17
12 under
12 under Ohio Rev. Code
         Ohio Rev. Code §§ 2307.60,
                           2307.60, which
                                    which "creates
                                          “creates aa civil
                                                      civil cause
                                                            cause of
                                                                  of action
                                                                     action for
                                                                            for damages
                                                                                damages
13 resulting
13 resulting from
             from any
                  any criminal act, unless
                      criminal act, unless otherwise prohibited by
                                           otherwise prohibited by law."
                                                                   law.” Jacobson
                                                                         Jacobson v. Kaforey,
                                                                                  v. Kaforey,
14
14    75 N.E.3d 203,
      75 N.E.3d 203, 207
                     207 (Ohio
                         (Ohio 2016).
                               2016). A
                                      A person
                                        person who
                                               who violates
                                                   violates Columbus
                                                            Columbus City
                                                                     City Code
                                                                          Code 703.17
                                                                               703.17
15
15    commits
      commits aa criminal act. See
                 criminal act. See Columbus
                                   Columbus City
                                            City Code
                                                 Code 701.99(A).
                                                      701.99(A). It
                                                                 It follows that aa person
                                                                    follows that    person
16 injured
16 injured by
           by aa violation
                 violation of
                           of Columbus
                              Columbus City
                                       City Code
                                            Code 703.17 is entitled
                                                 703.17 is          to recover
                                                           entitled to recover damages in aa
                                                                               damages in
17
17    civil action unless
      civil action unless this
                          this remedy
                               remedy is
                                      is otherwise prohibited by
                                         otherwise prohibited by law.
                                                                 law.
18
18          Defendants have
            Defendants have not
                            not identified
                                identified such
                                           such aa prohibition.
                                                   prohibition. They
                                                                They argue that the
                                                                     argue that the Columbus
                                                                                    Columbus
19
19    City
      City Council
           Council excluded
                   excluded damages as aa remedy
                            damages as    remedy for
                                                 for aa statutory
                                                        statutory public
                                                                  public nuisance
                                                                         nuisance because
                                                                                  because the
                                                                                          the
20
20    City
      City Code
           Code only
                only expressly authorizes the
                     expressly authorizes the remedy
                                              remedy of abatement. Motion
                                                     of abatement. Motion at
                                                                          at 55.
                                                                             55. Yet the City
                                                                                 Yet the City
21
21    Code makes plain
      Code makes plain that
                       that the
                            the consequences for aa public
                                consequences for    public nuisance
                                                           nuisance crime (“a misdemeanor
                                                                    crime ("a misdemeanor of
                                                                                          of
22 the
22 the first
       first degree”) under the
             degree") under the City
                                City Code are "in
                                     Code are “in addition
                                                  addition to
                                                           to and
                                                              and separate
                                                                  separate from
                                                                           from any
                                                                                any civil
                                                                                    civil or
                                                                                          or
23 administrative
23 administrative penalties
                  penalties or remedies provided
                            or remedies provided for
                                                 for by
                                                     by this
                                                        this code
                                                             code or pursuant to
                                                                  or pursuant to Ohio
                                                                                 Ohio law."
                                                                                      law.”
24
24    Columbus
      Columbus City
               City Code
                    Code 701.99(A). Because Ohio
                         701.99(A). Because      Rev. Code
                                            Ohio Rev. Code §§ 2307.60
                                                              2307.60 is
                                                                      is unquestionably
                                                                         unquestionably aa
25
25    civil remedy provided
      civil remedy provided by
                            by Ohio law, Columbus
                               Ohio law, Columbus can recover under
                                                  can recover under Ohio Rev. Code
                                                                    Ohio Rev. Code §§
26 2307.60
26 2307.60 for
           for Defendants'
               Defendants’ violation
                           violation of
                                     of City
                                        City Code
                                             Code 703.17.
                                                  703.17.
27
27
28
28
                                                   35
                                                   35
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs         CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1
 1   D.
     D.    GE
           GE Plaintiffs’
              Plaintiffs' Negligence Claims Are
                          Negligence Claims Are Well
                                                Well Pled.
                                                     Pled.
22         Under the
           Under the laws
                     laws of Indiana, Missouri,
                          of Indiana, Missouri, New
                                                New York,
                                                    York, Ohio, and Wisconsin,
                                                          Ohio, and            the elements
                                                                    Wisconsin, the elements
3
3    of negligence are
     of negligence are essentially identical: duty,
                       essentially identical:       breach, causation,
                                              duty, breach, causation, and injury/damages. See
                                                                       and injury/damages. See
 44 In
    In re Methyl Tertiary
       re Methyl          Butyl Ether
                 Tertiary Butyl Ether (“MTBE”) Prods. Liab.
                                      ("MTBE') Prods. Liab. Litig.,
                                                            Litig., 415 F. Supp.
                                                                    415 F.       2d 261,
                                                                           Supp. 2d 261, 273
                                                                                         273
 55 (S.D.N.Y.
    (S.D.N.Y. 2005)
              2005) (applying
                    (applying Indiana
                              Indiana law);
                                      law); Lopez,
                                            Lopez, 26
                                                   26 S.W.2d at 155
                                                      S.W.2d at 155 (Missouri);
                                                                    (Missouri); Johnson
                                                                                Johnson v.
                                                                                        v.
 66 Bryco
    Bryco Arms,
          Arms, 304
                304 F.
                    F. Supp. 2d 383,
                       Supp. 2d 383, 394
                                     394 (E.D.N.Y.
                                         (E.D.N.Y. 2004);
                                                   2004); Strother
                                                          Strother v. Hutchinson, 423
                                                                   v. Hutchinson, 423
 77 N.E.2d
    N.E.2d 467,
           467, 469 (Ohio 1981);
                469 (Ohio 1981); Bauer
                                 Bauer v. Armslist, LLC,
                                       v. Armslist, LLC, 572 F. Supp.
                                                         572 F.       3d 641,
                                                                Supp. 3d 641, 668 (E.D.
                                                                              668 (E.D.
 8
 8   Wis. 2021). Defendants
     Wis. 2021). Defendants appear
                            appear to
                                   to take
                                      take issue
                                           issue with
                                                 with the
                                                      the elements
                                                          elements of
                                                                   of duty,
                                                                      duty, causation, and at
                                                                            causation, and at
 99 least
    least as
          as to
             to certain
                certain GE Plaintiffs, injury.
                        GE Plaintiffs, injury. Motion
                                               Motion at 21, 27,
                                                      at 21, 27, 56. As set
                                                                 56. As set out more fully
                                                                            out more       below,
                                                                                     fully below,
10
10   Defendants’ arguments
     Defendants' arguments fail.
                           fail. With respect to
                                 With respect to duty, first, although
                                                 duty, first, although Defendants
                                                                       Defendants contend they
                                                                                  contend they
11
11   have no
     have no duty to protect
             duty to protect the
                             the GE Plaintiffs from
                                 GE Plaintiffs from criminal acts by
                                                    criminal acts by third
                                                                     third parties,
                                                                           parties, they
                                                                                    they do have
                                                                                         do have
12
12   aa duty to carry
        duty to carry out the services
                      out the          they have
                              services they have undertaken—manufacturing
                                                 undertaken—manufacturing and
                                                                          and distributing
                                                                              distributing
13
13   automobiles—with reasonable
     automobiles—with reasonable care.
                                 care. Second, because the
                                       Second, because the harms
                                                           harms to
                                                                 to the
                                                                    the GE Plaintiffs from
                                                                        GE Plaintiffs from
14
14   Defendants’ business
     Defendants' business decisions to forgo
                          decisions to forgo immobilizers
                                             immobilizers were
                                                          were foreseeable,
                                                               foreseeable, Defendants
                                                                            Defendants had
                                                                                       had aa
15
15   duty to prevent
     duty to prevent those harms.13 Third,
                     those harms.13        public policy
                                    Third, public policy also
                                                         also gives rise to
                                                              gives rise to aa duty in the
                                                                               duty in the GE
                                                                                           GE
16
16   Plaintiffs’ jurisdictions.
     Plaintiffs' jurisdictions. With respect to
                                With respect to breach,
                                                breach, causation, and damages,
                                                        causation, and          the GE
                                                                       damages, the    Plaintiffs
                                                                                    GE Plaintiffs
17
17   allege that
     allege that Defendants
                 Defendants breached
                            breached their
                                     their duties when they
                                           duties when they failed
                                                            failed to
                                                                   to install
                                                                      install an
                                                                              an engine
                                                                                 engine
18
18   immobilizer, or
     immobilizer,    an equally
                  or an equally effective anti-theft device,
                                effective anti-theft         in all
                                                     device, in all Susceptible
                                                                    Susceptible Vehicles, 14
                                                                                Vehicles,14  and
                                                                                             and
19
19   that as
     that as aa proximate
                proximate result
                          result of these intentional
                                 of these intentional acts
                                                      acts and
                                                           and omissions, the GE
                                                               omissions, the    Plaintiffs suffered
                                                                              GE Plaintiffs suffered
20
20   injury, including
     injury, including the
                       the diversion
                           diversion of police and
                                     of police and emergency resources to
                                                   emergency resources to respond
                                                                          respond to
                                                                                  to the
                                                                                     the
21
21   rampantly increasing
     rampantly increasing thefts
                          thefts of the Susceptible
                                 of the Susceptible Vehicles, as well
                                                    Vehicles, as well as
                                                                      as broader
                                                                         broader threats
                                                                                 threats to
                                                                                         to public
                                                                                            public
22
22
23
23
24
24   13
     13 See CGEC
        See   CGEC ¶¶    283-87 (Wisconsin
                      ¶¶ 283-87   (Wisconsin GE    Plaintiffs: Milwaukee,
                                               GE Plaintiffs:  Milwaukee, Madison,
                                                                           Madison, and
                                                                                     and Green
                                                                                         Green
25
25     Bay), 349-56
       Bay),   349-56 (Ohio
                       (Ohio GEO     Plaintiffs: Columbus,
                               GEO Plaintiffs:               Cleveland, Cincinnati,
                                                 Columbus, Cleveland,   Cincinnati, and
                                                                                    and Parma),
                                                                                        Parma),
26
26     432-34   (Missouri GE
       432-34 (Missouri         Plaintiffs: St.
                            GE Plaintiffs:      Louis and
                                            St. Louis and Kansas
                                                           Kansas City),
                                                                   City), 475-80 (New York
                                                                          475-80 (New   York GE
                                                                                             GE
       Plaintiffs: Buffalo,
       Plaintiffs:  Buffalo, Rochester,
                              Rochester, New
                                          New York,
                                                York, Yonkers,   and Tonawanda),
                                                      Yonkers, and   Tonawanda), 513-17   (Indiana
                                                                                   513-17 (Indiana
27
27     GE   Plaintiff: Indianapolis).
       GE Plaintiff:   Indianapolis).
     14
28
28      Id. ¶¶ 3;
     14 Id.    3; see
                  see also
                      also id.
                           id. ¶¶  288 (Wisconsin),
                               ¶¶ 288  (Wisconsin), 357
                                                     357 (Ohio),
                                                          (Ohio), 435 (Missouri), 481
                                                                  435 (Missouri),      (New York),
                                                                                  481 (New   York),
       518   (Indiana).
       518 (Indiana).
                                                   36
                                                   36
      NO. 8:22-
      No.      ML-03052-JVS-KES
          8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11   safety
      safety and welfare.15 Defendants'
             and welfare.15 Defendants’ motion
                                        motion to
                                               to dismiss the GE
                                                  dismiss the    Plaintiffs’ negligence
                                                              GE Plaintiffs' negligence claims
                                                                                        claims
22    should be denied.
      should be denied.
33           1.
             1.     Defendants owed
                    Defendants owed aa duty
                                       duty of
                                            of care
                                               care to all GE
                                                    to all GE Plaintiffs.
                                                              Plaintiffs.
 44                 a.
                    a.      No special relationship
                            No special               is required
                                        relationship is required for Defendants’ duty
                                                                 for Defendants' duty to
                                                                                       to
                            exercise
                            exercise reasonable
                                      reasonable care  in manufacturing
                                                 care in                 and distributing
                                                          manufacturing and  distributing their
                                                                                          their
 55
                            vehicles.
                            vehicles.
 66
             Defendants contend
             Defendants         that there
                        contend that there is
                                           is no
                                              no duty to prevent
                                                 duty to         harm from
                                                         prevent harm from acts by third
                                                                           acts by third parties
                                                                                         parties
 77
      absent aa special
      absent            relationship. Motion
                special relationship. Motion at
                                             at 29-31.
                                                29-31. Contrary to Defendants'
                                                       Contrary to Defendants’ assertions,
                                                                               assertions, the
                                                                                           the fact
                                                                                               fact
 8
 8
      that Defendants
      that Defendants and
                      and GE Plaintiffs do
                          GE Plaintiffs    not have
                                        do not have aa recognized
                                                       recognized relationship
                                                                  relationship is
                                                                               is not
                                                                                  not dispositive
                                                                                      dispositive
 99                                               16
      of any of
      of any of GE Plaintiffs’ negligence
                GE Plaintiffs' negligence claims.
                                          claims.16  A duty
                                                     A      based on
                                                       duty based on aa special relationship is
                                                                        special relationship is
10
10
      simply
      simply one way in
             one way in which
                        which aa duty may arise.
                                 duty may arise. See,
                                                 See, e.g.,
                                                      e.g., Cromer
                                                            Cromer v. Children’s Hosp.
                                                                   v. Children's Hosp. Med.
                                                                                       Med.
11
11
      Ctr.
      Ctr. of Akron, 29
           of Akron, 29 N.E.3d
                        N.E.3d 921,
                               921, 929 (Ohio 2015)
                                    929 (Ohio 2015) (explaining
                                                    (explaining that
                                                                that duty usually arises
                                                                     duty usually arises from
                                                                                         from
12
12
      the foreseeability
      the foreseeability of injury and
                         of injury and recognizing
                                       recognizing "certain
                                                   “certain legally
                                                            legally recognized
                                                                    recognized relationships
                                                                               relationships
13
13
      between parties"
      between parties” as
                       as another
                          another path
                                  path for
                                       for establishing
                                           establishing duty). As the
                                                        duty). As the Restatement
                                                                      Restatement recognizes,
                                                                                  recognizes,
14
14
      certain
      certain conduct by an
              conduct by an allegedly
                            allegedly negligent
                                      negligent actor
                                                actor may
                                                      may give rise to
                                                          give rise to aa duty to third
                                                                          duty to third parties
                                                                                        parties
15
15
      despite the absence
      despite the absence of any special
                          of any special relationship,
                                         relationship, subjecting the actor
                                                       subjecting the actor to
                                                                            to liability
                                                                               liability for
                                                                                         for
16
16
      negligence:
      negligence:
17
17
                    One  who undertakes,
                    One who    undertakes, gratuitously
                                             gratuitously or   for consideration,
                                                            or for consideration, toto render
                                                                                        render
18
18                  services  to another
                    services to  another which
                                           which he
                                                  he should     recognize as
                                                      should recognize     as necessary
                                                                              necessary for for
                    the protection
                    the protection of
                                   of aa third
                                         third person
                                               person or   his things,
                                                       or his  things, is
                                                                       is subject  to liability
                                                                          subject to  liability
19
19                  to the
                    to the third
                           third person
                                 person for
                                          for Cromer
                                              Cromer v. v. Children's
                                                           Children’s Hosp.
                                                                        Hosp. Med.
                                                                                Med. Ctr.
                                                                                        Ctr. of
                                                                                             of
                    Akron, 29
                    Akron,   29 N.E.3d
                                 N.E.3d 921,
                                          921, 929   (Ohio 2015)
                                                929 (Ohio     2015) (recognizing
                                                                     (recognizing "certain
                                                                                      “certain
20
20                  legally recognized
                    legally recognized relationships
                                         relationships between
                                                         between parties'
                                                                   parties” as
                                                                             as another
                                                                                another path
                                                                                          path
                    for establishing
                    for establishing duty)physical
                                     duty)physical harmharm resulting
                                                              resulting from   his failure
                                                                         from his   failure to
                                                                                             to
21
21                  exercise  reasonable care
                    exercise reasonable         to protect
                                           care to protect his
                                                             his undertaking
                                                                 undertaking if,
                                                                               if,
22
22                  (a) his
                    (a) his failure
                            failure to
                                    to exercise reasonable care
                                       exercise reasonable      increases the
                                                           care increases the risk
                                                                              risk of
                                                                                   of
                    such  harm[.]
                    such harm[.]
23
23
      15
24
24       Id. ¶¶ 289-95 (Wisconsin), 358-64, 368 (Ohio), 433, 436-37 (Missouri), 482-88, 492
      15 Id. ¶¶ 289-95 (Wisconsin), 358-64, 368 (Ohio), 433, 436-37 (Missouri), 482-88, 492
        (New York),
        (New    York), 519-25,
                        519-25, 528-29     (Indiana).
                                  528-29 (Indiana).
25
25    16
         Defendants cite
      16 Defendants         Ashburn v.
                       cite Ashburn       Anne Arundel
                                       v. Anne   Arundel County,
                                                           County, 510   A.2d 1078,
                                                                    510 A.2d    1078, 1083
                                                                                       1083 (Md.
                                                                                             (Md. 1986),
                                                                                                   1986),
26
26      for the
        for the assertion
                 assertion that
                           that the
                                 the duty
                                     duty toto control  third-party conduct
                                               control third-party            arises only
                                                                    conduct arises         where aa special
                                                                                     only where     special
        relationship exists
        relationship         between the
                      exists between     the parties
                                              parties themselves
                                                      themselves or   between the
                                                                   or between    the negligent
                                                                                     negligent actor
                                                                                               actor and
                                                                                                     and
27
27      the third
        the  third party.
                   party. This
                          This case   is irrelevant
                                case is  irrelevant because
                                                     because the
                                                               the City
                                                                   City of
                                                                        of Baltimore
                                                                           Baltimore (the
                                                                                       (the only  Maryland
                                                                                             only Maryland
28
28      GE   Plaintiff) does
        GE Plaintiff)        not assert
                        does not   assert aa negligence
                                             negligence claim.
                                                          claim. The
                                                                  The same
                                                                      same isis true
                                                                                true for the City
                                                                                     for the City of
                                                                                                  of Seattle
                                                                                                     Seattle
        (for purposes
        (for  purposes of  Defendants’ reliance
                        of Defendants'     reliance on
                                                     on Washington
                                                         Washington case    law).
                                                                       case law).
                                                        37
                                                        37
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs             CORRECTED GOV’T ENTITIES'
                                             CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                       OPPOSITION TO MOTION TO
                                                                                  TO MOTION    DISMISS
                                                                                            TO DISMISS
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 1
 1    Restatement (Second)
      Restatement (Second) of
                           of Torts
                              Torts § 324A (1965).
                                    § 324A (1965). Defendants'
                                                   Defendants’ negligence
                                                               negligence in
                                                                          in intentionally
                                                                             intentionally
22    forgoing the
      forgoing the installation
                   installation of reasonable anti-theft
                                of reasonable anti-theft measures
                                                         measures in
                                                                  in the
                                                                     the Susceptible
                                                                         Susceptible Vehicles they
                                                                                     Vehicles they
3
3     manufactured and
      manufactured and distributed increased the
                       distributed increased the risk
                                                 risk of harm that
                                                      of harm that GE Plaintiffs incurred
                                                                   GE Plaintiffs incurred when
                                                                                          when
 44 thefts
    thefts of the Susceptible
           of the Susceptible Vehicles inevitably skyrocketed.
                              Vehicles inevitably              CGEC ¶¶
                                                  skyrocketed. CGEC ¶¶ 73-80.
                                                                       73-80.
 55                b.
                   b.     The
                          The reasonable
                              reasonable foreseeability
                                         foreseeability of
                                                        of the
                                                           the harm
                                                               harm gives
                                                                    gives rise
                                                                          rise to
                                                                               to aa duty
                                                                                     duty to
                                                                                          to
                          prevent it.
                          prevent it.
 66
            Defendants’ arguments
            Defendants' arguments against
                                  against the
                                          the existence
                                              existence of
                                                        of aa duty also ignores
                                                              duty also ignores the
                                                                                the primary
                                                                                    primary duty
                                                                                            duty
 77
      the GE
      the    Plaintiffs assert:
          GE Plaintiffs assert: Defendants'
                                Defendants’ duty to exercise
                                            duty to          reasonable care
                                                    exercise reasonable      in the
                                                                        care in the design
                                                                                    design and
                                                                                           and
 8
 8
      manufacture of
      manufacture    their vehicles.
                  of their vehicles. CGEC
                                     CGEC ¶¶ 287, 349,
                                          ¶¶ 287, 349, 432,
                                                       432, 475,
                                                            475, 513.
                                                                 513. Specifically, the GE
                                                                      Specifically, the GE
 99
      Plaintiffs assert
      Plaintiffs assert that,
                        that, irrespective
                              irrespective of the duty
                                           of the      to guard
                                                  duty to       and/or monitor
                                                          guard and/or monitor against
                                                                               against third-party
                                                                                       third-party
10
10
      criminal
      criminal conduct, Defendants owed
               conduct, Defendants owed aa duty to act
                                           duty to act as
                                                       as aa reasonably
                                                             reasonably prudent
                                                                        prudent person and/or
                                                                                person and/or
11
11
      company would act
      company would act under
                        under the
                              the same
                                  same circumstances in the
                                       circumstances in the design,
                                                            design, development,
                                                                    development,
12
12
      manufacture, testing,
      manufacture, testing, and
                            and distribution of their
                                distribution of their vehicles.
                                                      vehicles. Id.
                                                                Id. ¶
                                                                    ¶ 288;
                                                                      288; see
                                                                           see also
                                                                               also id.
                                                                                    id. ¶¶ 357, 432,
                                                                                        ¶¶ 357, 432,
13
13
      481,
      481, 513.
           513.
14
14
15
15          Separate from the
            Separate from the existence
                              existence of
                                        of aa "special
                                              “special relationship,"
                                                       relationship,” courts also consider
                                                                      courts also consider

16
16    foreseeability or
      foreseeability    probability of
                     or probability    harm in
                                    of harm in determining whether aa defendant
                                               determining whether    defendant owed
                                                                                owed aa legal
                                                                                        legal

17
17    duty. See, e.g.,
      duty. See, e.g., Goodwin
                       Goodwin v.
                               v. Yeakle’s Sports Bar
                                  Yeakle's Sports Bar &
                                                      & Grill, Inc., 62
                                                        Grill, Inc.,    N.E.3d 384,
                                                                     62 N.E.3d 384, 392
                                                                                    392 (Ind.
                                                                                        (Ind.

18
18    2016) ("[W]hether
      2016) (“[W]hether an act is
                        an act is foreseeable
                                  foreseeable in
                                              in the
                                                 the context
                                                     context of
                                                             of duty” requires "'some
                                                                duty" requires “‘some probability
                                                                                      probability

19
19    or likelihood of
      or likelihood    harm that
                    of harm that is
                                 is serious
                                    serious enough to induce
                                            enough to induce aa reasonable
                                                                reasonable person
                                                                           person to
                                                                                  to take
                                                                                     take

20
20    precautions to
      precautions to avoid
                     avoid it.")
                           it.’”) (quoting
                                  (quoting Satterfield
                                           Satterfield v. Breeding Insulation
                                                       v. Breeding Insulation Co., 266 S.W.3d
                                                                              Co., 266 S.W.3d

21
21    347, 367
      347, 367 (Tenn.
               (Tenn. 2008));
                      2008)); Lopez,
                              Lopez, 26
                                     26 S.W.3d at 156
                                        S.W.3d at 156 (Missouri)
                                                      (Missouri) ("For
                                                                 (“For purposes
                                                                       purposes of
                                                                                of

22
22    determining whether aa duty
      determining whether    duty exists, this Court
                                  exists, this       has defined
                                               Court has         foreseeability as
                                                         defined foreseeability as the
                                                                                   the presence
                                                                                       presence of
                                                                                                of

23
23    some probability or
      some probability    likelihood of
                       or likelihood    harm sufficiently
                                     of harm sufficiently serious that ordinary
                                                          serious that          persons would
                                                                       ordinary persons would

24
24    take precautions
      take precautions to
                       to avoid
                          avoid it.");
                                it.”); Gedeon
                                       Gedeon v. E. Ohio
                                              v. E. Ohio Gas
                                                         Gas Co., 190 N.E.
                                                             Co., 190 N.E. 924,
                                                                           924, 926 (Ohio 1934)
                                                                                926 (Ohio 1934)

25
25    (recognizing aa duty
      (recognizing         to exercise
                      duty to exercise care where "the
                                       care where “the probability
                                                       probability of
                                                                   of injury to those
                                                                      injury to those in
                                                                                      in the
                                                                                         the

26
26    plaintiff’s general
      plaintiff's general situation should have
                          situation should have been
                                                been perceived
                                                     perceived by
                                                               by aa reasonably
                                                                     reasonably prudent
                                                                                prudent and
                                                                                        and

27
27    careful person”); A.E.
      careful person"); A.E. Inv.
                             Inv. Corp.
                                  Corp. v. Link Builders,
                                        v. Link Builders, Inc.,
                                                          Inc., 214
                                                                214 N.W.2d
                                                                    N.W.2d 764,
                                                                           764, 766 (Wis. 1974)
                                                                                766 (Wis. 1974)

28
28
                                                    38
                                                    38
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           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
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                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11 ("A
    (“A defendant’s
        defendant's duty is established
                    duty is             when it
                            established when it can be said
                                                can be      that it
                                                       said that it was
                                                                    was foreseeable
                                                                        foreseeable that
                                                                                    that his
                                                                                         his act
                                                                                             act
 22   or
      or omission to act
         omission to     may cause
                     act may       harm to
                             cause harm to someone.”).
                                           someone.").
 33         Unlike Goodwin,
            Unlike          where the
                   Goodwin, where the Supreme
                                      Supreme Court
                                              Court of Indiana determined
                                                    of Indiana            that "bar
                                                               determined that “bar owners
                                                                                    owners
 44 [do
    [do not]
        not] routinely
             routinely contemplate that one
                       contemplate that     bar patron
                                        one bar patron might
                                                       might suddenly
                                                             suddenly shoot another[,]” 62
                                                                      shoot another[,]" 62
 55 N.E.3d
    N.E.3d at
           at 393-94,
              393-94, the
                      the probability
                          probability of
                                      of substantially
                                         substantially reducing
                                                       reducing thefts
                                                                thefts by
                                                                       by installing
                                                                          installing technology
                                                                                     technology
 66 like
    like an
         an engine immobilizer was
            engine immobilizer was abundantly
                                   abundantly clear to Defendants
                                              clear to Defendants in
                                                                  in this
                                                                     this case.
                                                                          case. The rate of
                                                                                The rate of
 77 vehicle
    vehicle theft
            theft plummeted
                  plummeted at
                            at the
                               the turn
                                   turn of the twenty-first
                                        of the twenty-first century as more
                                                            century as more car manufacturers
                                                                            car manufacturers
 8 began
 8 began utilizing
         utilizing engine immobilizers. CGEC
                   engine immobilizers. CGEC ¶¶
                                             ¶¶ 68-69.
                                                68-69. Defendants
                                                       Defendants unsuccessfully
                                                                  unsuccessfully attempt
                                                                                 attempt
 99 to
    to shift the focus
       shift the focus of the foreseeability
                       of the foreseeability analysis
                                             analysis away
                                                      away from
                                                           from the
                                                                the overall likelihood of
                                                                    overall likelihood of
10
10    successful thefts and
      successful thefts and instead
                            instead focus
                                    focus on the foreseeability
                                          on the foreseeability of
                                                                of certain very specific
                                                                   certain very specific aspects
                                                                                         aspects of
                                                                                                 of
11 the
11 the present
       present crime wave. But
               crime wave. But this
                               this element
                                    element only
                                            only concerns the frequency
                                                 concerns the  frequency of the crime
                                                                         of the       and the
                                                                                crime and the
12 number
12 number of victims, and
          of victims, and thus
                          thus the
                               the overall
                                   overall risk
                                           risk of harm.
                                                of harm.
13
13          The foreseeability of
            The foreseeability    the risk
                               of the risk of harm is
                                           of harm is not
                                                      not affected
                                                          affected by
                                                                   by the
                                                                      the magnitude,
                                                                          magnitude, severity,
                                                                                     severity, or
                                                                                               or
14
14    exact probability of
      exact probability of aa specific harm, but
                              specific harm, but instead
                                                 instead by
                                                         by the
                                                            the question
                                                                question of whether some
                                                                         of whether some risk
                                                                                         risk of
                                                                                              of
15 harm
15 harm would
        would be
              be foreseeable
                 foreseeable to
                             to the
                                the reasonably
                                    reasonably prudent
                                               prudent person. See Gedeon,
                                                       person. See         190 N.E.
                                                                   Gedeon, 190 N.E. at
                                                                                    at 927
                                                                                       927
16 (Ohio).
16 (Ohio). Thus, “the existence
           Thus, "the           and scope
                      existence and scope of
                                          of aa person's
                                                person’s legal
                                                         legal duty is determined
                                                               duty is            by the
                                                                       determined by the
17 reasonably
17 reasonably foreseeable,
              foreseeable, general risk of
                           general risk    harm that
                                        of harm that is
                                                     is involved."
                                                        involved.” Cromer, 29 N.E.3d
                                                                   Cromer, 29 N.E.3d at
                                                                                     at 929.
                                                                                        929.
18 Here,
18 Here, the
         the Complaint alleges that
             Complaint alleges that the
                                    the harm
                                        harm GE Plaintiffs are
                                             GE Plaintiffs are experiencing as aa result
                                                               experiencing as    result of
                                                                                         of
19 Defendants'
19 Defendants’ business
               business decision was fully
                        decision was fully foreseeable to Defendants.
                                           foreseeable to Defendants. Unlike
                                                                      Unlike Hamilton
                                                                             Hamilton v.
                                                                                      v.
20 Beretta
20 Beretta U.S.A.
           U.S.A. Corp.,
                  Corp., 750 N.E.2d 1055,
                         750 N.E.2d 1055, 1060-61
                                          1060-61 (N.Y.
                                                  (N.Y. 2001),
                                                        2001), where
                                                               where the
                                                                     the plaintiffs failed
                                                                         plaintiffs failed
21 to
21 to prove
      prove "a
            “a change in marketing
               change in marketing techniques
                                   techniques that
                                              that would
                                                   would likely have prevented
                                                         likely have           their
                                                                     prevented their
22 injuries[,]"
22 injuries[,]” 750 N.E.2d at
                750 N.E.2d at 1062
                              1062 (New
                                   (New York),
                                        York), GE Plaintiffs point
                                               GE Plaintiffs point to
                                                                   to multiple
                                                                      multiple research
                                                                               research
23
23    studies showing the
      studies showing the efficacy
                          efficacy of modern engine
                                   of modem         immobilizers in
                                             engine immobilizers in reducing
                                                                    reducing overall theft
                                                                             overall theft
24 rates,
24 rates, CGEC
          CGEC ¶¶ 68, 73-76,
               ¶¶ 68,        and to
                      73-76, and to the
                                    the fact
                                        fact that
                                             that Defendants
                                                  Defendants themselves
                                                             themselves knew this.
                                                                        knew this.
25 Defendants
25 Defendants touted
              touted the
                     the efficacy
                         efficacy of
                                  of engine immobilizers in
                                     engine immobilizers in the
                                                            the select vehicles in
                                                                select vehicles in which
                                                                                   which they
                                                                                         they
26 installed
26 installed immobilizers
             immobilizers in
                          in the
                             the United
                                 United States,
                                        States, id.
                                                id. ¶¶ 79,
                                                       79, demonstrating that they
                                                           demonstrating that they were
                                                                                   were well
                                                                                        well
27 aware
27 aware of the probability
         of the probability that
                            that the
                                 the anti-theft
                                     anti-theft device would substantially
                                                device would               reduce thefts.
                                                             substantially reduce thefts.
28 Moreover,
28 Moreover, as
             as industry
                industry standards
                         standards evolved to the
                                   evolved to the point
                                                  point that
                                                        that nearly
                                                             nearly every
                                                                    every other vehicle in
                                                                          other vehicle in the
                                                                                           the
                                                   39
                                                   39
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                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
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                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 11 United
    United States had an
           States had an engine immobilizer, Defendants
                         engine immobilizer, Defendants were
                                                        were negligent
                                                             negligent in
                                                                       in failing
                                                                          failing to
                                                                                  to follow
                                                                                     follow
 22   suit.
      suit.
 33           Defendants’ knowing
              Defendants'         and intentional
                          knowing and intentional choice to sell
                                                  choice to sell cars that are
                                                                 cars that are much
                                                                               much more
                                                                                    more likely
                                                                                         likely
 44 to
    to be
       be stolen
          stolen specifically
                 specifically due to the
                              due to the lack
                                         lack of industry-standard anti-theft
                                              of industry-standard anti-theft technology
                                                                              technology
 55 foreseeably
    foreseeably led
                led to
                    to harm
                       harm to
                            to the
                               the GE Plaintiffs. The
                                   GE Plaintiffs.     reasonableness of
                                                  The reasonableness    Defendants’ conduct
                                                                     of Defendants' conduct
 66 can be measured
    can be measured in
                    in relation
                       relation to
                                to other
                                   other car manufacturers in
                                         car manufacturers in the
                                                              the United
                                                                  United States—essentially
                                                                         States-essentially
 77 all
    all of whom have
        of whom have regularly
                     regularly installed
                               installed engine immobilizers to
                                         engine immobilizers to prevent
                                                                prevent thefts
                                                                        thefts from
                                                                               from occurring
                                                                                    occurring
 8 at
 8 at such
      such aa high
              high rate.
                   rate. The
                         The Supreme
                             Supreme Court
                                     Court of Missouri’s decision
                                           of Missouri's          in Lopez
                                                         decision in Lopez further
                                                                           further exemplifies
                                                                                   exemplifies
 99 this
    this point.
         point. There, plaintiffs in
                There, plaintiffs in aa wrongful
                                        wrongful death
                                                 death suit
                                                       suit claimed that the
                                                            claimed that the defendant power
                                                                             defendant power
10
10    company “was negligent
      company "was negligent in
                             in failing
                                failing to
                                        to warn
                                           warn pilots
                                                pilots of the potential
                                                       of the potential danger
                                                                        danger of
                                                                               of flying into
                                                                                  flying into
11 power
11 power lines
         lines that
               that spanned across aa location
                    spanned across    location on the Osage
                                               on the       River.” 26
                                                      Osage River." 26 S.W.3d
                                                                       S.W.3d at 155. A
                                                                              at 155. A jury
                                                                                        jury
12 found
12 found in
         in favor
            favor of plaintiffs and
                  of plaintiffs and defendant appealed, arguing
                                    defendant appealed, arguing it
                                                                it owed no duty
                                                                   owed no      because the
                                                                           duty because the
13 accident
13 accident was
            was not
                not foreseeable.
                    foreseeable. Id.
                                 Id. The power lines
                                     The power lines causing the crash
                                                     causing the       “were not
                                                                 crash "were not considered
                                                                                 considered
14 an
14 an obstruction to air
      obstruction to air navigation
                         navigation so
                                    so as
                                       as to
                                          to require
                                             require marking
                                                     marking under
                                                             under Federal
                                                                   Federal Aviation
                                                                           Aviation
15 Administration
15 Administration (FAA)
                  (FAA) regulations."
                        regulations.” Id.
                                      Id. Nevertheless,
                                          Nevertheless, the
                                                        the court found ample
                                                            court found ample evidence to
                                                                              evidence to
16
16    support the imposition
      support the imposition of
                             of aa duty. First, the
                                   duty. First, the defendant “was aware
                                                    defendant "was aware of
                                                                         of aa similar accident that
                                                                               similar accident that
17 had
17 had occurred in 1975,
       occurred in 1975, resulting
                         resulting in
                                   in three
                                      three fatalities."
                                            fatalities.” Id.
                                                         Id. at
                                                             at 156.
                                                                156. Second, plaintiffs’ expert
                                                                     Second, plaintiffs' expert
18 witness
18 witness "stated
           “stated that
                   that the
                        the ‘norm’ in the
                            `norm' in the industry
                                          industry after
                                                   after an
                                                         an accident
                                                            accident occurs is either
                                                                     occurs is        to mark
                                                                               either to mark
19 the
19 the line
       line or to request
            or to request an
                          an aeronautical
                             aeronautical study
                                          study from
                                                from the
                                                     the FAA
                                                         FAA regarding
                                                             regarding whether
                                                                       whether the
                                                                               the power
                                                                                   power
20 lines
20 lines should have been
         should have been marked."
                          marked.” Id.
                                   Id. at
                                       at 157.
                                          157.
21
21            Just as in
              Just as in Lopez,
                         Lopez, GE Plaintiffs have
                                GE Plaintiffs have pled
                                                   pled that
                                                        that Defendants
                                                             Defendants knew
                                                                        knew of
                                                                             of the
                                                                                the benefits
                                                                                    benefits of
                                                                                             of
22
22    engine immobilizers in
      engine immobilizers in deterring thefts for
                             deterring thefts for decades prior to
                                                  decades prior to the
                                                                   the manufacture
                                                                       manufacture of the
                                                                                   of the
23
23    Susceptible
      Susceptible Vehicles.
                  Vehicles. CGEC
                            CGEC ¶¶ 69, 72-73,
                                 ¶¶ 69, 72-73, 78-79. Moreover, despite
                                               78-79. Moreover,         the lack
                                                                despite the lack of
                                                                                 of express
                                                                                    express
24 regulations
24 regulations requiring
               requiring engine immobilizers in
                         engine immobilizers in the
                                                the United
                                                    United States, the "industry
                                                           States, the “industry standard"
                                                                                 standard” for
                                                                                           for
25 at
25 at least
      least two
            two decades has been
                decades has been to
                                 to include
                                    include them.
                                            them. Id.
                                                  Id. ¶¶
                                                      ¶¶ 73,
                                                         73, 77. Defendants’ knowledge
                                                             77. Defendants' knowledge of
                                                                                       of
26 the
26 the benefits
       benefits of
                of engine immobilizers therefore
                   engine immobilizers therefore placed
                                                 placed them
                                                        them in
                                                             in the
                                                                the best
                                                                    best position
                                                                         position to
                                                                                  to guard
                                                                                     guard
27 against
27 against the
           the harm
               harm that
                    that occurred.
                         occurred.
28
28
                                                    40
                                                    40
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                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11                c.
                   c.      Public
                           Public policy supports the
                                  policy supports     imposition of
                                                  the imposition of aa duty.
                                                                       duty.
 22         Although not
            Although not an
                         an essential
                            essential element
                                      element of
                                              of aa negligence
                                                    negligence claim, four of
                                                               claim, four    the five
                                                                           of the five relevant
                                                                                       relevant
 33 jurisdictions
     jurisdictions (Indiana,
                   (Indiana, Missouri,
                               Missouri, New
                                           New York,     and Ohio)
                                                 York, and    Ohio) consider   public policy
                                                                     consider public   policy in
                                                                                              in
  44 determining  whether aa legal
     determining whether     legal duty is owed.
                                   duty is       See, e.g.,
                                           owed. See,       Key v.
                                                      e.g., Key    Hamilton, 963
                                                                v. Hamilton,     N.E.2d 573,
                                                                             963 N.E.2d 573, 583
                                                                                             583
 55 (Ind.
    (Ind. Ct. App. 2012)
          Ct. App. 2012) (recognizing
                          (recognizing that
                                        that public
                                             public policy
                                                    policy concerns
                                                            concerns demanded    “hold[ing] an
                                                                      demanded "hold[ing]   an
 66 individual
    individual responsible
               responsible for
                           for the
                               the reasonably
                                   reasonably foreseeable
                                              foreseeable results
                                                           results of
                                                                   of his
                                                                      his behavior");
                                                                          behavior”); Hoover's
                                                                                      Hoover’s
 77 Dairy,
    Dairy, Inc.
            Inc. v. Mid-Am. Dairymen,
                 v. Mid-Am. Dairymen, Inc./Special
                                        Inc./Special Prods.,
                                                     Prods., Inc.,
                                                             Inc., 700
                                                                   700 S.W.2d
                                                                        S.W.2d 426,
                                                                                426, 432  (Mo.
                                                                                     432 (Mo.
 8 1985)
 8  1985) (framing
           (framing "duty"
                     “duty” as
                            as resting
                               resting "on
                                       “on sound
                                           sound public  policy as
                                                  public policy as derived  from aa calculus
                                                                    derived from    calculus of
                                                                                             of
 99 factors:
    factors: among
             among them,
                   them, the
                          the social
                              social consensus  that the
                                      consensus that the interest
                                                         interest is
                                                                  is worthy
                                                                     worthy of protection; .. .. .. the
                                                                            of protection;          the
10 prevention
10  prevention of   future harm;
                of future   harm; [and]    the economic
                                     [and] the               burden upon
                                                 economic burden      upon the
                                                                             the actor
                                                                                  actor and
                                                                                         and the    the
11
11    community”); Landon v.
      community"); Landon    Kroll Lab.
                          v. Kroll Lab. Specialists,
                                        Specialists, Inc.,
                                                     Inc., 999 N.E.2d 1121,
                                                           999 N.E.2d 1121, 1124
                                                                            1124 (N.Y.
                                                                                 (N.Y. 2013)
                                                                                       2013)
12 (finding
12 (finding aa duty
               duty of
                    of care from aa testing
                       care from    testing lab
                                            lab to
                                                to aa third
                                                      third party, under New
                                                            party, under  New York   law, based
                                                                               York law,  based in
                                                                                                in
13 part
13 part on  “strong policy-based
        on "strong   policy-based considerations”);     Estate of
                                   considerations"); Estate     of Ciotto
                                                                   Ciotto v. Hinkle, 145
                                                                          v. Hinkle, 145 N.Ed.3d
                                                                                          N.Ed.3d
14 1013,
14 1013, 1046
         1046 (Ohio
               (Ohio Ct.  App. 2019)
                      Ct. App. 2019) ("Strong
                                      (“Strong public
                                                public policy may justify
                                                       policy may justify imposition
                                                                          imposition of
                                                                                     of aa legal
                                                                                           legal
15 duty”
15       and "[c]ertainly,
   duty" and “[c]ertainly, public
                           public policy
                                  policy favors
                                         favors preserving
                                                preserving human
                                                            human life
                                                                  life and
                                                                       and preventing
                                                                           preventing crime”).
                                                                                      crime").
16 And
16 And although
        although public
                  public policy
                          policy considerations may preclude
                                 considerations may   preclude liability
                                                               liability in
                                                                         in Wisconsin,
                                                                            Wisconsin, such
                                                                                        such
17 considerations
17                are not
   considerations are not present
                          present here.
                                  here. See
                                        See Tesar
                                            Tesar v. Anderson, 789
                                                  v. Anderson,       N.W.2d 351,
                                                                789 N.W.2d   351, 357
                                                                                  357 (Wis.
                                                                                       (Wis.
18 Ct.
18     App. 2010)
   Ct. App. 2010) ("Using
                  (“Using public
                          public policy
                                 policy factors
                                        factors to
                                                to prevent
                                                     prevent liability
                                                                liability is
                                                                           is aa drastic judicial remedy
                                                                                 drastic judicial remedy
19 that
19 that should be employed
        should be employed sparingly  because it
                           sparingly because   it .. .. .. denies
                                                           denies aa litigant   recovery for
                                                                     litigant recovery     for injury.").
                                                                                               injury.”).
20
20          For purposes
            For purposes of
                         of guarding against intentional
                            guarding against intentional or
                                                         or criminal misconduct, the
                                                            criminal misconduct, the
21 Restatement
21 Restatement balances
                balances "the
                         “the magnitude
                               magnitude of the risk
                                         of the risk against
                                                     against the
                                                             the utility
                                                                 utility of the actor's
                                                                         of the actor’s conduct”
                                                                                        conduct"
22 based
22 based on
         on certain factors, including:
            certain factors, including:
23
23                 [T]he known
                   [T]he  known character;   past conduct,
                                  character; past           and tendencies
                                                  conduct, and   tendencies of   the person
                                                                              of the person
                   whose intentional
                   whose   intentional conduct
                                        conduct causes     the harm,
                                                  causes the   harm, the
                                                                       the temptation
                                                                            temptation oror
24
24                 opportunity   which the
                   opportunity which      the situation    may afford
                                               situation may              him for
                                                                  afford him      for such
                                                                                       such
25
25                 misconduct, the
                   misconduct,   the gravity
                                      gravity of  the harm
                                              of the  harm which
                                                             which may
                                                                     may result,
                                                                           result, and
                                                                                    and the
                                                                                        the
                   possibility that
                   possibility that some
                                     some other  person will
                                           other person   will assume
                                                               assume the
                                                                        the responsibility
                                                                             responsibility
26
26                 for preventing
                       preventing the
                                    the conduct
                   for                  conduct or  the harm,
                                                 or the  harm, together
                                                                together with
                                                                          with the
                                                                                the burden
                                                                                     burden
27
27                 of the precautions
                   of the precautions which
                                       which the
                                              the actor
                                                   actor would
                                                         would bebe required
                                                                    required to
                                                                              to take.
                                                                                 take.
28 Restatement
28 Restatement (Second)
               (Second) of
                        of Torts,
                           Torts, §§ 302B
                                     302B cmt.
                                          cmt. ff (1965).
                                                  (1965).
                                                      41
                                                      41
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                                           CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                     OPPOSITION TO MOTION TO
                                                                                TO MOTION    DISMISS
                                                                                          TO DISMISS
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 11         Here, Defendants'
            Here, Defendants’ past
                              past conduct—which includes installing
                                   conduct—which includes installing immobilizers
                                                                     immobilizers in
                                                                                  in all
                                                                                     all of
                                                                                         of
 22 their
    their vehicles
          vehicles sold in Europe
                   sold in Europe and
                                  and Canada
                                      Canada during the applicable
                                             during the applicable period,
                                                                   period, and
                                                                           and in
                                                                               in certain
                                                                                  certain
 33 vehicles
    vehicles sold in the
             sold in the United
                         United States as early
                                States as       as 2007-shows
                                          early as 2007—shows that
                                                              that they
                                                                   they were
                                                                        were well
                                                                             well aware
                                                                                  aware of
                                                                                        of
 44 the
    the technology's
        technology’s efficacy in reducing
                     efficacy in reducing the
                                          the rate
                                              rate of thefts. CGEC
                                                   of thefts. CGEC ¶¶
                                                                   ¶¶ 72,
                                                                      72, 78-79. Moreover,
                                                                          78-79. Moreover,
 55 the
    the gravity
        gravity of the harm
                of the harm suffered
                            suffered due to rampant
                                     due to rampant vehicle
                                                    vehicle thefts
                                                            thefts was
                                                                   was apparent
                                                                       apparent as
                                                                                as early as
                                                                                   early as
 66 the
    the 1960's,
        1960’s, when
                when NHTSA's
                     NHTSA’s predecessor
                             predecessor agencies
                                         agencies recognized
                                                  recognized that
                                                             that approximately
                                                                  approximately one in
                                                                                one in
 77 every five vehicles
    every five vehicles stolen were involved
                        stolen were involved in
                                             in accidents
                                                accidents that
                                                          that injured
                                                               injured one
                                                                       one or more people.
                                                                           or more people. Id.
                                                                                           Id.
 8 ¶¶ 66.
 8    66. While Defendants failed
          While Defendants failed to
                                  to take
                                     take responsibility
                                          responsibility for
                                                         for the
                                                             the rampant
                                                                 rampant thefts,
                                                                         thefts, GE Plaintiffs
                                                                                 GE Plaintiffs
 99 were
    were left
         left to
              to pay
                 pay the
                     the ultimate
                         ultimate price,
                                  price, diverting
                                         diverting countless hours to
                                                   countless hours to responding and
                                                                      responding and
10 investigating
10 investigating thefts,
                 thefts, and
                         and distributing steering wheel
                             distributing steering wheel locks
                                                         locks to
                                                               to owners
                                                                  owners of the Susceptible
                                                                         of the Susceptible
11
11    Vehicles. Id. ¶¶
      Vehicles. Id.    14, 101.
                    ¶¶ 14, 101. Last,
                                Last, the
                                      the "burden
                                          “burden of the precautions"
                                                  of the precautions” Defendants
                                                                      Defendants are
                                                                                 are required
                                                                                     required to
                                                                                              to
12 take—i.e.,
12 take—i.e., installing
              installing reasonable
                         reasonable anti-theft
                                    anti-theft measures,
                                               measures, such as engine
                                                         such as        immobilizers—is
                                                                 engine immobilizers-is
13 relatively
13 relatively slight, as evidenced
              slight, as           by the
                         evidenced by the nearly
                                          nearly 100%
                                                 100% of vehicles from
                                                      of vehicles from other manufacturers
                                                                       other manufacturers
14 that
14 that have
        have contained immobilizers since
             contained immobilizers       at least
                                    since at least 2015,
                                                   2015, and
                                                         and by
                                                             by Defendants'
                                                                Defendants’ own
                                                                            own decision
                                                                                decision
15 to
15 to install
      install them
              them in
                   in all
                      all their
                          their vehicles
                                vehicles starting in 2023.
                                         starting in 2023. Id.
                                                           Id. ¶¶
                                                               ¶¶ 7-8. For all
                                                                  7-8. For all these
                                                                               these reasons,
                                                                                     reasons, public
                                                                                              public
16 policy
16 policy supports the imposition
          supports the imposition of
                                  of aa duty to (1)
                                        duty to (1) exercise reasonable care
                                                    exercise reasonable      in the
                                                                        care in the design and
                                                                                    design and
17 manufacture
17 manufacture of Defendants’ vehicles
               of Defendants' vehicles and
                                       and (2)
                                           (2) guard against the
                                               guard against the intentional
                                                                 intentional and/or
                                                                             and/or criminal
                                                                                    criminal
18 conduct
18 conduct of third parties.
           of third parties.
19
19          2.
            2.     GE
                   GE Plaintiffs  sufficiently allege
                       Plaintiffs sufficiently allege Defendants'
                                                      Defendants’ negligence
                                                                  negligence proximately
                                                                             proximately
20
20                 caused
                   caused their  injuries.
                          their injuries.

21
21          Defendants argue
            Defendants argue that
                             that the
                                  the GE Plaintiffs have
                                      GE Plaintiffs have not
                                                         not adequately
                                                             adequately alleged
                                                                        alleged proximate
                                                                                proximate
22
22    cause, asserting primarily
      cause, asserting primarily that
                                 that the
                                      the acts
                                          acts of third parties
                                               of third parties were
                                                                were intervening
                                                                     intervening superseding
                                                                                 superseding
23
23    causes. Motion at
      causes. Motion at 21-27.
                        21-27. But
                               But as
                                   as discussed above, the
                                      discussed above, the foreseeable
                                                           foreseeable acts
                                                                       acts of third parties
                                                                            of third parties do
                                                                                             do
   not constitute
24 not
24     constitute superseding
                  superseding causes. See supra
                              causes. See supra Section IV.B.
                                                Section IV.B.
25
25          Defendants’ decision
            Defendants'          to omit
                        decision to      industry-standard anti-theft
                                    omit industry-standard anti-theft devices was aa proximate
                                                                      devices was    proximate
26
26    cause
      cause of the GE
            of the    Plaintiffs’ harms,
                   GE Plaintiffs' harms, based
                                         based on the foreseeability
                                               on the foreseeability that
                                                                     that such thefts would
                                                                          such thefts would occur
                                                                                            occur
   as aa natural
27 as
27       natural and
                 and probable
                     probable consequence
                              consequence of Defendants’ actions.
                                          of Defendants' actions. See
                                                                  See Schooley,
                                                                      Schooley, 631 N.E.2d
                                                                                631 N.E.2d
   at 937
28 at
28        (Indiana); Christiansen,
      937 (Indiana); Christiansen, 62
                                   62 S.W.2d at 831
                                      S.W.2d at     (Missouri); Bell,
                                                831 (Missouri); Bell, 687 N.E.2d at
                                                                      687 N.E.2d    1326
                                                                                 at 1326

                                                    42
                                                    42
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       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11 (New
    (New York); Fed. Steel
         York); Fed. Steel &
                           & Wire
                             Wire Corp.,
                                  Corp., 543 N.E.2d at
                                         543 N.E.2d at 776 (Ohio); Stewart,
                                                       776 (Ohio); Stewart, 271
                                                                            271 N.W.2d
                                                                                N.W.2d at
                                                                                       at
 22   87-88 (Wisconsin).
      87-88 (Wisconsin).
 33         In Stewart,
            In Stewart, the
                        the Supreme
                            Supreme Court
                                    Court of
                                          of Wisconsin affirmed aa jury
                                             Wisconsin affirmed    jury verdict
                                                                        verdict finding
                                                                                finding the
                                                                                        the
 44 defendant’s
    defendant's conduct to be
                conduct to be negligent
                              negligent "in
                                        “in leaving
                                            leaving aa loaded
                                                       loaded pistol
                                                              pistol on
                                                                     on aa bed
                                                                           bed in
                                                                               in aa children’s
                                                                                     children's
 55 room
    room with
         with the
              the door
                  door open to aa frequently
                       open to    frequently used
                                             used hallway."
                                                  hallway.” 271
                                                            271 N.W.2d
                                                                N.W.2d at
                                                                       at 83.
                                                                          83. Although
                                                                              Although the
                                                                                       the
 66 plaintiff's
    plaintiff’s subsequent handling of
                subsequent handling    the gun
                                    of the gun served as an
                                               served as an intervening
                                                            intervening cause to the
                                                                        cause to the harm
                                                                                     harm that
                                                                                          that
 77 resulted,
    resulted, the
              the defendant “negligently created
                  defendant "negligently created aa dangerous situation” and
                                                    dangerous situation" and the
                                                                             the harm
                                                                                 harm that
                                                                                      that
 8 resulted
 8 resulted "was
            “was aa foreseeable
                    foreseeable consequence
                                consequence of th[at] situation.”
                                            of th[at]             Id. at
                                                      situation."Id.  at 87-88.
                                                                         87-88. The
                                                                                The court further
                                                                                    court further
 99 rejected
    rejected the
             the defendant’s argument that
                 defendant's argument that public
                                           public policy
                                                  policy considerations should absolve
                                                         considerations should absolve him
                                                                                       him of
                                                                                           of
10 liability,
10 liability, noting
              noting that
                     that "cases
                          “cases in
                                 in which
                                    which aa causally negligent tort-feasor
                                             causally negligent tort-feasor has
                                                                            has been
                                                                                been relieved
                                                                                     relieved of
                                                                                              of
11 liability
11 liability are
             are infrequent
                 infrequent and
                            and present
                                present unusual
                                        unusual and
                                                and extreme
                                                    extreme considerations.” Id. at
                                                            considerations." Id. at 88.
                                                                                    88.
12
12          In Johnson,
            In Johnson, aa case applying New
                           case applying New York law, the
                                             York law, the district
                                                           district court
                                                                    court determined that the
                                                                          determined that the
13 plaintiff
13 plaintiff sufficiently pled that
             sufficiently pled that "defendants
                                    “defendants were
                                                were aa direct link in
                                                        direct link in the
                                                                       the causal
                                                                           causal chain that
                                                                                  chain that
14 resulted
14 resulted in
            in his
               his injuries
                   injuries and
                            and that
                                that they
                                     they were
                                          were in
                                               in the
                                                  the best
                                                      best position
                                                           position to
                                                                    to prevent
                                                                       prevent the
                                                                               the foreseeable
                                                                                   foreseeable
15 harm
15 harm he
        he suffered.” 304 F.
           suffered." 304 F. Supp. 2d at
                             Supp. 2d at 399.
                                         399. Critically, for purposes
                                              Critically, for purposes of the motion
                                                                       of the motion to
                                                                                     to dismiss
                                                                                        dismiss
16
16    stage, the court
      stage, the       also determined
                 court also            that "[d]iscovery
                            determined that “[d]iscovery is
                                                         is needed
                                                            needed to
                                                                   to determine whether
                                                                      determine whether
17 [plaintiff]
17 [plaintiff] should be allowed
               should be allowed to
                                 to proceed
                                    proceed on this theory."
                                            on this theory.” Id.;
                                                             Id.; see
                                                                  see also
                                                                      also Rhodes
                                                                           Rhodes v.
                                                                                  v. Wright,
                                                                                     Wright,
18 805
18 805 N.E.2d
       N.E.2d 382,
              382, 388
                   388 (Ind.
                       (Ind. 2004)
                             2004) ("The
                                   (“The question
                                         question of
                                                  of proximate
                                                     proximate cause
                                                               cause is
                                                                     is one usually left
                                                                        one usually      to
                                                                                    left to
19 the
19 the jury.");
       jury.”); Strother
                Strother v. Hutchinson, 423
                         v. Hutchinson,     N.E.2d 467,
                                        423 N.E.2d 467, 471 (Ohio 1981)
                                                        471 (Ohio 1981) (concluding
                                                                        (concluding that
                                                                                    that
20 "reasonable
20 “reasonable minds
               minds might
                     might well
                           well have
                                have arrived
                                     arrived at
                                             at different
                                                different conclusions upon the
                                                          conclusions upon the issues
                                                                               issues of
                                                                                      of
21 negligence
21 negligence and
              and proximate
                  proximate cause, and therefore
                            cause, and therefore they
                                                 they were
                                                      were questions
                                                           questions of fact for
                                                                     of fact for the
                                                                                 the jury");
                                                                                     jury”);
22
22    Wilmes
      Wilmes v.
             v. Consumers
                Consumers Oil
                          Oil Co.
                              Co. of Maryville, 473
                                  of Maryville, 473 S.W.3d
                                                    S.W.3d 705,
                                                           705, 722 (Mo. Ct.
                                                                722 (Mo.     App. 2015)
                                                                         Ct. App. 2015)
23 (similar);
23 (similar); Beul
              Beul v. ASSE Int
                   v. ASSE Int’l, Inc., 55
                               1, Inc.,    F. Supp.
                                        55 F.       2d 942,
                                              Supp. 2d 942, 948 (E.D. Wis.
                                                            948 (E.D.      1999) ("Whether
                                                                      Wis. 1999) (“Whether aa
24 negligent
24 negligent act
             act is
                 is aa substantial
                       substantial factor
                                   factor in
                                          in contributing to an
                                             contributing to an injury
                                                                injury is
                                                                       is ordinarily
                                                                          ordinarily aa question left
                                                                                        question left
25 to
25 to the
      the jury[.]").
          jury[.]”).
26
26          As alleged
            As alleged in
                       in the
                          the Complaint, the theft-prone
                              Complaint, the theft-prone vehicles
                                                         vehicles were
                                                                  were placed
                                                                       placed on the road
                                                                              on the road with
                                                                                          with
27 actual
27 actual knowledge that they
          knowledge that they included
                              included aa higher
                                          higher likelihood
                                                 likelihood of theft given
                                                            of theft       the absence
                                                                     given the absence of
                                                                                       of an
                                                                                          an
28 immobilizer
28 immobilizer or
               or other reasonable anti-theft
                  other reasonable            measures. CGEC
                                   anti-theft measures. CGEC ¶¶
                                                             ¶¶ 73-74; see also
                                                                73-74; see also id.
                                                                                id. ¶¶ 76
                                                                                       76
                                                    43
                                                    43
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       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1    (citing aa study
      (citing    study discussing thieves who
                       discussing thieves who would
                                              would target
                                                    target older model years
                                                           older model years of
                                                                             of aa vehicle
                                                                                   vehicle series
                                                                                           series
 22 without
    without immobilizers).
            immobilizers). Thus,
                           Thus, GE Plaintiffs have
                                 GE Plaintiffs have adequately
                                                    adequately alleged that Defendants
                                                               alleged that Defendants were
                                                                                       were
 33 in
    in the
       the best
           best position
                position to
                         to guard against thefts
                            guard against thefts and
                                                 and that
                                                     that Defendants'
                                                          Defendants’ acts
                                                                      acts and
                                                                           and omissions
                                                                               omissions
 44 proximately
    proximately caused the injuries
                caused the injuries alleged
                                    alleged here.
                                            here.
 55         3.
            3.     GE
                   GE Plaintiffs
                      Plaintiffs plausibly allege damages.
                                 plausibly allege damages.
 66         Other than the
            Other than the New
                           New York and Ohio
                               York and Ohio GE Plaintiffs, Defendants
                                             GE Plaintiffs, Defendants appear
                                                                       appear to
                                                                              to concede
                                                                                 concede
 77 that
    that the
         the GE Plaintiffs properly
             GE Plaintiffs properly allege
                                    allege damages. For New
                                           damages. For New York and Ohio,
                                                            York and Ohio, GE Plaintiffs
                                                                           GE Plaintiffs
 8 rely
 8 rely on their arguments
        on their arguments below
                           below as
                                 as to
                                    to why
                                       why neither
                                           neither the
                                                   the municipal
                                                       municipal cost recovery rule
                                                                 cost recovery rule nor
                                                                                    nor the
                                                                                        the
 99 economic loss rule
    economic loss rule precludes
                       precludes damages under New
                                 damages under New York
                                                   York and
                                                        and Ohio
                                                            Ohio law. Accordingly, all
                                                                 law. Accordingly, all
10
10    GE Plaintiffs adequately
      GE Plaintiffs adequately plead
                               plead damages, including the
                                     damages, including the expense
                                                            expense of “significant police
                                                                    of "significant police and
                                                                                           and
11
11    emergency services” in
      emergency services" in responding
                             responding to
                                        to the
                                           the vehicle
                                               vehicle thefts.
                                                       thefts. Id.
                                                               Id. ¶¶ 97.
                                                                      97.
12
12    E.
      E.    The
            The Municipal
                Municipal Cost
                          Cost Recovery
                               Recovery Rule Does Not
                                        Rule Does Not Bar
                                                      Bar New York GE
                                                          New York GE Plaintiffs’
                                                                      Plaintiffs'
13
13          Claims.
            Claims.

14
14          Defendants argue
            Defendants       that the
                       argue that the New
                                      New York
                                          York GE Plaintiffs’ claims
                                               GE Plaintiffs' claims are
                                                                     are precluded by the
                                                                         precluded by the
   municipal cost
15 municipal
15                recovery rule.
             cost recovery rule. Motion
                                 Motion at
                                        at 56. But that
                                           56. But that rule
                                                        rule does not apply
                                                             does not apply where
                                                                            where aa
16
16    governmental
      governmental entity seeks to
                   entity seeks to recover
                                   recover costs resulting from
                                           costs resulting from aa defendant’s
                                                                   defendant's ongoing and
                                                                               ongoing and
   persistent misconduct
17 persistent
17            misconduct or the creation
                         or the creation of
                                         of aa public
                                               public nuisance.
                                                      nuisance. See
                                                                See City
                                                                    City of Flagstaff v.
                                                                         of Flagstaff v.
   Atchison, Topeka
18 Atchison,
18                  & Santa
             Topeka & Santa Fe
                            Fe Ry.
                               Ry. Co.,
                                   Co., 719 F.2d 322,
                                        719 F.2d 322, 324
                                                      324 (9th
                                                          (9th Cir. 1983) (explaining
                                                               Cir. 1983) (explaining that
                                                                                      that
   “[r]ecovery has
19 "[r]ecovery
19             has also
                   also been
                        been allowed
                             allowed where
                                     where the
                                           the acts
                                               acts of
                                                    of aa private
                                                          private party
                                                                  party create
                                                                        create aa public
                                                                                  public nuisance
                                                                                         nuisance
   which the
20 which
20       the government
             government seeks to abate”);
                        seeks to          In re
                                 abate"); In    JUUL, 497
                                             re JUUL,     F. Supp.
                                                      497 F.       3d at
                                                             Supp. 3d at 644 (finding that
                                                                         644 (finding that
   municipal cost
21 municipal
21                recovery rule
             cost recovery rule did not bar
                                did not bar plaintiffs'
                                            plaintiffs’ recovery
                                                        recovery of
                                                                 of public
                                                                    public costs under public
                                                                           costs under public
   nuisance and
22 nuisance
22          and negligence
                negligence where
                           where plaintiffs
                                 plaintiffs alleged
                                            alleged ongoing and persistent
                                                    ongoing and persistent misconduct).
                                                                           misconduct).
23
23          The
            The cases Defendants cite
                cases Defendants      involved discrete
                                 cite involved discrete emergency incidents requiring
                                                        emergency incidents requiring
   municipal services
24 municipal
24                    in response.
             services in response. See
                                   See Koch
                                       Koch v.
                                            v. Consolidated Edison Co.
                                               Consolidated Edison Co. of N.Y., 468
                                                                       of N.Y.,     N.E.2d
                                                                                468 N.E.2d
25 11 (1984)
25    (1984) (Edison's
             (Edison’s gross negligence in
                       gross negligence in connection with aa 25-hour
                                           connection with    25-hour citywide blackout);
                                                                      citywide blackout);
26
26    County
      County of Erie v.
             of Erie    Colgan Air,
                     v. Colgan Air, Inc.,
                                    Inc., 711 F.3d
                                          711 F     147, 150
                                                .3d 147, 150 (2d
                                                             (2d Cir. 2013) (the
                                                                 Cir. 2013) (the crash
                                                                                 crash of
                                                                                       of aa
27
27    commercial airline flight
      commercial airline flight as
                                as it
                                   it approached
                                      approached Buffalo-Niagara
                                                 Buffalo-Niagara International
                                                                 International Airport).
                                                                               Airport). It
                                                                                         It was
                                                                                            was
   precisely the
28 precisely
28           the discrete nature of
                 discrete nature    the event
                                 of the       that led
                                        event that led the
                                                       the court in Colgan
                                                           court in        to apply
                                                                    Colgan to apply the
                                                                                    the municipal
                                                                                        municipal

                                                   44
                                                   44
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                                         CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                   OPPOSITION TO MOTION TO
                                                                              TO MOTION    DISMISS
                                                                                        TO DISMISS
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 1
 1    cost recovery rule.
      cost recovery rule. County
                          County of Erie v.
                                 of Erie v. Colgan Air, Inc.,
                                            Colgan Air, Inc., No.
                                                              No. 10-CV-157S,
                                                                  10-CV-157S, 2012
                                                                              2012 WL
                                                                                   WL
 22   1029542, at
      1029542, at *4 (W.D.N.Y. Mar.
                  *4 (W.D.N.Y. Mar. 26,
                                    26, 2012)
                                        2012) (noting
                                              (noting "Plaintiff
                                                      “Plaintiff has
                                                                 has alleged neither aa
                                                                     alleged neither
 3
 3    continuing nor recurrent
      continuing nor recurrent problem").
                               problem”). In
                                          In considering whether the
                                             considering whether the rule
                                                                     rule applies
                                                                          applies to
                                                                                  to aa specific
                                                                                        specific
 44 case,
    case, courts have repeatedly
          courts have repeatedly distinguished this sort
                                 distinguished this sort of
                                                         of discrete incident from
                                                            discrete incident from an
                                                                                   an alleged
                                                                                      alleged
 55 pattern
    pattern of repeated or
            of repeated or ongoing misconduct resulting
                           ongoing misconduct resulting in
                                                        in harm
                                                           harm to
                                                                to the
                                                                   the public.
                                                                       public. In
                                                                               In re
                                                                                  re Opioid
                                                                                     Opioid
 66 Litig.,
    Litig., 2018
            2018 WL 3115102, at
                 WL 3115102, at *10. As Judge
                                *10. As Judge Garguilo held in
                                              Garguilo held in In
                                                               In re
                                                                  re Opioid Litig., the
                                                                     Opioid Litig., the
 77 municipal
    municipal cost recovery did
              cost recovery     not bar
                            did not bar plaintiffs'
                                        plaintiffs’ public
                                                    public nuisance
                                                           nuisance claim. Id. Nor
                                                                    claim. Id. Nor did the rule
                                                                                   did the rule
 8
 8    pose any
      pose any barrier
               barrier to
                       to their
                          their negligence
                                negligence claims. Id. at
                                           claims. Id. at 25-27.
                                                          25-27.
 99         Judge
            Judge Garguilo’s holding was
                  Garguilo's holding was no
                                         no outlier—in the JUUL
                                            outlier—in the      MDL and
                                                           JUUL MDL and opioid litigation,
                                                                        opioid litigation,
10
10    courts have overwhelmingly
      courts have overwhelmingly concluded that the
                                 concluded that the municipal
                                                    municipal cost recovery rule
                                                              cost recovery rule does not
                                                                                 does not
11
11    apply to
      apply to public
               public nuisance
                      nuisance and
                               and negligence
                                   negligence claims that are
                                              claims that are not
                                                              not premised
                                                                  premised on
                                                                           on aa discrete
                                                                                 discrete event.
                                                                                          event.
12 See,
12 See, e.g., In re
        e.g., In    JUUL Labs,
                 re JUUL Labs, 497 F. Supp.
                               497 F.       3d at
                                      Supp. 3d at 643-45
                                                  643-45 (finding
                                                         (finding the
                                                                  the "municipal
                                                                      “municipal cost
                                                                                 cost
13
13    recovery rule
      recovery rule does not bar
                    does not bar the
                                 the claims
                                     claims of [a New
                                            of [a New York
                                                      York school
                                                           school district and other
                                                                  district and other
14
14    governmental
      governmental entities]
                   entities] .. .. .. from
                                      from recovering
                                           recovering the
                                                      the monetary
                                                          monetary damages they seek
                                                                   damages they      for their
                                                                                seek for their
15
15    public nuisance
      public nuisance and
                      and negligence
                          negligence claims” because they
                                     claims" because they "plausibly
                                                          “plausibly allege
                                                                     allege damages that are
                                                                            damages that are
16
16    not aa result
      not    result of
                    of aa single
                          single discrete incident that
                                 discrete incident that aa government
                                                           government entity
                                                                      entity can reasonably expect
                                                                             can reasonably        to
                                                                                            expect to
17
17    incur”); Delaware
      incur"); Delaware ex
                        ex rel. Jennings v.
                           rel. Jennings    Purdue Pharma
                                         v. Purdue Pharma L.P.,
                                                          L.P., No.
                                                                No. N18C-01-223
                                                                    N18C-01-223 MMJ
                                                                                MMJ
18
18    CCLD, 2019 WL
      CCLD, 2019 WL 446382,
                    446382, at
                            at *6 (Del. Super.
                               *6 (Del. Super. Ct. Feb. 4,
                                               Ct. Feb.    2019) ("The
                                                        4, 2019) (“The Court finds that
                                                                       Court finds that the
                                                                                        the
19
19    municipal cost
      municipal      recovery rule
                cost recovery rule does not apply
                                   does not apply in
                                                  in this
                                                     this case. In five
                                                          case. In five separate
                                                                        separate courts, and in
                                                                                 courts, and in the
                                                                                                the
20
20    multi-district federal
      multi-district federal litigation
                             litigation based
                                        based in
                                              in Ohio, judges have
                                                 Ohio, judges have rejected
                                                                   rejected the
                                                                            the notion
                                                                                notion that
                                                                                       that the
                                                                                            the
21
21    municipal cost
      municipal      recovery rule
                cost recovery rule bars
                                   bars recovery
                                        recovery for
                                                 for public
                                                     public costs.”). Defendants’ sale
                                                            costs."). Defendants' sale of vehicles
                                                                                       of vehicles
22
22    without reasonable
      without reasonable anti-theft measures, despite
                         anti-theft measures,         the adoption
                                              despite the adoption of
                                                                   of such measures by
                                                                      such measures by every
                                                                                       every
23
23    other automaker in
      other automaker in the
                         the United
                             United States market, and
                                    States market, and by
                                                       by Defendants
                                                          Defendants themselves
                                                                     themselves in
                                                                                in Canadian
                                                                                   Canadian
24
24    and European
      and European markets,
                   markets, has
                            has caused New York
                                caused New York GE Plaintiffs to
                                                GE Plaintiffs to incur
                                                                 incur costs that far
                                                                       costs that far exceed
                                                                                      exceed
25
25    the normal
      the normal provision
                 provision of police and
                           of police and emergency
                                         emergency services in response
                                                   services in response to
                                                                        to discrete incidents,
                                                                           discrete incidents,
26
26    and the
      and the resulting
              resulting harm
                        harm is
                             is ongoing.
                                ongoing. Thus, the costs
                                         Thus, the       the New
                                                   costs the New York
                                                                 York GE Plaintiffs seek
                                                                      GE Plaintiffs      to
                                                                                    seek to
27
27    recover are
      recover are not
                  not barred
                      barred by
                             by the
                                the municipal
                                    municipal cost recovery rule.
                                              cost recovery rule. Moreover,
                                                                  Moreover, the
                                                                            the New
                                                                                New York
                                                                                    York GE
                                                                                         GE
28
28
                                                    45
                                                    45
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
      Case 8:22-ml-03052-JVS-KES Document 241 Filed 10/03/23 Page 62 of 76 Page ID
                                       #:6817


 1
 1    Plaintiffs also
      Plaintiffs also seek injunctive relief,
                      seek injunctive relief, which
                                              which Defendants
                                                    Defendants have
                                                               have (correctly)
                                                                    (correctly) not
                                                                                not suggested
                                                                                    suggested is
                                                                                              is
 22   in any
      in any way
             way subject to the
                 subject to the municipal
                                municipal cost          rule.17
                                               recovery rule.'
                                          cost recovery
 3
 3    F.
      F.     The
             The Economic
                  Economic Loss   Doctrine Does
                            Loss Doctrine  Does Not Apply to
                                                Not Apply to the
                                                             the Ohio and New
                                                                 Ohio and     York GE
                                                                          New York GE
 44          Plaintiffs’
             Plaintiffs' Request
                         Request for Damages.
                                 for Damages.

 55          The
             The GE Plaintiffs’ claims
                 GE Plaintiffs' claims do not sound
                                       do not       in contract
                                              sound in contract or product liability.
                                                                or product liability. Instead, they
                                                                                      Instead, they
    are public
 66 are public nuisance
               nuisance and
                        and negligence
                            negligence claims
                                       claims arising
                                               arising from Defendants’ intentional
                                                       from Defendants'   intentional conduct.
                                                                                      conduct.

 77 Thus, the economic
    Thus, the           loss doctrine
               economic loss doctrine does not apply
                                      does not apply to
                                                      to GE Plaintiffs’ claims
                                                         GE Plaintiffs'         under Ohio
                                                                        claims under   Ohio or
                                                                                            or
   New York
 8 New
 8          law.
       York law.

 99          1.
             1.     Ohio
                    Ohio
10
10           Defendants paint
             Defendants       the economic
                        paint the economic loss
                                           loss doctrine
                                                doctrine as
                                                         as aa strict bar to
                                                               strict bar to recovery.
                                                                             recovery. But
                                                                                       But in
                                                                                           in Ohio,
                                                                                              Ohio,
11
11    the applicability
      the applicability of this economic
                        of this          loss rule
                                economic loss rule depends
                                                   depends on the complexity
                                                           on the complexity of the parties
                                                                             of the parties and
                                                                                            and
12
12    the type
      the type of tort claim
               of tort       at issue.
                       claim at issue. See
                                       See In
                                           In re
                                              re Whirlpool
                                                 Whirlpool Corp. Front-Loading Washer
                                                           Corp. Front-Loading        Prods.
                                                                               Washer Prods.
13 Liab.
13 Liab. Litig.,
         Litig., 684
                 684 F.
                     F. Supp. 2d 942,
                        Supp. 2d 942, 949 (N.D. Ohio
                                      949 (N.D.      2009). Here,
                                                Ohio 2009). Here, where
                                                                  where the
                                                                        the tortious
                                                                            tortious conduct
                                                                                     conduct
14
14    was intentional,
      was intentional, and
                       and the
                           the parties
                               parties had
                                       had no
                                           no contractual relationship, the
                                              contractual relationship, the economic loss doctrine
                                                                            economic loss doctrine
15
15    does     apply.18
           not apply."
      does not
16
16                  At its
                    At its heart,
                           heart, the
                                  the economic loss rule
                                      economic loss rule is
                                                         is centered around limiting
                                                            centered around limiting recovery
                                                                                     recovery for
                                                                                              for
17
17    purely economic
      purely          losses resulting
             economic losses resulting from
                                       from the
                                            the negligent
                                                negligent performance
                                                          performance of
                                                                      of aa contract, as the
                                                                            contract, as the risk
                                                                                             risk
18
18    of
      of economic loss is
         economic loss is something that contracting
                          something that             parties can
                                         contracting parties     negotiate as
                                                             can negotiate as aa term
                                                                                 term of the
                                                                                      of the
19
19    contract. See Corporex
      contract. See          Dev. &
                    Corporex Dev. & Constr. Mgmt, Inc.
                                    Constr. Mgmt, Inc. v. Shook, 835
                                                       v. Shook, 835 N.E.2d
                                                                     N.E.2d 701,
                                                                            701, 704 (Ohio
                                                                                 704 (Ohio
20
20    2005). The
      2005). The Ohio
                 Ohio Supreme
                      Supreme Court
                              Court explained that the
                                    explained that the rule
                                                       rule "stems
                                                            “stems from
                                                                   from the
                                                                        the recognition
                                                                            recognition of
                                                                                        of aa
21
21    balance between
      balance between tort
                      tort law,
                           law, designed to redress
                                designed to redress losses
                                                    losses suffered
                                                           suffered by
                                                                    by aa breach
                                                                          breach of
                                                                                 of duty imposed
                                                                                    duty imposed
22
22    by law
      by law to
             to protect
                protect societal interests, and
                        societal interests, and contract law, which
                                                contract law, which holds
                                                                    holds that
                                                                          that parties
                                                                               parties to
                                                                                       to aa
23
23
24
24    17
         The
         The JUUL
              JUUL MDLMDL court    noted that
                            court noted    that even if the
                                                even if the municipal
                                                            municipal cost   recovery rule
                                                                        cost recovery  rule were
                                                                                            were to
                                                                                                  to apply,
                                                                                                     apply,
25
25      “‘it would
       "`it  would entail
                     entail only
                            only aa limit
                                     limit on   the scope
                                            on the  scope ofof damages    that the
                                                               damages that    the [government
                                                                                   [government entities]
                                                                                                   entities]
26
26      might recover'
        might  recover’ and
                          and not
                               not mandate
                                   mandate dismissal
                                              dismissal of   their entire
                                                          of their        public nuisance
                                                                   entire public  nuisance or   negligence
                                                                                             or negligence
        claims.”  Id. at
        claims." Id.  at 645 n.71 (citing
                         645 n.71  (citing Camden
                                            Camden Cty.    Bd. of
                                                     Cty. Bd.  of Chosen   Freeholders v.
                                                                   Chosen Freeholders       Beretta U.S.A.
                                                                                         v. Beretta  U.S.A.
27
27      Corp.,  123 F.
        Corp., 123   F. Supp.  2d 245,
                         Supp. 2d  245, 265
                                         265 (D.N.J.
                                              (D.N.J. 2000),
                                                       2000), aff'd,
                                                               aff’d, 273
                                                                      273 F.3d
                                                                           F.3d 536  (3d Cir.
                                                                                536 (3d        2001)).
                                                                                         Cir. 2001)).
      18
28
28       Defendants do
      18 Defendants         not argue
                         do not argue that
                                         that the
                                               the economic    loss doctrine
                                                   economic loss               applies to
                                                                     doctrine applies   to the
                                                                                            the Ohio
                                                                                                 Ohio GE
                                                                                                       GE
        Plaintiffs’ claim
        Plaintiffs'        for absolute
                    claim for  absolute public
                                          public nuisance.
                                                  nuisance. See
                                                             See Motion
                                                                  Motion atat 57.
                                                                              57.
                                                        46
                                                        46
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs             CORRECTED GOV’T ENTITIES'
                                             CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                       OPPOSITION TO MOTION TO
                                                                                  TO MOTION    DISMISS
                                                                                            TO DISMISS
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 11   commercial transaction should
      commercial transaction        remain free
                             should remain free to
                                                to govern their own
                                                   govern their     affairs.” Id.
                                                                own affairs." Id. Thus, in cases
                                                                                  Thus, in cases
 22 involving
    involving only
              only economic loss, the
                   economic loss, the rule
                                      rule "will
                                           “will bar
                                                 bar the
                                                     the tort
                                                         tort claim if the
                                                              claim if the duty arose only
                                                                           duty arose      by
                                                                                      only by
 33   contract.”
      contract." Campbell
                 Campbell v. Krupp, 961
                          v. Krupp,     N.E.2d 205,
                                    961 N.E.2d 205, 211
                                                    211 (Ohio
                                                        (Ohio Ct. App. 2011).
                                                              Ct. App. 2011). In Digiknow,
                                                                              In Digiknow,
 44 Inc.
    Inc. v. PKXL Cards,
         v. PKXL        Inc., No.
                 Cards, Inc., No. 96034, 2011 WL
                                  96034, 2011    2899600 (Ohio
                                              WL 2899600 (Ohio Ct. App. July
                                                               Ct. App.      21, 2011),
                                                                        July 21, 2011),
 55 the
    the Ohio
        Ohio Court
             Court of Appeals articulated
                   of Appeals articulated why
                                          why the
                                              the economic loss rule
                                                  economic loss rule is
                                                                     is limited
                                                                        limited to
                                                                                to actions
                                                                                   actions
 66 arising
    arising from
            from contracts.
                  contracts.
                  [T]he reasoning
                  [T]he   reasoning behind
                                      behind the
                                              the economic
                                                  economic loss
                                                              loss doctrine  is that
                                                                   doctrine is  that tort
                                                                                     tort law
                                                                                          law
 77               is not
                  is   not intended
                            intended toto compensate
                                           compensate parties        for monetary
                                                           parties for    monetary losses
                                                                                       losses
                  suffered
                  suffered asas aa result
                                   result of
                                          of duties  that are
                                             duties that  are owed
                                                               owed toto them
                                                                         them simply
                                                                                simply as as aa
 8
 8                result of
                  result     the contract.
                          of the  contract. This  is because
                                            This is  because of   the sense
                                                               of the        that it
                                                                       sense that  if the
                                                                                      the tort
                                                                                          tort
                  law was
                  law   was "allowed
                             “allowed toto progress
                                           progress too
                                                      too far,
                                                          far, contract  law would
                                                               contract law   would drown
                                                                                       drown
 99               in aa sea
                  in    sea of tort.”
                            of tort."
10
10         Id. at
           Id. at *1  (citations omitted).
                  *1 (citations   omitted). Thus,   in Beretta,
                                             Thus, in   Beretta, the
                                                                  the Ohio
                                                                      Ohio Supreme
                                                                            Supreme Court       found that
                                                                                         Court found  that
11 the
11 the city
       city could
            could seek
                  seek damages under qualified
                       damages under           nuisance and
                                     qualified nuisance and negligence
                                                            negligence claims for increased
                                                                       claims for increased
12 municipal
12 municipal expenditures
             expenditures due to gun
                          due to     manufacturers’ tortious
                                 gun manufacturers' tortious conduct.
                                                             conduct. 768 N.E.2d at
                                                                      768 N.E.2d at 1150.
                                                                                    1150.
13
13          Defendants rely
            Defendants rely on
                            on City
                               City of
                                    of Cincinnati
                                       Cincinnati v. Deutsche Bank
                                                  v. Deutsche Bank National
                                                                   National Trust
                                                                            Trust Co.,
                                                                                  Co., 863
                                                                                       863
14 F.3d
14 F.3d 474 (6th Cir.
        474 (6th      2017), in
                 Cir. 2017), in attempting to extend
                                attempting to        the economic
                                              extend the economic loss
                                                                  loss rule
                                                                       rule outside
                                                                            outside of
                                                                                    of
15
15    contractual
      contractual duties. In that
                  duties. In that case, the Court
                                  case, the Court identified
                                                  identified two
                                                             two unpublished
                                                                 unpublished Ohio
                                                                             Ohio Court
                                                                                  Court of
                                                                                        of
16 Appeals
16 Appeals cases in which
           cases in which the
                          the economic loss rule
                              economic loss rule applied
                                                 applied without
                                                         without privity,
                                                                 privity, found
                                                                          found that
                                                                                that the
                                                                                     the Ohio
                                                                                         Ohio
17
17    Supreme
      Supreme Court had not
              Court had not resolved
                            resolved the
                                     the question, and thus
                                         question, and thus applied
                                                            applied the
                                                                    the rule.
                                                                        rule. Id.
                                                                              Id. at
                                                                                  at 478. But
                                                                                     478. But
18 both
18 both of those cases
        of those cases show why the
                       show why the Ohio
                                    Ohio Supreme
                                         Supreme Court would not
                                                 Court would not extend the economic
                                                                 extend the economic
19 loss
19 loss rule
        rule in
             in such
                such aa circumstance, if presented
                        circumstance, if presented with
                                                   with the
                                                        the question here. In
                                                            question here. In the
                                                                              the first
                                                                                  first of the two
                                                                                        of the two
20 unpublished
20 unpublished cases upon which
               cases upon which Deutsche
                                Deutsche Bank
                                         Bank relies,
                                              relies, aa construction
                                                         construction company
                                                                      company cut
                                                                              cut aa bundle
                                                                                     bundle
21
21    of telephone cords
      of telephone cords owned by SBC
                         owned by     Ameritech while
                                  SBC Ameritech while performing
                                                      performing roadwork.
                                                                 roadwork. RWP,
                                                                           RWP, Inc.
                                                                                Inc. v.
                                                                                     v.
22 Fabrizi
22 Fabrizi Trucking & Paving
           Trucking & Paving Co., No. 87382,
                             Co., No. 87382, 2006
                                             2006 WL 2777159, at
                                                  WL 2777159, at *3 (Ohio Ct.
                                                                 *3 (Ohio Ct. App.
                                                                              App. Sept.
                                                                                   Sept.
23 28,
23 28, 2006).
       2006). The businesses that
              The businesses that had
                                  had contracted with SBC
                                      contracted with     Ameritech to
                                                      SBC Ameritech to use
                                                                       use those
                                                                           those telephone
                                                                                 telephone
24 lines
24 lines sued, asserting claims
         sued, asserting claims of breach of
                                of breach of contract against SBC
                                             contract against     Ameritech and
                                                              SBC Ameritech and qualified
                                                                                qualified
25 nuisance
25 nuisance and
            and negligence
                negligence against
                           against the
                                   the construction
                                       construction company. Id. There,
                                                    company. Id.        the contracting
                                                                 There, the contracting
26 parties
26 parties could have accounted
           could have accounted for
                                for interruptions
                                    interruptions of
                                                  of service
                                                     service due to third-parties'
                                                             due to third-parties’ negligence.
                                                                                   negligence.
27 Here,
27 Here, there
         there is
               is no
                  no corollary
                     corollary contract; the Ohio
                               contract; the Ohio GE Plaintiffs’ economic
                                                  GE Plaintiffs'          losses stem
                                                                 economic losses       not from
                                                                                 stein not from
28 aa contractual
28    contractual duty but from
                  duty but from their
                                their status
                                      status as
                                             as an
                                                an arm
                                                   arm of the state's
                                                       of the state’s plenary
                                                                      plenary police
                                                                              police power.
                                                                                     power.
                                                       47
                                                       47
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs            CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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 1
 1          The
            The second
                second of the two
                       of the two cases relied on
                                  cases relied    in Deutsche
                                               on in Deutsche Bank
                                                              Bank makes
                                                                   makes precisely
                                                                         precisely the
                                                                                   the same
                                                                                       same
 22   argument that
      argument that the
                    the GE Plaintiffs do.
                        GE Plaintiffs     See City
                                      do. See City of
                                                   of Cleveland
                                                      Cleveland v. JP Morgan
                                                                v. JP Morgan Chase Bank, N.A.,
                                                                             Chase Bank, N.A.,
 3 No.
 3 No. 98656, 2013 WL
       98656, 2013    1183332, at
                   WL 1183332, at *8 (Ohio Ct.
                                  *8 (Ohio     App. Mar.
                                           Ct. App. Mar. 21,
                                                         21, 2013).
                                                             2013). That
                                                                    That case
                                                                         case referenced
                                                                              referenced
 44 the
    the historical
        historical inapplicability
                   inapplicability of the economic
                                   of the          loss rule
                                          economic loss rule to
                                                             to non-contractual
                                                                non-contractual duties, and stated
                                                                                duties, and stated
 55 that
    that "[t]he
         “[t]he doctrine
                doctrine does not present
                         does not present aa strong
                                             strong case for application
                                                    case for application to
                                                                         to the
                                                                            the City's
                                                                                City’s suit where
                                                                                       suit where
 66 the
    the duty alleged to
        duty alleged to have
                        have been
                             been breached
                                  breached is
                                           is not
                                              not related
                                                  related to
                                                          to aa contractual relationship and
                                                                contractual relationship and the
                                                                                             the
 77 City has alleged
    City has alleged particularized
                     particularized damages associated with
                                    damages associated with decreased tax revenue
                                                            decreased tax revenue and
                                                                                  and
 8
 8    increased costs
      increased costs of safety services."
                      of safety services.” Id.
                                           Id. However,
                                               However, the
                                                        the court
                                                            court constrained itself with
                                                                  constrained itself with
 99 horizontal
    horizontal stare
               stare decisis based on
                     decisis based    Fabrizi. Id.
                                   on Fabrizi. Id. This
                                                   This Court is not
                                                        Court is not so
                                                                     so constrained, and can,
                                                                        constrained, and      as
                                                                                         can, as
10
10    was done
      was      in In
          done in In re
                     re Opiate Litigation, independently
                        Opiate Litigation, independently determine whether the
                                                         determine whether the Ohio
                                                                               Ohio Supreme
                                                                                    Supreme
11
11    Court would likely
      Court would likely apply
                         apply the
                               the economic loss rule
                                   economic loss rule in
                                                      in an
                                                         an action
                                                            action such
                                                                   such as
                                                                        as this.
                                                                           this. No.
                                                                                 No. 1:18-cv-
                                                                                     1:18-cv-
12
12    02804, 2018 WL
      02804, 2018 WL 4895856, at *40
                     4895856, at     (N.D. Ohio
                                 *40 (N.D. Ohio Oct.
                                                Oct. 5, 2018), report
                                                     5, 2018),        and recommendation
                                                               report and recommendation
13
13    adopted in
      adopted    part, rejected
              in part, rejected in part, No.
                                in part, No. 1:17-md-2804,
                                             1:17-md-2804, 2018
                                                           2018 WL
                                                                WL 6628898 (N.D. Ohio
                                                                   6628898 (N.D.      Dec.
                                                                                 Ohio Dec.
14
14    19, 2018).
      19, 2018).
15
15          In In
            In In re
                  re Opiate Litigation, applying
                     Opiate Litigation, applying these
                                                 these same principles, the
                                                       same principles, the economic loss rule
                                                                            economic loss rule
16
16    was found
      was found inapplicable
                inapplicable as
                             as against
                                against governmental
                                        governmental entities suing under
                                                     entities suing under negligence
                                                                          negligence and
                                                                                     and
17
17    nuisance. Id.
      nuisance. Id. Instead,
                    Instead, the
                             the court followed Berretta,
                                 court followed Berretta, Digiknow,
                                                          Digiknow, and
                                                                    and the
                                                                        the underlying
                                                                            underlying rationale
                                                                                       rationale
18
18    behind the
      behind the economic loss rule
                 economic loss rule to
                                    to find
                                       find it
                                            it inapplicable
                                               inapplicable where
                                                            where the
                                                                  the injured
                                                                      injured party
                                                                              party could not
                                                                                    could not
19
19    have allocated
      have allocated the
                     the risk
                         risk of loss as
                              of loss as part
                                         part of
                                              of aa contract. Id. Here,
                                                    contract. Id. Here, as
                                                                        as in
                                                                           in In
                                                                              In re
                                                                                 re Opiate Litigation,
                                                                                    Opiate Litigation,
20 "the
20 “the harm
        harm alleged
             alleged is
                     is caused by involuntary
                        caused by involuntary interactions
                                              interactions between
                                                           between aa tortfeasor
                                                                      tortfeasor and
                                                                                 and aa
21
21    plaintiff.” Id.
      plaintiff." Id. Thus, the economic
                      Thus, the          loss rules
                                economic loss rules does not apply.
                                                    does not apply.
22
22          2.
            2.     New York
                   New York
23
23          Defendants cite
            Defendants      to 532
                       cite to     Madison Avenue
                               532 Madison Avenue Gourmet Foods, Inc.
                                                  Gourmet Foods, Inc. v. Finlandia Center,
                                                                      v. Finlandia Center,
24 Inc.,
24 Inc., 750 N.E.2d 1097,
         750 N.E.2d 1097, 1103
                          1103 (N.Y.
                               (N.Y. 2001),
                                     2001), for the adoption
                                            for the adoption of the economic
                                                             of the economic loss
                                                                             loss rule
                                                                                  rule in
                                                                                       in
25 New
25 New York. Motion at
       York. Motion at 58.
                       58. That is not
                           That is not the
                                       the holding
                                           holding of
                                                   of 532 Madison, aa factually
                                                      532 Madison,    factually
26
26    distinguishable
      distinguishable case involving private
                      case involving private plaintiffs
                                             plaintiffs whose
                                                        whose businesses
                                                              businesses were
                                                                         were closed
                                                                              closed or
                                                                                     or
27
27    residents evacuated
      residents           as aa safety
                evacuated as    safety precaution
                                       precaution due to aa construction
                                                  due to    construction collapse, as the
                                                                         collapse, as the court
                                                                                          court
28
28    made clear.
      made        Id. at
           clear. Id. at 1101
                         1101 n.1
                              n.1 (finding
                                  (finding that
                                           that "[t]he
                                                “[t]he ‘economic loss’ rule.
                                                       `economic loss' rule. .. .. relied
                                                                                   relied on by
                                                                                          on by
                                                     48
                                                     48
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs           CORRECTED GOV’T ENTITIES'
                                           CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                     OPPOSITION TO MOTION TO
                                                                                TO MOTION    DISMISS
                                                                                          TO DISMISS
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 11   defendants has no
      defendants has no application
                        application here"
                                    here” and
                                          and distinguishing factual circumstances
                                              distinguishing factual               where the
                                                                     circumstances where the
 22 rule
    rule would
         would apply,
               apply, including
                      including "an
                                “an end-purchaser
                                    end-purchaser of
                                                  of aa product
                                                        product limited
                                                                limited to
                                                                        to contract remedies
                                                                           contract remedies
 33 and
    and [barred
        [barred from]
                from] .. .. .. seek[ing]
                               seek[ing] damages in tort
                                         damages in tort for
                                                         for economic loss against
                                                             economic loss against aa
 44 manufacturer.").
    manufacturer.”). As
                     As in
                        in 532 Madison, the
                           532 Madison, the economic loss rule
                                            economic loss rule does not apply
                                                               does not apply here,
                                                                              here, as
                                                                                    as the
                                                                                       the
 55 GE Plaintiffs are
    GE Plaintiffs are not
                      not end users. Instead,
                          end users. Instead, the
                                              the holding
                                                  holding of
                                                          of 532 Madison was
                                                             532 Madison was based
                                                                             based on
                                                                                   on duty
                                                                                      duty
 66 and
    and the
        the failure
            failure of the private
                    of the private plaintiffs
                                   plaintiffs to
                                              to assert
                                                 assert special injuries in
                                                        special injuries in order to bring
                                                                            order to bring aa public
                                                                                              public
 77 nuisance
    nuisance claim. Id. at
             claim. Id. at 1104.
                           1104. Subsequent and more
                                 Subsequent and more factually
                                                     factually analogous
                                                               analogous cases
                                                                         cases demonstrate
                                                                               demonstrate
 8 that
 8 that the
        the economic loss rule
            economic loss rule applies
                               applies in
                                       in New
                                          New York
                                              York only in cases
                                                   only in       asserting product
                                                           cases asserting product liability
                                                                                   liability
 99 or
    or contract
       contract claims. In re
                claims. In    JUUL, 497
                           re JUUL,     F. Supp.
                                    497 F.       3d at
                                           Supp. 3d at 659;
                                                       659; In
                                                            In re
                                                               re Opioid Litig., 2018
                                                                  Opioid Litig., 2018 WL
                                                                                      WL
10 3115102,
10 3115102, at
            at *27.
               *27. This
                    This case
                         case does not arise
                              does not arise in
                                             in product
                                                product liability
                                                        liability or breach of
                                                                  or breach of contract, and
                                                                               contract, and
11 thus,
11 thus, the
         the economic loss rule
             economic loss rule does not apply.
                                does not apply.
12
12    G.
      G.    Missouri
            Missouri GE
                     GE Plaintiffs
                        Plaintiffs Plausibly Allege Their
                                   Plausibly Allege Their Remaining
                                                          Remaining Claims.
                                                                    Claims.
13
13          1.
            1.     Kansas City’s consumer
                   Kansas City's consumer protection
                                          protection claim is well
                                                     claim is well pled.
                                                                   pled.
14
14          Defendants make
            Defendants make two
                            two arguments
                                arguments concerning Kansas City's
                                          concerning Kansas City’s ordinance-based
                                                                   ordinance-based
15 nuisance
15 nuisance claim. Motion 53-54.
            claim. Motion        Both are
                          53-54. Both are unpersuasive.
                                          unpersuasive.
16
16          First, Defendants
            First, Defendants recast
                              recast their
                                     their federal
                                           federal preemption
                                                   preemption argument,
                                                              argument, stating
                                                                        stating that
                                                                                that because
                                                                                     because the
                                                                                             the
17 NHTSA
17 NHTSA declined to find
         declined to find aa safety
                             safety defect, there could
                                    defect, there       be no
                                                  could be no harm
                                                              harm to
                                                                   to Kansas
                                                                      Kansas City
                                                                             City consumers.
                                                                                  consumers.
18 This
18      argument fails
   This argument fails for
                       for all
                           all the
                               the reasons
                                   reasons previously
                                           previously articulated. See supra
                                                      articulated. See supra at
                                                                             at Section IV.A.
                                                                                Section IV.A.
19 NHTSA's
19 NHTSA’s finding
           finding is
                   is irrelevant
                      irrelevant as
                                 as to
                                    to whether
                                       whether Defendants
                                               Defendants represented
                                                          represented their
                                                                      their merchandise
                                                                            merchandise
20 was
20 was "of
       “of aa particular
              particular standard,” when it
                         standard," when it was
                                            was not.
                                                not. See
                                                     See Kansas
                                                         Kansas City, Mo. Ordinances
                                                                City, Mo.            art. IX
                                                                          Ordinances art. IX
21
21    §§ 50-292(7). Kansas City's
         50-292(7). Kansas City’s claim is that
                                  claim is that Defendants'
                                                Defendants’ failure
                                                            failure to
                                                                    to install
                                                                       install reasonable
                                                                               reasonable anti-theft
                                                                                          anti-theft
22 measures
22 measures ultimately
            ultimately resulted
                       resulted in
                                in aa public
                                      public nuisance
                                             nuisance to
                                                      to the
                                                         the citizens
                                                             citizens of Kansas City.
                                                                      of Kansas City. This
                                                                                      This claim
                                                                                           claim
23 is
23 is unaffected
      unaffected by
                 by any
                    any NHTSA
                        NHTSA determination.
                              determination.
24
24          Second, Defendants argue
            Second, Defendants argue that
                                     that Kansas
                                          Kansas City's
                                                 City’s ordinance
                                                        ordinance claim fails to
                                                                  claim fails to meet
                                                                                 meet the
                                                                                      the
25 particularity
25 particularity requirements
                 requirements of Rule 9(b),
                              of Rule       but Kansas
                                      9(b), but Kansas City brings its
                                                       City brings its claim
                                                                       claim on behalf of
                                                                             on behalf of its
                                                                                          its
26
26    citizens
      citizens seeking an order
               seeking an order declaring Defendants’ conduct
                                declaring Defendants' conduct aa nuisance.
                                                                 nuisance. CGEC ¶ 69.
                                                                           CGEC ¶ 69. This
                                                                                      This
27
27    claim
      claim does not sound
            does not       in fraud,
                     sound in fraud, and
                                     and no
                                         no court has held
                                            court has held that
                                                           that it
                                                                it does.
                                                                   does. When
                                                                         When aa municipal
                                                                                 municipal
28 government
28            brings aa claim
   government brings          for nuisance
                        claim for nuisance based
                                           based on
                                                 on deceptive trade practices,
                                                    deceptive trade practices, courts hold
                                                                               courts hold
                                                    49
                                                    49
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1
 1    that Rule
      that Rule 9(b)’s heightened pleading
                9(b)'s heightened pleading requirements
                                           requirements do not apply.
                                                        do not apply. In
                                                                      In re
                                                                         re Opiate Litig., No.
                                                                            Opiate Litig., No.
 22   1:17-cv-02804, 2019
      1:17-cv-02804, 2019 WL 2477416, at
                          WL 2477416, at *17 (N.D. Ohio
                                         *17 (N.D.      Apr. 1,
                                                   Ohio Apr. 1, 2019),
                                                                2019), report and
                                                                       report and
 3
 3    recommendation adopted in
      recommendation adopted in relevant part, No.
                                relevant part, No. 1:17-md-2804,
                                                   1:17-md-2804, 2019
                                                                 2019 WL 3737023 (N.D.
                                                                      WL 3737023 (N.D.
 44 Ohio
    Ohio June 13, 2019).
         June 13, 2019). Cf.
                         Cf. City & County
                             City & County of San Francisco
                                           of San Francisco v. Purdue Pharma
                                                            v. Purdue Pharma L.P.,
                                                                             L.P., 491 F.
                                                                                   491 F.
 55 Supp. 3d 610,
    Supp. 3d 610, 674
                  674 (N.D.
                      (N.D. Cal.
                            Cal. 2020)
                                 2020) ("A
                                       (“A public
                                           public nuisance
                                                  nuisance cause
                                                           cause of action is
                                                                 of action is not
                                                                              not premised
                                                                                  premised
 66 on
    on aa defect in aa product
          defect in    product or
                               or aa failure
                                     failure to
                                             to warn
                                                warn but
                                                     but on
                                                         on affirmative
                                                            affirmative conduct that assisted
                                                                        conduct that assisted in
                                                                                              in the
                                                                                                 the
 77 creation
    creation of
             of aa hazardous
                   hazardous condition.”) (citation omitted).
                             condition.") (citation           Kansas City’s
                                                    omitted). Kansas        nuisance claim
                                                                     City's nuisance       here
                                                                                     claim here
 8
 8    is much
      is much like
              like the
                   the Blackfeet
                       Blackfeet Nation's
                                 Nation’s nuisance
                                          nuisance claim
                                                   claim on behalf of
                                                         on behalf    the citizens
                                                                   of the citizens of
                                                                                   of its
                                                                                      its
 99 reservation
    reservation in
                in In
                   In re
                      re Opiate Litigation: both
                         Opiate Litigation: both complaints allege that
                                                 complaints allege that defendants
                                                                        defendants created an
                                                                                   created an
10
10    ongoing hazardous condition
      ongoing hazardous           that subjected
                        condition that subjected its
                                                 its citizens to an
                                                     citizens to an elevated level of
                                                                    elevated level of crime and
                                                                                      crime and
11
11    fear. See
      fear. See 2019
                2019 WL 2477416, at
                     WL 2477416, at *17.
                                    *17. In
                                         In denying
                                            denying defendants’ motion to
                                                    defendants' motion to dismiss the
                                                                          dismiss the
12
12    Blackfeet Nation's
      Blackfeet Nation’s claim, the court
                         claim, the       in the
                                    court in the Opioids litigation rejected
                                                 Opioids litigation rejected defendants’ argument
                                                                             defendants' argument
13
13    that Rule
      that Rule 9(b)
                9(b) should apply to
                     should apply to allegations
                                     allegations that
                                                 that the
                                                      the defendants were "liable
                                                          defendants were “liable for
                                                                                  for nuisance
                                                                                      nuisance
14
14    causing
      causing conduct” that included
              conduct" that included "deceptive
                                     “deceptive marketing
                                                marketing practices."
                                                          practices.” Id.
                                                                      Id.
15
15          More broadly,
            More broadly, Rule
                          Rule 9(b)
                               9(b) does not apply
                                    does not apply when
                                                   when aa governmental
                                                           governmental entity brings aa claim
                                                                        entity brings    claim
16
16    to protect
      to protect the
                 the public
                     public interest.
                            interest. For
                                      For example, the district
                                          example, the district court in Fed.
                                                                court in Fed. Trade
                                                                              Trade Cmm’n.
                                                                                    Cmm 'n. v.
                                                                                            v.
17 Affiliate
17 Affiliate Strategies,
             Strategies, Inc.,
                         Inc., No.
                               No. 09-4104-JAR-KGS, 2010 WL
                                   09-4104-JAR-KGS, 2010    11470099 (D.
                                                         WL 11470099 (D. Kan.
                                                                         Kan. June
                                                                              June 4,
                                                                                   4,
18
18    2010), distinguished
      2010),               the Kansas
             distinguished the Kansas Consumer Protection Act
                                      Consumer Protection Act ("KCPA")
                                                              (“KCPA”) claim brought by
                                                                       claim brought by
19
19    Kansas’ Attorney
      Kansas' Attorney General from private
                       General from private consumer actions brought
                                            consumer actions brought under
                                                                     under the
                                                                           the KCPA.
                                                                               KCPA. Id.
                                                                                     Id. at
                                                                                         at
20
20    *10 (“[T]his Court
      *10 ("[T]his Court declines to impose
                         declines to impose upon
                                            upon the
                                                 the Attorney
                                                     Attorney General the obligation
                                                              General the obligation of
                                                                                     of
21
21    pleading ‘who,
      pleading       what, where,
               `who, what, where, and
                                  and when'
                                      when’ when
                                            when he
                                                 he or
                                                    or she brings aa claim
                                                       she brings          to protect
                                                                     claim to protect the
                                                                                      the public
                                                                                          public
22
22    interest.”). The
      interest."). The court reasoned that
                       court reasoned that even though "district
                                           even though “district courts have consistently
                                                                 courts have              held that
                                                                             consistently held that
23
23    the [c]omplaint/[p]etition
      the [c]omplaint/[p]etition must
                                 must meet
                                      meet the
                                           the higher
                                               higher pleading
                                                      pleading standard
                                                               standard of Rule 9(b)
                                                                        of Rule 9(b) .. .. .. none
                                                                                              none of
                                                                                                   of
24
24    these cases
      these       involved claims
            cases involved        brought by
                           claims brought by the
                                             the Attorney
                                                 Attorney General to protect
                                                          General to protect the
                                                                             the public
                                                                                 public interest."
                                                                                        interest.”
25 Id.
25 Id. at
       at *9.
          *9. Thus,
              Thus, even if the
                    even if the heightened
                                heightened pleading
                                           pleading standard might apply
                                                    standard might apply generally to private
                                                                         generally to private
26
26    KCPA claims,
      KCPA         it does
           claims, it      not apply
                      does not apply to
                                     to actions
                                        actions brought
                                                brought by
                                                        by government
                                                           government agencies whose claims
                                                                      agencies whose claims
27
27    serve the public
      serve the public interest.
                       interest.
28
28
                                                    50
                                                    50
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 11         Similarly, when the
            Similarly, when the Delaware
                                Delaware Attorney
                                         Attorney General brought an
                                                  General brought an enforcement action
                                                                     enforcement action
 22 under
    under the
          the Delaware
              Delaware Uniform
                       Uniform Deceptive
                               Deceptive Trade Practices Act
                                         Trade Practices Act and
                                                             and Consumer Fraud Act,
                                                                 Consumer Fraud Act, the
                                                                                     the
 33   court in Delaware
      court in Delaware ex
                        ex rel. Brady v.
                           rel. Brady    Publishers Clearing
                                      v. Publishers Clearing House,
                                                             House, 787 A.2d 111
                                                                    787 A.2d 111 (Del.
                                                                                 (Del. Ch.
                                                                                       Ch.
 44 2001),
    2001), denied
           denied defendant’s motion to
                  defendant's motion to dismiss for failure
                                        dismiss for failure to
                                                            to plead
                                                               plead with
                                                                     with specificity
                                                                          specificity under
                                                                                      under
 55 Rule
    Rule 9(b). Id. at
         9(b). Id. at 117.
                      117. The
                           The court reasoned that
                               court reasoned that the
                                                   the remedial
                                                       remedial goals
                                                                goals of
                                                                      of consumer protection
                                                                         consumer protection
 66 statutes “are inconsistent
    statutes "are inconsistent with
                               with the
                                    the application
                                        application of the particularized
                                                    of the particularized pleading
                                                                          pleading requirements
                                                                                   requirements
 77 of Rule 9(b)”
    of Rule       because the
            9(b)" because the statute's
                              statute’s goal is to
                                        goal is to protect the consuming
                                                   protect the           public: "a
                                                               consuming public: “a requirement
                                                                                    requirement
 8 that
 8 that the
        the State plead with
            State plead with particularity
                             particularity .. .. .. would
                                                    would serve
                                                          serve only to defeat
                                                                only to        the legislative
                                                                        defeat the legislative mandate
                                                                                               mandate
 99 to
    to the
       the Attorney
           Attorney General in bringing
                    General in bringing actions
                                        actions such as these
                                                such as these on behalf of
                                                              on behalf    the citizens
                                                                        of the citizens of this
                                                                                        of this
10
10    State.” Id.; see
      State." Id.; see also,
                       also, e.g.,
                             e.g., CFPB
                                   CFPB v. 1st All.
                                        v. 1st All. Lending,
                                                    Lending, LLC,
                                                             LLC, No.
                                                                  No. 3:21-cv-55
                                                                      3:21-cv-55 (RNC),
                                                                                 (RNC), 2022
                                                                                        2022
11
11    WL
      WL 993582, at *5
         993582, at    (D. Conn.
                    *5 (D.       Mar. 31,
                           Conn. Mar. 31, 2022)
                                          2022) (claim
                                                (claim brought
                                                       brought by
                                                               by government was
                                                                  government was
12
12    distinguishable from statutory
      distinguishable from statutory causes
                                     causes of action brought
                                            of action brought by
                                                              by individuals
                                                                 individuals where
                                                                             where courts apply
                                                                                   courts apply
13 Rule
13 Rule 9(b)
        9(b) standard).
             standard). This reasoning applies
                        This reasoning applies with
                                               with equal force here.
                                                    equal force here. Defendants'
                                                                      Defendants’ analysis
                                                                                  analysis
14 mistakenly
14 mistakenly assumes
              assumes the
                      the plaintiff
                          plaintiff is
                                    is aa consumer. Kansas City,
                                          consumer. Kansas       as aa constitutionally
                                                           City, as    constitutionally charted
                                                                                        charted
15 municipal
15 municipal corporation, may plead
             corporation, may       and sue
                              plead and     in its
                                        sue in its own name. CGEC
                                                   own name. CGEC ¶¶ 217.
                                                                     217. As
                                                                          As aa regulator,
                                                                                regulator,
16 it
16 it seeks
      seeks an
            an injunction
               injunction against
                          against Defendants
                                  Defendants to
                                             to enjoin the nuisance
                                                enjoin the nuisance and
                                                                    and protect
                                                                        protect the
                                                                                the consuming
                                                                                    consuming
17 public.
17 public. This is no
           This is no different than aa state
                      different than          attorney general
                                        state attorney         bringing aa cause
                                                       general bringing    cause of
                                                                                 of action under aa
                                                                                    action under
18 state
18 state statute to protect
         statute to protect aa state
                               state consumer.
                                     consumer.
19
19          Defendants rely
            Defendants rely on the 9th
                            on the 9th Circuit’s
                                       Circuit's opinion
                                                 opinion in Kearns v.
                                                         in Kearns    Ford Motor
                                                                   v. Ford Motor Co.,
                                                                                 Co., 567 F.3d
                                                                                      567 F.3d
20 1120
20 1120 (9th
        (9th Cir. 2009), for
             Cir. 2009), for the
                             the proposition
                                 proposition that
                                             that Rule
                                                  Rule 9(b)’s
                                                       9(b)'s particularity
                                                              particularity requirements
                                                                            requirements apply
                                                                                         apply
21 to
21 to consumer protection statutes.
      consumer protection statutes. See
                                    See id. at 1125.
                                        id. at 1125. But
                                                     But the
                                                         the holding
                                                             holding from
                                                                     from Kearns
                                                                          Kearns was
                                                                                 was based
                                                                                     based
22
22    on
      on aa private
            private cause
                    cause of action brought
                          of action brought by
                                            by an
                                               an individual
                                                  individual consumer,
                                                             consumer, id. at 1122,
                                                                       id. at 1122, and
                                                                                    and does not
                                                                                        does not
23 address
23 address whether
           whether aa municipal
                      municipal government would be
                                government would be subject
                                                    subject to
                                                            to Rule
                                                               Rule 9(b)'s
                                                                    9(b)’s pleading
                                                                           pleading
24 requirements
24 requirements when
                when bringing
                     bringing aa claim
                                 claim on behalf of
                                       on behalf    its consuming
                                                 of its           public. GE
                                                        consuming public.    Plaintiffs are
                                                                          GE Plaintiffs are
25 also
25 also cognizant
        cognizant of this Court's
                  of this Court’s holding
                                  holding from
                                          from FTC
                                               FTC v. Lights of
                                                   v. Lights    America, Inc.,
                                                             of America, Inc., 760 F. Supp.
                                                                               760 F. Supp.
26 2d
26 2d 848
      848 (C.D.
          (C.D. Cal. 2010), which
                Cal. 2010), which reached
                                  reached aa different
                                             different conclusion
                                                       conclusion concerning
                                                                  concerning section
                                                                             section 55 of
                                                                                        of
27 the
27 the FTC
       FTC Act
           Act and
               and applied
                   applied Rule
                           Rule 9(b)’s heightened standards
                                9(b)'s heightened           to that
                                                  standards to that federal
                                                                    federal statute.
                                                                            statute. That
                                                                                     That
28 case,
28       however, differs
   case, however, differs significantly from the
                          significantly from the present
                                                 present one. First, it
                                                         one. First, it addressed
                                                                        addressed aa claim under
                                                                                     claim under
                                                    51
                                                    51
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1
 1    section
      section 55 of the FTC
                 of the FTC Act,
                            Act, not
                                 not aa municipal
                                        municipal ordinance
                                                  ordinance seeking to enjoin
                                                            seeking to enjoin aa nuisance.
                                                                                 nuisance. See
                                                                                           See id.
                                                                                               id.
 22   at 850.
      at 850. Moreover,
              Moreover, as
                        as the
                           the Court noted, application
                               Court noted, application of Rule 9(b)
                                                        of Rule 9(b) did “not unduly
                                                                     did "not unduly hinder
                                                                                     hinder the
                                                                                            the
 3
 3    FTC’s enforcement
      FTC's enforcement of the FTC
                        of the FTC Act"
                                   Act” because
                                        because the
                                                the FTC
                                                    FTC has
                                                        has "'broad
                                                            “‘broad investigatory
                                                                    investigatory power"
                                                                                  power’”
 44 and
    and the
        the "'ability
            “‘ability to
                      to obtain
                         obtain discovery
                                discovery prior to the
                                          prior to the commencement
                                                       commencement of this litigation."
                                                                    of this litigation.’” Id.
                                                                                          Id. at
                                                                                              at
 55 854
    854 n.6
        n.6 (citation
            (citation omitted). Kansas City
                      omitted). Kansas      has no
                                       City has no such authority, and
                                                   such authority, and application
                                                                       application of Rule
                                                                                   of Rule
 66 9(b) to its
    9(b) to its claim would significantly
                claim would               hinder its
                            significantly hinder its ability
                                                     ability to
                                                             to protect
                                                                protect it
                                                                        it citizens.
                                                                           citizens.
 77          Since this Court's
             Since this Court’s holding
                                holding in
                                        in Lights
                                           Lights of America, federal
                                                  of America, federal courts across the
                                                                      courts across the country,
                                                                                        country,
 8
 8    and in
      and in this
             this district, have consistently
                  district, have              held regulators
                                 consistently held regulators are
                                                              are not
                                                                  not subject
                                                                      subject to
                                                                              to the
                                                                                 the heightened
                                                                                     heightened
 99 pleading
    pleading standards when bringing
             standards when bringing claims to protect
                                     claims to protect the
                                                       the public. See CFPB
                                                           public. See CFPB v. D&
                                                                            v. D &D
                                                                                  D Mktg.,
                                                                                    Mktg.,
10 No.
10 No. CV 15-9692 (PSG)
       CV 15-9692 (PSG) (Ex),
                        (Ex), 2016
                              2016 WL
                                   WL 8849698, at *10
                                      8849698, at     (C.D. Cal.
                                                  *10 (C.D.      Nov. 17,
                                                            Cal. Nov. 17, 2016)
                                                                          2016) ("[T]he
                                                                                (“[T]he
11
11    majority of
      majority of courts have found
                  courts have found that
                                    that aa heightened
                                            heightened pleading
                                                       pleading standard
                                                                standard is
                                                                         is inappropriate,
                                                                            inappropriate, even
                                                                                           even
12                                                                               19
12    if there
      if there is
               is aa ‘deceptive’
                     `deceptive' dimension to such
                                 dimension to such claims.”) (citation omitted).
                                                   claims.") (citation omitted).19  See also
                                                                                    See also cf. CFPB
                                                                                             cf. CFPB
13
13    v. Siringoringo, No.
      v. Siringoringo, No. SACV 14-01155 JVS
                           SACV 14-01155     (AJWx), 2016
                                         JVS (AJWx), 2016 WL 102435, at
                                                          WL 102435, at *4 (C.D. Cal.
                                                                        *4 (C.D. Cal.
14
14    Jan.
      Jan. 7, 2016) (Selna,
           7, 2016) (Selna, J.) (“Courts have
                            J.) ("Courts have determined that the
                                              determined that the standard
                                                                  standard for
                                                                           for aa CFPA
                                                                                  CFPA deception
                                                                                       deception
15
15
16
16    19
         See also
      19 See also CFPB
                  CFPB v. RD Legal
                       v. RD Legal Funding,
                                   Funding, LLC,
                                            LLC, 332
                                                 332 F.
                                                     F. Supp. 3d 729,
                                                        Supp. 3d 729, 769 (S.D.N.Y. 2018)
                                                                      769 (S.D.N.Y. 2018)
17
17     (“Accordingly, the
       ("Accordingly,    the Court     applies Rule
                              Court applies     Rule 8(a)
                                                       8(a) in
                                                            in evaluating   the Government’s
                                                               evaluating the                      pleading of
                                                                                Government's pleading         of
18
18
       its claim
       its       under N.Y.
           claim under   N.Y. GBLGBL §    349.”), vacated
                                        § 349."),  vacated onon other  grounds, 828
                                                                other grounds,    828 F.F. App'x
                                                                                            App’x 68   (2d Cir.
                                                                                                   68 (2d   Cir.
       2020); CFPB
       2020);  CFPB v. v. Think    Fin., LLC,
                           Think Fin.,    LLC, No.
                                                 No. CV-17-127-GF-BMM,
                                                      CV-17-127-GF-BMM, 2018     2018 WL       3707911, at
                                                                                         WL 3707911,       at *8
                                                                                                              *8
19
19     (D. Mont.
       (D.  Mont. Aug.
                   Aug. 3,3, 2018)
                             2018) ("The
                                      (“The Court
                                              Court recognizes
                                                     recognizes the
                                                                  the overwhelming
                                                                      overwhelming weightweight of
                                                                                                 of precedent
                                                                                                     precedent
20
20     in favor
       in  favor of the CFPB’s
                 of the              position. The
                         CFPB's position.       The Court
                                                      Court declines   to apply
                                                             declines to  apply the
                                                                                  the Rule
                                                                                       Rule 9(b)   heightened
                                                                                              9(b) heightened
       pleading standard
       pleading   standard to  to the
                                    the CFPA.”);
                                         CFPA."); RD  RD Legal
                                                           Legal Funding,
                                                                    Funding, 332332 F. F. Supp.
                                                                                           Supp. 3d3d atat 768
                                                                                                            768
21
21     (“[A]pplication of
       ("[A]pplication       Rule 9(b)
                         of Rule     9(b) ‘to
                                          `to consumer    protection claims
                                              consumer protection             is not
                                                                      claims is  not only    inconsistent with
                                                                                       only inconsistent   with
22
22     some
       some of    the policy
               of the  policy reasons
                                  reasons for
                                            for applying
                                                  applying Rule
                                                             Rule 9(b)    in the
                                                                    9(b) in   the first
                                                                                    first place,
                                                                                           place, but
                                                                                                   but is
                                                                                                        is also
                                                                                                            also
       inconsistent with
       inconsistent   with thethe remedial
                                     remedial nature
                                                 nature of
                                                         of consumer      protection statutes.'
                                                              consumer protection        statutes.’” (citation
                                                                                                      (citation
23
23     omitted);
       omitted); CFPB
                  CFPB v.  v. TCF     Nat’l Bank,
                              TCF Nat'l     Bank, No.
                                                    No. 17-166
                                                         17-166 (RHK/DTS),
                                                                 (RHK/DTS), 2017 2017 WL       6211033, at
                                                                                         WL 6211033,       at *2
                                                                                                              *2
24
24     (D. Minn.
       (D.   Minn. Sept.
                      Sept. 8,8, 2017)
                                   2017) (denying
                                            (denying motion
                                                         motion to to dismiss
                                                                       dismiss andand rejecting
                                                                                         rejecting argument
                                                                                                     argument
       government’s
       government's claim
                       claim waswas subject    to heightened
                                      subject to  heightened pleading
                                                               pleading standard
                                                                         standard of     Rule 9(b));
                                                                                     of Rule   9(b)); CFPB
                                                                                                      CFPB v.  v.
25
25     Frederick J.
       Frederick   J. Hanna
                      Hanna &   & Assocs.,
                                    Assocs., P.C.,
                                               P.C., 114
                                                      114 F.
                                                           F. Supp.  3d 1342,
                                                              Supp. 3d   1342, 1373-74
                                                                                 1373-74 (N.D.
                                                                                             (N.D. Ga.   2015)
                                                                                                    Ga. 2015)
26
26     (citing 5A
       (citing  5A Charles     Alan Wright
                    Charles Alan       Wright & & Arthur
                                                   Arthur R.R. Miller,
                                                               Miller, Federal
                                                                        Federal Practice
                                                                                   Practice &  & Procedure
                                                                                                 Procedure §§
       1296 (4th
       1296   (4th ed.  2008) (same);
                   ed. 2008)     (same); CFPB
                                           CFPB v.     All Am.
                                                    v. All Am. Check
                                                                Check Cashing,       Inc., No.
                                                                         Cashing, Inc.,     No. 3:16-cv-356-
                                                                                                 3:16-cv-356-
27
27     WHB-JCG,
       WHB-JCG, 2016 2016 WL        11635752, at
                             WL 11635752,         at *3  (S.D. Miss.
                                                     *3 (S.D.   Miss. July    15, 2016)
                                                                        July 15,   2016) (same);
                                                                                            (same); CFPB
                                                                                                      CFPB v.  v.
28
28     Navient Corp.,
       Navient           No. 3:17-CV-101,
                 Corp., No.     3:17-CV-101, 2017 2017 WL     3380530, at
                                                        WL 3380530,      at *25   (M.D. Pa.
                                                                             *25 (M.D.     Pa. Aug.
                                                                                                Aug. 4,   2017)
                                                                                                      4, 2017)
       (same).
       (same).
                                                          52
                                                          52
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-JVS-KEs              CORRECTED GOV’T ENTITIES'
                                              CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                        OPPOSITION TO MOTION TO
                                                                                   TO MOTION    DISMISS
                                                                                             TO DISMISS
      Case 8:22-ml-03052-JVS-KES Document 241 Filed 10/03/23 Page 69 of 76 Page ID
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 11   claim is the
      claim is the same as the
                   same as the standard under section
                               standard under section 5(a)
                                                      5(a) of the Federal
                                                           of the Federal Trade Commission
                                                                          Trade Commission
 22 Act.")
    Act.”) (citing
           (citing Frederick
                   Frederick J.
                             J. Hanna
                                Hanna &
                                      & Assocs.,
                                        Assocs., 114
                                                 114 F.
                                                     F. Supp. 3d at
                                                        Supp. 3d at 1373-74)).
                                                                    1373-74)).
 33         Moreover, numerous
            Moreover, numerous appellate
                               appellate circuit
                                         circuit courts have rejected
                                                 courts have rejected Defendants'
                                                                      Defendants’ argument.
                                                                                  argument.
 44 See
    See FTC
        FTC v. Freecom Commcn’s.,
            v. Freecom            Inc., 401
                       Commcn's., Inc.,     F.3d 1192,
                                        401 F.3d 1192, 1203
                                                       1203 n.7
                                                            n.7 (10th
                                                                (10th Cir.
                                                                      Cir. 2005)
                                                                           2005) ("A
                                                                                 (“A §§ 55
 55 claim
    claim simply is not
          simply is not aa claim
                           claim of fraud as
                                 of fraud as that
                                             that term
                                                  term is
                                                       is commonly understood or
                                                          commonly understood    as
                                                                              or as
 66 contemplated by Rule
    contemplated by Rule 9(b), and the
                         9(b), and the district’s
                                       district's court’s inclination to
                                                  court's inclination to treat
                                                                         treat it
                                                                               it as
                                                                                  as such
                                                                                     such unduly
                                                                                          unduly
 77 hindered
    hindered the
             the FTC's
                 FTC’s ability
                       ability to
                               to present its case.”);
                                  present its          FTC v.
                                              case."); FTC    Sec. Rare
                                                           v. Sec. Rare Coin & Bullion
                                                                        Coin & Bullion Corp.,
                                                                                       Corp.,
 8 931
 8     F.2d 1312,
   931 F.2d 1312, 1316
                  1316 (8th
                       (8th Cir. 1991) ("It
                            Cir. 1991) (“It would
                                            would be
                                                  be virtually
                                                     virtually impossible
                                                               impossible for
                                                                          for the
                                                                              the FTC
                                                                                  FTC to
                                                                                      to
 99 offer
    offer such proof [of
          such proof [of reliance]
                         reliance] .. .. .. .. This is not
                                               This is not aa private
                                                              private fraud
                                                                      fraud action, but aa government
                                                                            action, but    government
10 action
10 action brought
          brought to
                  to deter unfair and
                     deter unfair and deceptive trade practices
                                      deceptive trade           and obtain
                                                      practices and        restitution on
                                                                    obtain restitution    behalf
                                                                                       on behalf
11
11    of
      of aa large
            large class
                  class of
                        of defrauded investors.”); Pelman
                           defrauded investors."); Pelman ex
                                                          ex rel. Pelman v.
                                                             rel. Pelman    McDonald’s Corp.,
                                                                         v. McDonald's Corp.,
12 396
12 396 F.3d
       F.3d 508,
            508, 511 (2d Cir.
                 511 (2d      2005) ("[Section]
                         Cir. 2005) (“[Section] 349
                                                349 [of
                                                    [of New
                                                        New York’s
                                                            York's General Business Law]
                                                                   General Business Law]
13
13    extends well beyond
      extends well beyond common-law fraud to
                          common-law fraud to cover
                                              cover aa broad
                                                       broad range
                                                             range of
                                                                   of deceptive practices.”).
                                                                      deceptive practices.").
14
14    In sum,
      In      this case
         sum, this      is distinguishable
                   case is                 from Lights
                           distinguishable from Lights of America because
                                                       of America because Kansas
                                                                          Kansas City
                                                                                 City cannot
                                                                                      cannot
15 avail
15 avail itself
         itself of the same
                of the      pre-filing investigatory
                       same pre-filing investigatory tools
                                                     tools available
                                                           available to
                                                                     to the
                                                                        the FTC,
                                                                            FTC, and
                                                                                 and the
                                                                                     the
16 jurisprudence
16 jurisprudence that
                 that has
                      has evolved
                          evolved since Lights of
                                  since Lights    America counsels
                                               ofAmerica  counsels aa different
                                                                      different conclusion, as
                                                                                conclusion, as
17
17    do multiple federal
      do multiple federal circuit
                          circuit courts.
                                  courts.
18
18          This
            This Court
                 Court should adhere to
                       should adhere to the
                                        the well-developed
                                            well-developed line
                                                           line of authority finding
                                                                of authority finding that
                                                                                     that Rule
                                                                                          Rule
19
19    9(b)’s heightened pleading
      9(b)'s heightened pleading standards
                                 standards do not apply
                                           do not apply to
                                                        to nuisance
                                                           nuisance claims or to
                                                                    claims or to enforcement
                                                                                 enforcement
20 actions
20 actions filed
           filed by
                 by local
                    local regulatory
                          regulatory bodies.
                                     bodies. Under
                                             Under either prong of
                                                   either prong    the analysis,
                                                                of the           the result
                                                                       analysis, the result is
                                                                                            is
21 the
21 the same: the Court
       same: the       should deny
                 Court should      Defendants’ Motion.
                              deny Defendants' Motion.
22
22          2.
            2.     Missouri
                   Missouri GE
                            GE Plaintiffs’
                               Plaintiffs' unjust
                                           unjust enrichment
                                                  enrichment claim is well
                                                             claim is well pled.
                                                                           pled.
23
23          Defendants contend
            Defendants         that "Missouri
                       contend that “Missouri courts
                                              courts reject unjust enrichment
                                                     reject unjust enrichment claims when, as
                                                                              claims when, as
24 here,
24 here, there
         there is
               is no
                  no direct transaction between
                     direct transaction between plaintiff
                                                plaintiff and
                                                          and defendant,” arguing that
                                                              defendant," arguing that the
                                                                                       the GE
                                                                                           GE
25 Plaintiffs
25 Plaintiffs did not confer
              did not confer aa benefit
                                benefit on Defendants. Motion
                                        on Defendants. Motion at
                                                              at 55. On the
                                                                 55. On the contrary, Missouri
                                                                            contrary, Missouri
26
26    courts have repeatedly
      courts have repeatedly rejected
                             rejected the
                                      the notion
                                          notion that
                                                 that aa benefit
                                                         benefit must
                                                                 must be
                                                                      be "directly
                                                                         “directly conferred” by
                                                                                   conferred" by
27 the
27 the plaintiff
       plaintiff to
                 to the
                    the defendant, and Missouri
                        defendant, and Missouri law
                                                law recognizes
                                                    recognizes that
                                                               that unjust
                                                                    unjust enrichment also
                                                                           enrichment also
28 occurs
28        where one
   occurs where one party
                    party pays for damages
                          pays for         for which
                                   damages for which another
                                                     another should be liable.
                                                             should be liable.
                                                     53
                                                     53
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs            CORRECTED GOV’T ENTITIES'
                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                      OPPOSITION TO MOTION TO
                                                                                 TO MOTION    DISMISS
                                                                                           TO DISMISS
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                                       #:6825


 1
 1          In Moore
            In Moore v.
                     v. Greensky, LLC, No.
                        Greensky, LLC, No. 4:20-cv-00002-FJG, 2020 WL
                                           4:20-cv-00002-FJG, 2020    13580659 (W.D.
                                                                   WL 13580659 (W.D.
 22   Mo. Dec.
      Mo. Dec. 23,
               23, 2020),
                   2020), for
                          for example, the district
                              example, the district court for the
                                                    court for the Western District of
                                                                  Western District    Missouri
                                                                                   of Missouri
 3
 3    rejected defendants’
      rejected             argument that
               defendants' argument that "the
                                         “the benefit
                                              benefit must
                                                      must be
                                                           be directly
                                                              directly conferred by the
                                                                       conferred by the plaintiff
                                                                                        plaintiff
 44 to
    to the
       the defendant” and instead
           defendant" and instead adopted
                                  adopted "the
                                          “the flexible totality of
                                               flexible totality    the circumstances
                                                                 of the circumstances
 55 approach.
    approach…as      the best
              . . as the best statement
                              statement of Missouri law
                                        of Missouri law regarding
                                                        regarding unjust
                                                                  unjust enrichment.” Id. at
                                                                         enrichment." Id. at *2;
                                                                                             *2;
 66 see
    see also
        also Garrett
             Garrett v.
                     v. Cassity, No. 4:09CV-01252
                        Cassity, No.              ERW, 2011
                                     4:09CV-01252 ERW, 2011 WL 3235633, at
                                                            WL 3235633, at *9 (E.D. Mo.
                                                                           *9 (E.D. Mo.
 77 July 28, 2011)
    July 28, 2011) (holding
                   (holding that
                            that "there
                                 “there is
                                        is no
                                           no requirement
                                              requirement for
                                                          for an unjust enrichment
                                                              an unjust enrichment claim that
                                                                                   claim that
 8
 8    the plaintiff
      the plaintiff conferred
                    conferred aa benefit
                                 benefit directly
                                         directly on the defendant”
                                                  on the            and noting
                                                         defendant" and noting the
                                                                               the absence
                                                                                   absence of
                                                                                           of
 99 "direct"
    “direct” from
             from the
                  the common
                      common elements
                             elements of the claim);
                                      of the claim); Cromeans
                                                     Cromeans v. Morgan Keegan
                                                              v. Morgan Keegan &
                                                                               & Co.,
                                                                                 Co.,
10 No.
10 No. 2:12-CV-04269-NKL,
       2:12-CV-04269-NKL, 2013
                          2013 WL 12129609, at
                               WL 12129609, at *5-7 (W.D. Mo.
                                               *5-7 (W.D. Mo. Nov.
                                                              Nov. 5, 2013) ("[T]he
                                                                   5, 2013) (“[T]he
11
11    Court has rejected
      Court has rejected [defendant's]
                         [defendant’s] claim that Missouri
                                       claim that Missouri law
                                                           law limits
                                                               limits unjust
                                                                      unjust enrichment
                                                                             enrichment claims
                                                                                        claims
12
12    to circumstances
      to               where the
         circumstances where the plaintiff
                                 plaintiff directly
                                           directly conferred
                                                    conferred aa benefit
                                                                 benefit upon
                                                                         upon the
                                                                              the defendant
                                                                                  defendant .. .. ..
13
13    .”);
      ."); Webb
           Webb v. Dr. Pepper
                v. Dr. Pepper Snapple
                              Snapple Grp., Inc., No.
                                      Grp., Inc., No. 4:17-00624-CV-RK, 2018 WL
                                                      4:17-00624-CV-RK, 2018    1955422,
                                                                             WL 1955422,
14
14    at *6
      at    (W.D. Mo.
         *6 (W.D. Mo. Apr.
                      Apr. 25,
                           25, 2018)
                               2018) ("[T]his
                                     (“[T]his Court is persuaded
                                              Court is           that ‘there
                                                       persuaded that `there does not appear
                                                                             does not        to
                                                                                      appear to
15
15    be any
      be any bright
             bright line
                    line rule
                         rule regarding
                              regarding how
                                        how directly the defendant
                                            directly the           must have
                                                         defendant must have received
                                                                             received aa benefit
                                                                                         benefit
16
16    at the
      at the plaintiff's
             plaintiff’s expense.’”) (citation omitted).
                         expense.") (citation  omitted).
17
17          Missouri courts
            Missouri        therefore clearly
                     courts therefore         understand that
                                      clearly understand that unjust
                                                              unjust enrichment
                                                                     enrichment occurs—and
                                                                                occurs—and aa
18
18    benefit is
      benefit is conferred—not just when
                 conferred—not just when one party pays
                                         one party pays money
                                                        money directly to aa defendant,
                                                              directly to               but
                                                                             defendant, but
19
19    also when
      also when that
                that party
                     party pays
                           pays to
                                to address
                                   address the
                                           the consequences
                                               consequences of the defendant’s
                                                            of the             action, and
                                                                   defendant's action, and they
                                                                                           they
20
20    express this principle
      express this principle across
                             across aa wide
                                       wide range
                                            range of
                                                  of cases where one
                                                     cases where     party has
                                                                 one party has not
                                                                               not directly
                                                                                   directly
21
21    conferred
      conferred aa benefit
                   benefit upon
                           upon another.
                                another. For
                                         For example, Missouri recognizes
                                             example, Missouri recognizes aa cause
                                                                             cause of
                                                                                   of action
                                                                                      action for
                                                                                             for
22
22    equitable
      equitable subrogation “to prevent
                subrogation "to prevent unjust
                                        unjust enrichment” when an
                                               enrichment" when an insurer
                                                                   insurer has
                                                                           has paid
                                                                               paid aa debt that
                                                                                       debt that
23 "'in
23 “‘in good
        good conscience should be
             conscience should be paid
                                  paid by
                                       by the
                                          the one primarily responsible
                                              one primarily responsible for
                                                                        for the
                                                                            the loss."'
                                                                                loss.’”
24 Scottsdale
24 Scottsdale Ins.
              Ins. Co.
                   Co. v. Addison Ins.
                       v. Addison Ins. Co.,
                                       Co., 448
                                            448 S.W.3d
                                                S.W.3d 818, 831-32 (Mo.
                                                       818, 831-32 (Mo. 2014)
                                                                        2014) (en
                                                                              (en banc)
                                                                                  banc)
25
25    (citation omitted).
      (citation           And as
                omitted). And as the
                                 the Missouri
                                     Missouri Supreme
                                              Supreme Court has explained,
                                                      Court has explained, aa joint
                                                                              joint tortfeasor's
                                                                                    tortfeasor’s
26
26    right to
      right to contribution from another
               contribution from another joint
                                         joint tortfeasor
                                               tortfeasor "is
                                                          “is based
                                                              based upon
                                                                    upon the
                                                                         the ‘principle
                                                                             `principle of
                                                                                        of
27
27    fairness’” and
      fairness'  and is
                     is enforced “to rectify
                        enforced "to rectify unjust
                                             unjust enrichment.” Safeway Stores,
                                                    enrichment." Safeway Stores, Inc.
                                                                                 Inc. v.
                                                                                      v. City
                                                                                         City of
                                                                                              of
28 Raytown,
28 Raytown, 633
            633 S.W.2d
                S.W.2d 727,
                       727, 730 (Mo. 1982)
                            730 (Mo. 1982) (en
                                           (en banc)
                                               banc) (citation
                                                     (citation omitted); see id.
                                                               omitted); see     at 732
                                                                             id. at     (it
                                                                                    732 (it
                                                     54
                                                     54
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1
 1    would be
      would be "inherently
               “inherently unfair"
                           unfair” to
                                   to deny
                                      deny aa right
                                              right to
                                                    to contribution where one
                                                       contribution where     pays aa liability
                                                                          one pays    liability
 22                       20
      that another
      that another owes).
                   owes).2°
 3
 3            Missouri law
              Missouri law is
                           is therefore
                              therefore consistent with holdings
                                        consistent with holdings in
                                                                 in this
                                                                    this district and from
                                                                         district and from courts
                                                                                           courts
 44 across
    across the
           the country that have
               country that have refused
                                 refused to
                                         to dismiss unjust enrichment
                                            dismiss unjust enrichment claims where
                                                                      claims where
 55 municipalities
    municipalities have
                   have paid
                        paid for
                             for the
                                 the externalities
                                     externalities caused by aa defendant.
                                                   caused by               See, e.g.,
                                                                defendant. See, e.g., City
                                                                                      City of Los
                                                                                           of Los
 66 Angeles
    Angeles v.
            v. Citigroup, Inc., 24
               Citigroup, Inc., 24 F.
                                   F. Supp. 3d 940,
                                      Supp. 3d 940, 954 (C.D. Cal.
                                                    954 (C.D. Cal. 2014)
                                                                   2014) (unjust
                                                                         (unjust enrichment
                                                                                 enrichment
 77 arises
    arises not
           not only where one
               only where     party pays
                          one party pays another,
                                         another, "'but
                                                  “‘but also
                                                        also where
                                                             where the
                                                                   the expenditure saves the
                                                                       expenditure saves the
 8
 8    other from expense
      other from expense or loss’”) (citation
                         or loss")  (citation omitted);
                                              omitted); City
                                                        City of Los Angeles
                                                             of Los Angeles v.
                                                                            v. Wells Fargo &
                                                                               Wells Fargo &
 99 Co., 22 F.
    Co., 22 F. Supp. 3d 1047
               Supp. 3d 1047 (C.D.
                             (C.D. Cal.
                                   Cal. 2014)
                                        2014) (same);
                                              (same); City
                                                      City of Los Angeles
                                                           of Los Angeles v. Bank of
                                                                          v. Bank    Am.
                                                                                  of Am.
10
10    Corp., No. CV
      Corp., No.    13-9046 PA
                 CV 13-9046 PA (AGRx),
                               (AGRx), 2014
                                       2014 WL 2770083, at
                                            WL 2770083, at *12 (C.D. Cal.
                                                           *12 (C.D. Cal. June 12, 2014)
                                                                          June 12, 2014)
11
11    (denying motion
      (denying motion to
                      to dismiss unjust enrichment
                         dismiss unjust enrichment count premised on
                                                   count premised on city’s payment of
                                                                     city's payment of costs
                                                                                       costs
12
12    of
      of defendant’s
         defendant's discriminatory
                     discriminatory lending under California
                                    lending under            law); City
                                                  California law); City of Los Angeles
                                                                        of Los Angeles v.
                                                                                       v.
13 JPMorgan
13 JPMorgan Chase & Co.,
            Chase &      No. 2:14-cv-04168-ODW
                    Co., No. 2:14-cv-04168-ODW (RZx),
                                               (RZx), 2014
                                                      2014 WL 6453808, at
                                                           WL 6453808, at *10
                                                                          *10
14
14    (C.D. Cal.
      (C.D.      Nov. 14,
            Cal. Nov. 14, 2014)
                          2014) (allegations
                                (allegations that
                                             that city paid the
                                                  city paid the "costs
                                                                “costs of harm caused
                                                                       of harm        by Chase’s
                                                                               caused by Chase's
15                                                                         21
15    discriminatory lending” were
      discriminatory lending" were sufficient to plead
                                   sufficient to plead unjust
                                                       unjust enrichment).
                                                              enrichment).21  This is particularly
                                                                              This is particularly
16
16
17
17 20
   20  See also
       See  also Rowland
                  Rowland v.      Skaggs Cos.,
                              v. Skaggs     Cos., 666
                                                   666 S.W.2d
                                                          S.W.2d 770,770, 773    (Mo. 1984)
                                                                            773 (Mo.    1984) (en(en banc)
                                                                                                      banc) ("The
                                                                                                              (“The
     right to
18 right
18
            to contribution
                contribution serves
                                 serves to to rectify
                                              rectify thethe unjust
                                                               unjust enrichment
                                                                         enrichment thatthat occurs
                                                                                              occurs whenwhen oneone
     tortfeasor ‘discharge[s]
     tortfeasor   `discharge[s] aa burden
                                       burden which
                                                 which both
                                                          both in in law
                                                                      law and
                                                                            and conscience
                                                                                  conscience was was equally
                                                                                                       equally thethe
19 liability
19   liability of  the other.’”)
               of the               (alteration in
                        other.") (alteration     in original)    (citation omitted).
                                                    original) (citation      omitted).
   21
       See also,
20 21 See
20         also, e.g.,
                  e.g., Cherokee      Nation v.
                         Cherokee Nation          McKesson Corp.,
                                               v. McKesson       Corp., 529     F. Supp.
                                                                           529 F.          3d 1225,
                                                                                    Supp. 3d   1225, 1240
                                                                                                       1240 (E.D.
                                                                                                               (E.D.
     Okla.   Mar. 29,
     Okla. Mar.      29, 2021)
                          2021) ("paying
                                   (“paying thethe costs
                                                    costs of     the ‘negative
                                                             of the    `negative externalities’
                                                                                    externalities' caused
                                                                                                     caused by  by aa
21 defendant’s
21   defendant's conduct
                     conduct isis aa form
                                     form of
                                           of enrichment      because the
                                              enrichment because          the defendant
                                                                               defendant does     not have
                                                                                           does not    have toto pay
                                                                                                                 pay
     the costs
22 the
22       costs of   its own
                of its  own conduct”);
                             conduct"); In  In re:
                                               re: Opiate     Litig., 452
                                                    Opiate Litig.,     452 F.F. Supp.  3d 745,
                                                                                Supp. 3d   745, 790    (N.D. Ohio
                                                                                                  790 (N.D.     Ohio
     2020) (denying
     2020)   (denying dismissal         under Florida
                          dismissal under       Florida lawlaw where
                                                                  where complaint        pled the
                                                                            complaint pled      the municipality
                                                                                                     municipality
23 "'conferred
23   “‘conferred aa benefit
                        benefit upon
                                 upon allall [d]efendants
                                             [d]efendants [because]
                                                               [because] they they paid
                                                                                    paid for
                                                                                          for the
                                                                                               the cost
                                                                                                    cost of    harm
                                                                                                           of harm
24 caused
24   caused by by thethe defendant’s
                          defendant's conduct,          i.e., the
                                           conduct, i.e.,      the defendant’s
                                                                     defendant's externalities’”)          (citation
                                                                                      externalities") (citation
     omitted);
     omitted); InIn re
                     re Opiate    Litig., No.
                         Opiate Litig.,   No. 1:17-md-2804,
                                                1:17-md-2804, 2020   2020 WL      1986589, at
                                                                            WL 1986589,      at *11    (N.D. Ohio
                                                                                                  *11 (N.D.     Ohio
25 Apr.
25   Apr. 27,
            27, 2020)
                  2020) (rejecting
                           (rejecting argument
                                         argument underunder Florida
                                                                 Florida law       that there
                                                                             law that    there was
                                                                                                 was "no“no direct
                                                                                                               direct
     transaction between
26 transaction
26                  between the
                              the parties,
                                    parties, and
                                             and therefore
                                                   therefore no no direct    benefit conferred”);
                                                                    direct benefit    conferred"); In In re
                                                                                                         re Opiate
                                                                                                             Opiate
     Litig., 458
    Litig.,  458 F.F. Supp.   3d 665,
                       Supp. 3d    665, 695-96    (N.D. Ohio
                                         695-96 (N.D.              2020) ("a
                                                           Ohio 2020)      (“a negative
                                                                                negative externalities
                                                                                           externalities analysis
                                                                                                           analysis
27 is
27   is compatible
         compatible with with Michigan's
                                Michigan’s unjustunjust enrichment          jurisprudence,” and
                                                           enrichment jurisprudence,"            and allows
                                                                                                        allows forfor
     “payment of
28 "payment
28                    the costs
                  of the         associated with
                          costs associated    with the
                                                     the opioid
                                                          opioid crisis—the
                                                                    crisis—the costs
                                                                                  costs of
                                                                                         of doing   business that,
                                                                                            doing business      that,
     absent recovery
     absent   recovery in in this
                             this action,
                                    action, [d]efendants
                                             [d]efendants wouldwould never
                                                                        never have
                                                                                 have to
                                                                                       to bear");
                                                                                           bear”); InIn re
                                                                                                         re Opiate
                                                                                                             Opiate
                                                            55
                                                            55
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs                CORRECTED GOV’T ENTITIES'
                                                CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                          OPPOSITION TO MOTION TO
                                                                                     TO MOTION    DISMISS
                                                                                               TO DISMISS
      Case 8:22-ml-03052-JVS-KES Document 241 Filed 10/03/23 Page 72 of 76 Page ID
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 1                                                                              22
 1    true where
      true where the
                 the municipality
                     municipality acted
                                  acted with
                                        with the
                                             the need
                                                 need to
                                                      to protect
                                                         protect public
                                                                 public safety.
                                                                        safety.22
 22           Defendants’ cases
              Defendants'       are of
                          cases are    no help
                                    of no help to
                                               to them.
                                                  them. Howard
                                                        Howard v.
                                                               v. Turnbull, 316 S.W.3d
                                                                  Turnbull, 316 S.W.3d 431
                                                                                       431
 3
 3    (Mo. Ct.
      (Mo.     App. 2010),
           Ct. App. 2010), involved
                           involved aa contract to secure
                                       contract to secure aa line
                                                             line of
                                                                  of credit for an
                                                                     credit for an LLC,
                                                                                   LLC, and
                                                                                        and merely
                                                                                            merely
 44 holds
    holds that
          that aa benefit
                  benefit is
                          is not
                             not conferred
                                 conferred on the LLC's
                                           on the LLC’s owner when it
                                                        owner when it is
                                                                      is conferred
                                                                         conferred on the LLC.
                                                                                   on the LLC.
 55 Notably,
    Notably, the
             the court recognized that
                 court recognized that on
                                       on different facts, aa cause
                                          different facts,    cause of
                                                                    of action might lie
                                                                       action might lie against
                                                                                        against
 66 the
    the LLC's
        LLC’s owner for contribution
              owner for contribution or reimbursement. Id.
                                     or reimbursement. Id. at
                                                           at 437-38.
                                                              437-38. Thus, Howard does
                                                                      Thus, Howard does
 77 not
    not support the proposition
        support the proposition that
                                that no
                                     no benefit
                                        benefit can be conferred
                                                can be           absent aa direct
                                                       conferred absent           transaction
                                                                           direct transaction
 8
 8    between plaintiff
      between plaintiff and
                        and defendant.
                            defendant. Similarly, Binkley v.
                                       Similarly, Binkley    American Equity
                                                          v. American Equity Mortgage,
                                                                             Mortgage, Inc.,
                                                                                       Inc.,
 99 447
    447 S.W.3d 194 (2014),
        S.W.3d 194 (2014), does not reject
                           does not reject any
                                           any relevant
                                               relevant theory
                                                        theory of unjust enrichment:
                                                               of unjust             rather,
                                                                         enrichment: rather,
10
10    it simply
      it        affirms summary
         simply affirms         judgment on
                        summary judgment    an unjust
                                         on an unjust enrichment
                                                      enrichment count because there
                                                                 count because there was
                                                                                     was no
                                                                                         no
11
11    evidence the defendant
      evidence the           actually charged
                   defendant actually         plaintiffs for
                                      charged plaintiffs for preparing
                                                             preparing legal
                                                                       legal documents, and
                                                                             documents, and
12
12    thus no
      thus no evidence that defendant
              evidence that           received any
                            defendant received any benefit
                                                   benefit at
                                                           at all.
                                                              all. City
                                                                   City of St. Louis
                                                                        of St. Louis v.
                                                                                     v. Cernicek,
                                                                                        Cernicek,
13 No.
13 No. 02CC-1299, 2003 WL
       02CC-1299, 2003    22533578, at
                       WL 22533578, at *3 (Mo. Cir.
                                       *3 (Mo. Cir. Ct.
                                                    Ct. Oct. 15, 2003)
                                                        Oct. 15, 2003) is
                                                                       is aa state trial
                                                                             state trial
14
14
15
15   Litig., No.
     Litig.,  No. 1:17-md-2804,
                     1:17-md-2804, 2019    2019 WL         3737023, at
                                                    WL 3737023,          at *8-9     (N.D. Ohio
                                                                             *8-9 (N.D.       Ohio June      13, 2019)
                                                                                                      June 13,     2019)
     (allegation that substantial costs were incurred in mitigating negative externalities was
16 (allegation that substantial costs were incurred in mitigating negative externalities was
16
     sufficient   under Montana
     sufficient under       Montana and  and Oklahoma
                                                 Oklahoma unjust unjust enrichment
                                                                          enrichment law);law); White
                                                                                                  White v.     Smith &
                                                                                                           v. Smith     &
17 Wesson,
17   Wesson, 97 97 F.F. Supp.
                         Supp. 2d2d 816,     829 (N.D.
                                      816, 829      (N.D. Ohio      2000) (allegations
                                                            Ohio 2000)      (allegations "that
                                                                                             “that the
                                                                                                    the City    has paid
                                                                                                         City has     paid
     for what
18 for
18
         what may
                may be  be called   the [d]efendants'
                            called the    [d]efendants’ externalities—the
                                                              externalities—the costs costs of   the harm
                                                                                             of the   harm caused
                                                                                                             caused by  by
     the [d]efendants'
     the  [d]efendants’ failure
                              failure to to incorporate
                                              incorporate safetysafety devices
                                                                         devices intointo their
                                                                                            their handguns,"
                                                                                                   handguns,” were   were
19 sufficient
19               to support
     sufficient to              unjust enrichment
                      support unjust      enrichment claim         under Ohio
                                                           claim under             law); City
                                                                           Ohio law);     City of   Boston v.
                                                                                                 of Boston       Purdue
                                                                                                              v. Purdue
     Pharma, L.P.,
20 Pharma,
20              L.P., No.No. 1184CV02860,
                               1184CV02860, 2020      2020 WL WL 977056,
                                                                    977056, at  at *6   (Mass. Super.
                                                                                    *6 (Mass.              Ct. Jan.
                                                                                                  Super. Ct.           31,
                                                                                                                Jan. 31,
     2020) ("the
     2020)   (“the fact
                     fact that
                           that the
                                the harms
                                      harms the the Cities    abated were
                                                      Cities abated     were downstream
                                                                               downstream ‘externalities’
                                                                                                `externalities' of     the
                                                                                                                   of the
21 Distributor
21   Distributor [d]efendants'
                    [d]efendants’ alleged
                                       alleged conduct
                                                  conduct is  is not
                                                                 not aa bar
                                                                        bar to
                                                                             to the
                                                                                 the claims”    under Massachusetts
                                                                                     claims" under     Massachusetts
     law); City
22 law);
22          City of    Boston v.
                   of Boston        Smith &
                                 v. Smith     & Wesson
                                                  Wesson Corp.,
                                                             Corp., No.No. 199902590,
                                                                             199902590, 2000 2000 WL      1473568, at
                                                                                                     WL 1473568,         at
     *18  (Mass. Super.
     *18 (Mass.     Super. Ct.
                             Ct. July   13, 2000)
                                  July 13,    2000) (city
                                                       (city adequately
                                                               adequately pledpled unjust
                                                                                    unjust enrichment      against gun
                                                                                            enrichment against        gun
23 manufacturers
23   manufacturers by    by alleging
                             alleging thatthat itit paid
                                                    paid for
                                                           for "costs
                                                                 “costs of    the harm
                                                                         of the    harm caused
                                                                                          caused by  by [d]efendants'
                                                                                                         [d]efendants’
24 22conduct
24             (‘externalities’)”).
     conduct (`externalities')").
      See, e.g.,
   22 See,  e.g., City
                  City of    New York
                         of New    York v.    Lead Indus.
                                           v. Lead    Indus. AssAss’n,  190 A.D.
                                                                    'n, 190    A.D. 2d2d 173,
                                                                                         173, 177
                                                                                                177 (N.Y.
                                                                                                     (N.Y. App.
                                                                                                              App. Div.
                                                                                                                      Div.
25 1993)
25   1993) (denying
             (denying dismissal
                          dismissal of of claim
                                           claim forfor restitution
                                                        restitution under
                                                                       under NewNew York      law for
                                                                                       York law    for the
                                                                                                        the reasonable
                                                                                                            reasonable
26 costs
26   costs of  abating the
           of abating     the hazard
                              hazard andand treating
                                               treating its
                                                          its victims);
                                                              victims); cf.    Restatement (Third)
                                                                          cf. Restatement      (Third) of   Restitution
                                                                                                         of Restitution
     and Unjust
     and  Unjust Enrichment
                   Enrichment §§ 22(1) 22(1) (2011)
                                                (2011) ("A
                                                         (“A person
                                                                person who
                                                                         who performs
                                                                                performs another's
                                                                                           another’s duty      to aa third
                                                                                                         duty to     third
27 person
27   person or    to the
              or to    the public
                            public isis entitled
                                        entitled to  to restitution
                                                        restitution from
                                                                       from thethe other   as necessary
                                                                                    other as    necessary to to prevent
                                                                                                                 prevent
     unjust enrichment,
28 unjust
28            enrichment, if    if the
                                    the circumstances
                                           circumstances justify justify the
                                                                           the decision
                                                                                  decision to to intervene
                                                                                                  intervene without
                                                                                                                 without
     request.”).
     request.").
                                                               56
                                                               56
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs                   CORRECTED GOV’T ENTITIES'
                                                   CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                             OPPOSITION TO MOTION TO
                                                                                        TO MOTION    DISMISS
                                                                                                  TO DISMISS
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 11   court
      court opinion that analyzes
            opinion that analyzes the
                                  the unjust
                                      unjust enrichment
                                             enrichment count in one
                                                        count in one sentence with no
                                                                     sentence with no reference
                                                                                      reference
 22 to
    to factual
       factual allegations.
               allegations. And
                            And Southwestern
                                Southwestern Bell
                                             Bell Telephone
                                                  Telephone Co.
                                                            Co. v.
                                                                v. United
                                                                   United Video Cablevision
                                                                          Video Cablevision
 33   of St. Louis,
      of St. Louis, Inc.,
                    Inc., 737
                          737 S.W.2d
                              S.W.2d 474 (Mo. Ct.
                                     474 (Mo. Ct. App.
                                                  App. 1987),
                                                       1987), is
                                                              is readily
                                                                 readily distinguishable
                                                                         distinguishable on the
                                                                                         on the
 44 basis
    basis of its particular
          of its particular facts:
                            facts: it
                                   it holds
                                      holds that
                                            that where
                                                 where aa utility
                                                          utility was
                                                                  was statutorily required to
                                                                      statutorily required to provide
                                                                                              provide
 55 aa service that it
       service that it otherwise had never
                       otherwise had never charged for, the
                                           charged for, the trial
                                                            trial court was within
                                                                  court was within its
                                                                                   its discretion
                                                                                       discretion
 66 to
    to find
       find against
            against the
                    the utility
                        utility where
                                where it
                                      it had
                                         had waited
                                             waited eight months (until
                                                    eight months (until the
                                                                        the project was roughly
                                                                            project was roughly
 77 85%
    85% complete) to bill
        complete) to bill for
                          for its
                              its "locate
                                  “locate and
                                          and mark"
                                              mark” service and announce
                                                    service and announce that
                                                                         that it
                                                                              it expected to
                                                                                 expected to
 8 be
 8 be paid.
      paid. Id.
            Id. at
                at 475-76.
                   475-76.
 99         Here, the
            Here, the GE Plaintiffs allege
                      GE Plaintiffs allege that
                                           that as
                                                as aa direct result of
                                                      direct result    Defendants’ failure
                                                                    of Defendants' failure to
                                                                                           to include
                                                                                              include
10 reasonable,
10 reasonable, industry-standard
               industry-standard anti-theft
                                 anti-theft technology
                                            technology in
                                                       in their
                                                          their products,
                                                                products, the
                                                                          the GE Plaintiffs
                                                                              GE Plaintiffs
11 were
11 were forced
        forced to
               to expend resources to
                  expend resources to protect
                                      protect public
                                              public safety;
                                                     safety; these
                                                             these expenditures to remedy
                                                                   expenditures to remedy
12 the
12 the negative
       negative externalities
                externalities of Defendants’ conduct
                              of Defendants'         benefitted Defendants;
                                             conduct benefitted Defendants; Defendants
                                                                            Defendants
13
13    knowingly accepted
      knowingly accepted and
                         and retained
                             retained these
                                      these benefits,
                                            benefits, continuing to produce
                                                      continuing to produce products
                                                                            products lacking
                                                                                     lacking
14 anti-theft
14 anti-theft technology;
              technology; and the circumstances
                          and the               make it
                                  circumstances make it unfair
                                                        unfair and
                                                               and unjust
                                                                   unjust for
                                                                          for Defendants
                                                                              Defendants to
                                                                                         to
15 retain
15 retain the
          the benefits,
              benefits, violating
                        violating fundamental
                                  fundamental principles
                                              principles of justice, equity,
                                                         of justice,         and good
                                                                     equity, and good
16
16    conscience.
      conscience. CGEC
                  CGEC ¶¶
                       ¶¶ 439-46.
                          439-46. This is more
                                  This is more than
                                               than sufficient to state
                                                    sufficient to state aa claim for unjust
                                                                           claim for unjust
17
17    enrichment under Missouri
      enrichment under Missouri law.
                                law.
18
18                                      V.
                                        V.     CONCLUSION
                                               CONCLUSION
19
19          GE Plaintiffs plausibly
            GE Plaintiffs plausibly allege
                                    allege that
                                           that Defendants
                                                Defendants were
                                                           were each
                                                                each aa substantial
                                                                        substantial contributing
                                                                                    contributing
20 factor
20 factor to
          to the
              the public
                  public safety
                          safety crisis  impacting each
                                  crisis impacting  each GE  Plaintiff. Each
                                                         GE Plaintiff.  Each of  the seventeen
                                                                              of the seventeen GEGE
21 Plaintiffs
21 Plaintiffs has
               has stated
                   stated aa valid
                             valid nuisance
                                   nuisance under
                                            under the
                                                   the seven
                                                       seven applicable
                                                             applicable state
                                                                         state laws,
                                                                               laws, and
                                                                                     and the
                                                                                         the fifteen
                                                                                             fifteen
22
22    GE Plaintiffs that
      GE Plaintiffs that allege
                         allege negligence
                                negligence claims have adequately
                                           claims have adequately done so under
                                                                  done so under the
                                                                                the common
                                                                                    common
23 law
23 law of the five
       of the  five applicable
                     applicable states. Neither the
                                states. Neither the municipal
                                                     municipal cost  recovery rule
                                                               cost recovery  rule nor
                                                                                   nor the
                                                                                       the
24 economic
24           loss rule
   economic loss   rule precludes
                        precludes claims
                                   claims seeking
                                          seeking damages    for the
                                                    damages for  the Ohio  and New
                                                                      Ohio and  New York
                                                                                     York
25 Plaintiffs.
25 Plaintiffs. Finally,
               Finally, certain
                        certain GE Plaintiffs—Columbus, Ohio;
                                GE Plaintiffs—Columbus,           Kansas City,
                                                          Ohio; Kansas         Missouri; and
                                                                         City, Missouri;  and
26 St.
26     Louis, Missouri—all
   St. Louis,  Missouri—all adequately
                              adequately plead
                                         plead claims under their
                                               claims under their municipal
                                                                  municipal ordinances
                                                                            ordinances or the
                                                                                       or the
27 applicable
27 applicable common law.
              common law.
28
28
                                                    57
                                                    57
       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs          CORRECTED GOV’T ENTITIES'
                                          CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                    OPPOSITION TO MOTION TO
                                                                               TO MOTION    DISMISS
                                                                                         TO DISMISS
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 1
 1           For the
             For the foregoing
                     foregoing reasons,
                               reasons, Defendants'
                                        Defendants’ Motion
                                                    Motion to
                                                           to Dismiss
                                                              Dismiss should
                                                                      should be
                                                                             be denied in its
                                                                                denied in its
22    entirety.
      entirety.
3
3
 44
 55    Dated this
       Dated      3rd day
             this 3rd day of
                          of October, 2023.
                             October, 2023.   Respectfully submitted,
                                              Respectfully submitted,
 66
 77                                           By /s/
                                              By /s/ Gretchen  Freeman Cappio
                                                     Gretchen Freeman   Cappio
                                               Gretchen
                                               Gretchen   Freeman
                                                          Freeman  Cappio
                                                                   Cappio (pro hac
                                                                          (pro hac vice)
                                                                                   vice)
 8
 8                                             KELLER ROHRBACK
                                               KELLER     ROHRBACK L.L.P.
                                                                        L.L.P.
                                               1201 Third
                                               1201         Avenue, Suite
                                                      Third Avenue,       3200
                                                                    Suite 3200
 99                                            Seattle,
                                               Seattle, WA
                                                         WA 98101-3052
                                                             98101-3052
10
10                                             Phone: (206)
                                               Phone:   (206) 623-1900
                                                              623-1900
                                               Fax: (206)
                                               Fax:  (206) 623-3384
                                                           623-3384
11
11                                             gcappio@kellerrohrback.com
                                               gcappio@kellerrohrback.coin
12
12                                             Chair
                                               Chair of
                                                     of the
                                                        the Governmental Entities
                                                            Governmental Entities
13
13
                                               Committee
                                               Committee

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       NO. 8:22-
       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs        CORRECTED GOV’T ENTITIES'
                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                  OPPOSITION TO MOTION TO
                                                                             TO MOTION    DISMISS
                                                                                       TO DISMISS
      Case 8:22-ml-03052-JVS-KES Document 241 Filed 10/03/23 Page 75 of 76 Page ID
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 1
 1                            CERTIFICATE OF
                              CERTIFICATE    COMPLIANCE
                                          OF COMPLIANCE
22          The undersigned, Chair
            The undersigned, Chair of the Governmental
                                   of the              Entities Committee,
                                          Governmental Entities Committee, certifies that
                                                                           certifies that
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      this brief
      this brief complies with the
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                                        limit set by court
                                              set by court order
                                                           order dated
                                                                 dated September 11, 2023.
                                                                       September 11, 2023.
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                                            /s/ Gretchen
                                            /s/          Freeman Cappio
                                                Gretchen Freeman Cappio
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       No.      ML-03052-JVS-KES
           8:22-ML-03052-Jvs-KEs        CORRECTED GOV’T ENTITIES'
                                        CORRECTED GOV'T ENTITIES’ OPPOSITION
                                                                  OPPOSITION TO MOTION TO
                                                                             TO MOTION    DISMISS
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      Case 8:22-ml-03052-JVS-KES Document 241 Filed 10/03/23 Page 76 of 76 Page ID
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 1                                   CERTIFICATE OF
                                     CERTIFICATE OF SERVICE
                                                    SERVICE
22             II certify that on
                  certify that on October 3, 2023,
                                  October 3, 2023, II electronically filed the
                                                      electronically filed the foregoing
                                                                               foregoing document
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                     all counsel of record.
                         counsel of record.
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                                                /s/ Gretchen
                                                /s/          Freeman Cappio
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                                            CORRECTED GOV'T ENTITIES’ OPPOSITION
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